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   EXHIBIT 26
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

Sonos, Inc.,                                      §
                                                  §
                        Plaintiff,                §             No. 6:20-cv-881-ADA
v.                                                §
                                                  §
Google LLC,                                       §
                                                  §
                        Defendant.                §

                 REBUTTAL DECLARATION OF KEVIN C. ALMEROTH

I, Kevin C. Almeroth, hereby declare as follows:

I.      INTRODUCTION

        1.      This Declaration is based upon my own personal knowledge.

        2.      If I am called upon to testify regarding this Declaration, I would testify

competently and truthfully to the matters discussed herein.

        3.      I understand that in the above-captioned action between Plaintiff Sonos, Inc.

(“Sonos”) and Defendant Google LLC, Sonos has alleged that Google infringes certain claims of

U.S. Patent Nos. 9,344,206 (the “‘206 patent”),10,469,966 (the “‘966 patent”), and 10,848,885

(the “‘885 patent”) (collectively referred to herein as the “Zone Scene Patents”).

        4.      I previously submitted a declaration dated April 27, 2021 (referred to herein as

“Opening Declaration”) that contained certain opinions as to how a person of ordinary skill in

the art (“POSITA”) at the time of the inventions of the Zone Scene Patents would have

understood certain claim terms. The contents of my Opening Declaration are incorporated by

reference in their entirety.




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         5.      I understand that on June 1, 2021 Google filed a responsive claim construction

brief and a declaration in support thereof by Dr. Christos Kyriakakis. I have been asked to

review and respond to the opinions set forth in Dr. Kyriakakis’ declaration regarding the claim

terms “data network,” “zone configuration,” and “group configuration.”

         6.      In forming my opinions herein, I have reviewed Google’s responsive claim

construction brief (“Google Brief”) and the exhibits referenced therein, Dr. Kyriakakis’

declaration and the materials cited therein regarding the claim terms “data network,” “zone

configuration,” and “group configuration,” and the June 11, 2021 deposition transcript of Dr.

Kyriakakis.

         7.      I reserve the right to supplement or clarify the opinions set forth herein, and if I

am requested to do so, to provide additional opinions regarding the asserted claims of the Zone

Scene Patents.

II.      MY BACKGROUND

         8.      My background and CV are set forth in my Opening Declaration.

III.     LEGAL STANDARDS

         9.      I set forth my understanding of certain legal standards regarding claim

construction in my Opening Declaration.

         10.     I have been informed by counsel about legal standards relevant to indefiniteness

because Dr. Kyriakakis opined that the terms “zone configuration” and “group configuration”

found in the claims of the ’206 Patent are indefinite.

         11.     I understand that an issued U.S. patent is presumed to be valid, which includes a

presumption that the claims are not indefinite, and that the burden is on the party challenging

validity to prove by clear and convincing evidence that a claim is invalid. Thus, I understand




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that Google must prove by clear and convincing evidence that the terms “zone configuration”

and “group configuration” are indefinite.

        12.    I also understand that a claim is invalid for indefiniteness if the claim, read in

light of the specification and the prosecution history, fails to inform a POSITA about the scope

of the claimed invention with reasonable certainty. In contrast, I understand that a claim is not

invalid for indefiniteness if the patent is precise enough to afford clear notice of what is claimed

and apprise the public of what is still open to them. I further understand that claims, when read

in light of the specification and the prosecution history, must provide objective boundaries for a

POSITA to understand the scope of the invention.

        13.    While I understand that reasonable certainty is the applicable standard for

definiteness, I also understand that a modicum of uncertainty may be tolerated and that absolute

precision is not required.

IV.     LEVEL OF ORDINARY SKILL IN THE ART

        14.    I set forth my opinion regarding the level of ordinary skill in the art for the Zone

Scene Patents in my Opening Declaration. I have reproduced my opinion regarding the level of

ordinary skill in the art below:

        [I]t is my opinion that a POSITA for purposes of this action is a person having the
        equivalent of a four-year degree from an accredited institution (typically denoted
        as a B.S. degree) in computer science, computer engineering, electrical engineering,
        or an equivalent thereof, and approximately 2-4 years of professional experience in
        the fields of networking and network-based systems or applications, such as
        consumer audio systems, or an equivalent level of skill, knowledge, and experience.

        15.    I understand that Dr. Kyriakakis reached a different conclusion. Specifically, Dr.

Kyriakakis opined:

        In my opinion, a person of ordinary skill in the art at this time would have had a
        bachelor’s of science in electrical engineering, computer science or engineering, or
        a related field, and two to four years of work or research experience in the field of



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           information networks, data communications, or multimedia systems, or a Master’s
           degree and one to two years of experience in the same field.

Kyriakakis Dec. at ¶ 31.

           16.    In my opinion, Dr. Kyriakakis’ articulation of the level of ordinary skill in the art

for the Zone Scene Patents is overly broad. For instance, Dr. Kyriakakis contends that “two to

four years of work or research experience in the field of information networks, data

communications, or multimedia systems” is sufficient. Id. I disagree for several reasons.

           17.    First, as noted in my Opening Declaration, the Zone Scene Patents disclose a

“multi-zone system” (also referred to as an “entertainment system”) comprising one or more

“zone players” (also referred to as “players” or “playback devices”) that are coupled to a “data

network” and are capable of playing multimedia, such as audio, in “digital” format. See, e.g.,

‘206 Patent at 2:28-37; 3:13-15; 4:31-5:3; 5:9-6:5, FIG. 1. However, Dr. Kyriakakis formulates

an overly broad definition of “data network” that encompasses any type of network that carries

data, and thus, Dr. Kyriakakis’ implied meanings of “information networks” and “data

communications” encompass many types of “networks” and forms of communication, such as a

traditional analog radio broadcast, that are not relevant to the Zone Scene Patents. See, e.g., id.

at ¶ 62.

           18.    Second, Dr. Kyriakakis contends that 2-4 years of experience in the field of

“multimedia systems” is sufficient, which appears to be broad enough to encompass

conventional multimedia systems comprising passive speakers connected via traditional speaker

wires. In my opinion, having 2-4 years of experience with such conventional multimedia

systems alone would not make a person a POSITA for the Zone Scene Patents.

           19.    For at least these reasons, it is my opinion that Dr. Kyriakakis’ articulation of the

level of ordinary skill in the art is overly broad, and thus incorrect.



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V.      BRIEF OVERVIEW OF THE ZONE SCENE PATENTS

        20.    I provided a brief overview of the Zone Scene Patents in my Opening Declaration.

VI.     “DATA NETWORK”

        21.    Each party’s proposed construction is set forth in the following table.

        Sonos’s Proposed Construction                       Google’s Proposed Construction
 Plain and ordinary meaning                           Plain and ordinary meaning; no construction
                                                      necessary at this time
 “a medium that interconnects devices,
 enabling them to send digital data packets to
 and receive digital data packets from each
 other”

        22.    As I explained in my Opening Declaration, it is my opinion that Sonos’s proposed

construction is consistent with how a POSITA would have interpreted the term “data network” in

the context of the Zone Scene Patents because that construction properly specifies that a “data

network” requires (i) two-way communication of data (i.e., sending and receiving data) that is (ii)

exchanged in the form of digital data packets.

        23.    However, Dr. Kyriakakis disagrees with Sonos’s proposed construction and

opines that “[i]n the context of these patents, a person of ordinary skill in the art would have

understood that the general understanding of the term ‘data network’ does not restrict the type of

data (digital or analog), the manner of transmission (packet or non-packet form), or the nature of

the communication (bi-directional or unidirectional).” Kyriakakis Dec. at ¶ 60. I disagree for

the reasons set forth below.

        A.     Dr. Kyriakakis Flawed Interpretation of “Data Network” Results in a
               Definition That is No Different Than “Network”

        24.    It is my opinion, Dr. Kyriakakis did not consider how the term “data network”

(which as noted in my Opening Declaration is a term of art) would have been understood by a

POSITA at the time of the invention. Instead, it appears to me that Dr. Kyriakakis interpreted



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the term “data network” as a layperson might, which I understand is an improper approach for

construing patent claims.

        25.        Specifically, Dr. Kyriakakis’ approach for construing “data network” involves

deconstructing the term “data network” into its individual parts (i.e., “data” and “network”) and

then seeking out individual definitions of each of those parts in isolation. See, e.g., Kyriakakis

Dec. at ¶¶ 50, 62. In my opinion, this is not how a POSITA would interpret the term “data

network,” because a POSITA would understand that “data network” is a compound term having

a well-understood meaning in the field and would therefore know to interpret the term “data

network” as a whole consistent with that well-understood meaning in the field, instead of

construing the words “data” and “network” separately as Dr. Kyriakakis has done.

        26.        As a result of using this improper methodology to interpret the term “data

network,” Dr. Kyriakakis incorrectly concludes that the term “data network” encompasses any

conceivable communication medium between devices that carries data in any form, including but

not limited to (i) an infrared remote that sends infrared signals to a TV, (ii) RCA connections to

speakers, and (iii) a string between two cups, among other examples provided by Dr. Kyriakakis.

See, e.g., Kyriakakis Dec. at ¶¶ 50, 62, 64; Appendix K [Kyriakakis Dep. Tr.] at 26:11-15, 27:5-

9, 28:17-29:11, 36:3-25, 37:7-9, 38:6-23, 53:20-24, 60:18-61:2. In my opinion, no POSITA

would interpret “data network” (which, again, is a coined term of art in the field of networking)

in such a broad way. See, e.g., Appendix L at p. 6 (Jan. 24, 2004 presentation for Cornell

University “Computer Networks” class explaining a “data network . . . is NOT ‘a network that

carries data’”).

        27.        In fact, Dr. Kyriakakis is interpreting “data network” so broadly that the meaning

of that term would be no different than the meaning of the broader term “network,” but “data




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network” is understood by a POSITA to be a narrower term than “network” that has a different

(and more specific) meaning. Thus, by interpreting the term “data network” in a way that fails to

preserve this well-understood distinction between “data network” and “network,” Dr. Kyriakakis

is effectively reading the word “data” out of the term “data network,” which I understand to be

an improper practice when interpreting patent claims.

       B.      Dr. Kyriakakis Ignores the Clear Intrinsic Evidence

       28.     In my Opening Declaration, I explained how the Zone Scene Patents repeatedly

and uniformly describe the term “data network” as a medium that interconnects devices, enabling

them to send digital data packets to and receive digital data packets from each other, which is

directly in line with how a POSITA would have interpreted this term at the time of the

inventions. See, e.g., Opening Declaration at ¶¶ 59-66.

       29.     Notably, Dr. Kyriakakis never disputes that the Zone Scene Patents repeatedly

and uniformly use the term “data network” in this way, nor does he identifies any other

disclosure from the Zone Scene Patents (or any other intrinsic evidence) in support of his opinion

that “data network” has a broader meaning. In fact, Dr. Kyriakakis’s “data network” section fails

to even discuss the teachings of the Zone Scene Patents or any other part of the intrinsic

evidence. See Kyriakakis Dec. at ¶¶ 60-73.

       30.     In my opinion, the fact that Dr. Kyriakakis ignores the intrinsic evidence of the

Zone Scene Patents provides another reason why Dr. Kyriakakis’s interpretation of “data

network” cannot be correct.

       C.      Dr. Kyriakakis’ Interpretation of “Data Network” Is Overly Broad Enough
               To Encompass Traditional Hard-Wired Audio Systems

       31.     As I previously explained in my Opening Declaration, the Zone Scene Patents are

directed to a “multi-zone system” (also referred to as an “entertainment system”) comprising one



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or more “zone players” (also referred to as “players” or “playback devices”) that are coupled to a

“data network” and are capable of playing multimedia (such as audio) in “digital” format, which

was specifically intended to advance upon a “traditional” “hard-wired” audio system connected

to passive speakers via speaker wire. See, e.g., ’206 Patent at 1:40-61.

       32.     However, as I explained above, Dr. Kyriakakis is interpreting the term “data

network” so broadly that it would read on any conceivable communication medium between

devices that carries data in any form. As Dr. Kyriakakis testified at his deposition, this would

include any copper wiring that delivers analog audio to passive speakers within a conventional

media system, such as RCA cables and traditional copper speaker wire. Appendix K [Kyriakakis

Dep. Tr.] at 28:17-29:11, 49:10-23; Kyriakakis Dec. at ¶ 64.

       33.     Thus, under Dr. Kyriakakis’s logic, the “traditional” “hard wired” audio devices

and systems of the prior art that are described in the background of the Zone Scene Patents

would be operating on a “data network,” would negate the clear distinction that Zone Scene

Patents draw between such “traditional” “hard wired” audio devices systems and the networked

audio devices and systems that are the subject of the Zone Scene patents, which are specifically

described as operating on a “data network.” In my opinion, this provides yet another reason why

Dr. Kyriakakis’s interpretation of “data network” is not correct.

       D.      Dr. Kyriakakis Fails to Credibly Dispute that a “Data Network” Exchanges
               Data in the Form of Digital Data Packets

       34.     In his declaration, Dr. Kyriakakis opines that “the term ‘data network’ does not

restrict the type of data (digital or analog) [or] the manner of transmission (packet or non-packet

form).” Kyriakakis Dec. at ¶ 60. I disagree for the reasons explained in my Opening

Declaration, and nothing in Dr. Kyriakakis’s declaration alters my opinion that a POSITA would




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have understood that a “data network” refers to a network that exchanges data in the of digital

data packets.

       35.      In fact, Dr. Kyriakakis’ own analysis confirms that a POSITA would understand

that a “data network” carries data encoded in the form of digital data packets, as opposed to data

encoded in analog form. For instance, as Dr. Kyriakakis acknowledges, a “data network” carries

data in “discrete units” that are referred to as “packets.” Kyriakakis Dec. at ¶ 63 (“‘In the

generic sense,’ packets ‘refer[] to the manner in which data are organized into discrete units for

transmission and switching through a data network.’”) (bracket original). 1, 2 And, as Dr.

Kyriakakis acknowledges, it is only “digital data” that is represented in discrete form, whereas

“analog data” is represented in continuous form. Id. at ¶ 62 (“Digital data is ‘data represented in

discrete, discontinuous form, as contrasted with analog data represented in continuous form.’”).

Thus, Dr. Kyriakakis’ own analysis confirms that a POSITA would understand a “data network”

to refer to a network that carries data in “discrete units” (referred to as data “packets”), which are

encoded in digital form as opposed to analog.

       36.      Moreover, none of examples identified by Dr. Kyriakakis in his declaration alter

my opinion that a POSITA would have understood a “data network” to refer to a network that

exchanges data in the form of digital data packets. See Kyriakakis Dec. at ¶¶ 62, 64.

       37.      For instance, in his declaration, Dr. Kyriakakis makes reference to non-packetized

networks such as circuit-switched networks and the public switched telephone network, analog

phone networks, and analog cellular networks for delivering voice calls. However, Dr.




1
  All emphases added unless otherwise indicated.
2
  Notably, the dictionary that Dr. Kyriakakis approvingly cites goes on to explain that, “[i]n a
technology-specific sense, a packet is a data unit in an internetwork, such as the Internet or other
packet-switched network . . . .” Id., Ex. G (Webster’s New World Telecom Dictionary (2008)).


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Kyriakakis fails to identify any evidence showing that a POSITA would have used the term “data

network” at the time of the invention to refer to the types of networks he identifies.

       38.     I further note that non-packetized networks such as circuit-switched networks and

the public switched telephone network, analog phone networks, and analog cellular networks are

all examples of what a POSITA would most commonly refer to as a “voice network,” which is

the primary class of networks that the term “data network” was meant to distinguish. See, e.g.,

Appendix L at p. 6 (confirming that a “data network” is “NOT ‘a network that carries data” and

distinguishing between a “data network,” which is described as being a “euphemism for ‘packet

network,’” and a “voice network,” which is described as a “euphemism for ‘circuit network’”).

These definitions are confirmed by various technical sources, including some cited approvingly

by Dr. Kyriakakis and identified by Google.

       39.     For example, Microsoft Computer Dictionary (2002) defines “data network” as

“[a] network designed for transferring data encoded as digital signals, as opposed to a voice

network, which transmits analog signals.” Appendix M at p. 3.

       40.     As another example, Newton’s Telecom Dictionary (2003) states that “data” is

“[t]ypically anything other than voice.” Kyriakakis Declaration, Exhibit D at p. 103. Likewise,

as shown below, Hargrave’s Communications Dictionary (2001) (also found in Exhibit D to Dr.

Kyriakakis’ declaration) explicitly distinguishes “voice networks” from “data networks”:




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       I understand that the excerpt above from the Hargrave’s Communications Dictionary

(2001) was included in Google’s Disclosure of Extrinsic Evidence for Claim Construction but

was absent from Dr. Kyriakakis’ Exhibit D excerpts from the same dictionary.

       41.     As still another example, the Packet Broadband Network Handbook (2004)

describes a “local area network as a high-speed data network that covers a relatively small

geographic area” that is “used to carry data traffic as opposed to voice traffic.” Opening

Declaration, Appendix B at SONOS-SVG2-00018676; see also id. at 74 (explaining that

“[b]efore packet networks, communications technology used circuit-switched telephone

networks with dedicated, analog circuits,” and that “[p]acket networks based on packet switching

technologies represent a radical departure”).

       42.     Dr. Kyriakakis also identifies “speakers and other devices” connected via RCA

cables that can carry analog video and audio signals as somehow supporting his assertion that

“some data networks” do not transfer digital data packets. Kyriakakis Dec. at ¶ 64. However,

the Wikipedia page that Dr. Kyriakakis cites never refers to such RCA cables as a “data

network,” nor does Dr. Kyriakakis identify any other evidence showing that a POSITA at the

time of the invention would have used the term “data network” to refer to RCA cables that carry

analog video and audio signals. Thus, this example also does not alter my opinion that a

POSITA would have understood the term “data network” to refer to a network that exchanges

data in the form of digital data packets.

       43.     Lastly, Dr. Kyriakakis cites to the disclosures of two patent publications, U.S.

Patent No. 6,829,603 filed in February 2000 and U.S. Patent Publ. No. 2003/0087636 filed in

November 2001, because each of these patent publications has a passing reference to the phrase

“analog data network.” However, it is my opinion that these one-off uses of the phrase “analog




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data network” in unrelated, extrinsic patent publications – which are not cited on the face of the

Zone Scene Patents or otherwise considered to be part of the intrinsic evidence – are not

consistent with or reflective of how a POSITA would have understood the plain and ordinary

meaning of the term “data network” at the time of the inventions, as confirmed by the other

intrinsic and extrinsic evidence for the Zone Scene Patents that I discussed before.

       E.      Dr. Kyriakakis Fails to Credibly Dispute that a “Data Network” Enables
               Two-Way Communication

       44.     In his declaration, Dr. Kyriakakis also asserts that “[a] person of ordinary skill in

the art would understand the plain and ordinary meaning of ‘data network’ encompasses both

unidirectional and bidirectional data networks such that Dr. Almeroth and Schmidt’s contention

that a network requires that a device must be able to send and receive data from another device is

also incorrect.” Kyriakakis Dec. at ¶ 66. I disagree for the reasons explained in my Opening

Declaration, and nothing in Dr. Kyriakakis’s declaration alters my opinion that a POSITA would

have understood that a “data network” enables interconnected devices to engage in two-way

communication.

       45.     For instance, Dr. Kyriakakis asserts that “networks such as token-ring networks

do not have the architecture described by Dr. Almeroth and Schmidt” because “no device both

sends and receives data directly to and from another device.” Kyriakakis Dec. at ¶ 66. However,

this is not what Sonos’s proposed construction requires. Rather, what Sonos’s proposed

construction requires is a medium that interconnects devices and thereby enables them to send

digital data packets to and receive digital data packets from each other, and in my opinion, token-

ring networks certainly do satisfy this requirement. Thus, I fail to see how Dr. Kyriakakis’

reference to token-ring networks has any relevance to my opinions regarding the meaning of the

term “data network.”



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       46.     Further, in support of his assertion that “[v]arious publications also confirm that

‘unidirectional’ data networks were well-known in the art,” Dr. Kyriakakis makes reference to

U.S. Patent No. 6,081,907 (“Witty”), which mentions “broadcast or multicast networks.” See

Witty at 1:7-2:67. However, this Witty patent – which is not cited on the face of the Zone Scene

Patents or otherwise considered to be part of the intrinsic evidence – does not equate these

“broadcast or multicast networks” to a “data network.” See Witty at 1:7-2:67.

       47.     Instead, Witty begins by introducing the concept of “conventional computer

networks,” also referred to by Witty as “data networks,” which are described as allowing “data

communication in both directions between servers and clients” where “[d]igital data” is

“typically packetized and sent over the network in individual packets.” Id. at 1:16-32:

       Conventional computer networks are bi-directional, allowing data communication
       in both directions between servers and clients. Transmitting data over these bi-
       directional data networks has been a mainstay of computer technology for many
       years and the communication protocols are well established. . . . Digital data,
       whether transmitted over a wire-based distribution network (e.g., local area
       network, wide area network, cable, etc.) or a wireless distribution network (e.g.,
       satellite, RF, paging, etc.), is typically packetized and sent over the network in
       individual packets.

       48.     Witty then describes a system that departs from such a “data network” by

“facilitate[ing] transmission of data packets from a content server to multiple clients over a

unidirectional network.” Id. at 1:64-66. In describing this system, Witty consistently

distinguishes “data network 28” — which “represents various types of networks, including the

Internet, a LAN (local area network), a WAN (wide area network), and the like” — from

unidirectional “broadcast network 30,” as shown in Figure 1. Id. at 3:13-40, FIG. 1. There are

no instances where Witty refers to unidirectional “broadcast network 30” with the well-

understood term “data network” in the field of networking. Thus, contrary to Dr. Kyriakakis’

suggestion, Witty actually provides further support for Sonos’s proposed construction of “data



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network” because it demonstrates that a POSITA would understand a “data network” enables

devices to engage in two-way communication of digital data packets.

       49.    In connection with his opinion that “data networks” are not restricted to “bi-

directional data networks,” Dr. Kyriakakis also makes the following statement regarding “data

diodes”:

       [T]hose of skill in the art recognized that networks may include “data diodes”
       (sometimes referred to as “unidirectional” gateways) to enforce data transfer in one
       direction between segments or devices of a network for example to provide
       additional security for the network. Ex. G (Okhravi et al., Data Diodes in Support
       of Trustworthy Cyber Infrastructure) at § 2 (“Data diodes provide a physical
       mechanism for enforcing strict unidirectional communication between two
       networks.”), Fig. 2 (illustrating networks connected by data diode).”

Kyriakakis Dec. at ¶ 67.

       50.    However, I fail to see how this discussion of “data diodes” has any relevance to

the meaning of the term “data network” to a POSITA at the time of the invention, and it certainly

does not alter my opinion that a POSITA would have understood that a “data network” enables

interconnected devices to engage in two-way communication.

       F.     Conclusion Regarding “Data Network”

       51.    In conclusion, for at least the foregoing reasons, I disagree with virtually all of Dr.

Kyriakakis’s analyses and opinions regarding “data network.” Dr. Kyriakakis fails to interpret

the term “data network” as a POSITA would, ignores the intrinsic evidence of the Zone Scene

Patents, and fails to support his opinions regarding the meaning of the term “data network” with

any credible evidence.

VII.   “ZONE CONFIGURATION” AND “GROUP CONFIGURATION” TERMS

       A.     Overview

       52.    I have been asked to review the opinions of Google’s expert, Dr. Kyriakakis,

regarding the alleged indefiniteness of the terms “zone configuration” and “group configuration”


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in the asserted claims of the ‘206 patent, and to provide an opinion on whether these claim terms,

when read in light of the other claim language, the specification, and the prosecution history,

inform, with reasonable certainty, those skilled in the art about the scope of the claimed

invention.

       53.      I understand that the parties’ dispute centers around the following emphasized

language, presented below as it appears in claim 1 of the ‘206 Patent:

                1.      A multimedia controller including a processor, the controller
             configured to:

                receive, via a network interface, a zone configuration from a first
             independent playback device of a plurality of independent playback
             devices, wherein the zone configuration is configured via the controller and
             maintained at the first independent playback device, and

                wherein the zone configuration characterizes one or more zone
             scenes, each zone scene identifying a group configuration associated with
             two or more of the plurality of independent playback devices; and

                 cause a selectable indication of the received zone configuration to be
             displayed, wherein the displayed selectable indication is selectable to cause
             one or more of the zone scenes to be invoked by two or more of the plurality
             of independent playback devices.

       54.      Dr. Kyriakakis opines that the terms “zone configuration” and “group

configuration” are indefinite because “a POSITA would not understand how to distinguish a

‘zone configuration’ from a ‘group configuration’ or a ‘zone scene’” and would thus be unable to

determine whether they “would or would not be practicing any of these independent claims.”

Kyriakakis Dec. at ¶ 39.

       55.      I disagree with Dr. Kyriakakis’ opinion. In my opinion, the claim language

identified above, when read in light of all intrinsic evidence, does inform a POSITA with

reasonable certainty about the scope of the claimed invention.




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       B.       Brief Introduction to Zone Scene Patents

       56.      The Zone Scene Patents are directed to a new mechanism for grouping zone

players together for synchronous playback that was intended to advance upon Sonos’s prior

grouping mechanism.

       57.      As described in the Zone Scene Patents, that prior grouping mechanism required a

user to select each zone player to be included in an ad hoc manner, one-by-one, every time the

user wished to play media in that group configuration. ‘206 Pat. at 8:7-22; see also Appx N, p.

30 (‘407 Provisional at Appx. A, p. 2). The Zone Scene Patents recognized, however, that this

prior grouping mechanism could be inefficient and time consuming in some situations –

particularly for group configurations having a larger number of zone players. ‘206 Pat. at 8:7-22

(“If the user wishes to link 5 of the 6 zone players using the current mechanism, he/she must start

with a single zone and then manually link each zone to that zone. This mechanism may be

sometimes quite time consuming.”).

       58.      To address this inefficiency, Sonos’s new grouping mechanism enables a user to

(i) pre-create and pre-save a predefined group of zone players at some time prior to when the

user wishes to actually play media in that group, and then (ii) when the user later wishes to play

media in that group configuration, simply invoke the previously-saved group for synchronous

playback without having to select the zone players to be included in the group in an ad hoc

manner at that time. Id. at 8:22-36, 10:4-12, 10:21-22; Appx N, pp. 30-35. The Zone Scene

Patents refer to this kind of predefined group of zone players as a “zone scene,” and teach that

each zone scene comprises an identification of the particular group configuration of zone players

that has been predefined and saved for later invocation (i.e., the makeup of the predefined

group), perhaps along with other optional settings. Id. at 8:22-336, 8:60-67, 10:12-19; Appx N,

p. 30, 37-41.


                                                16
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         59.      The Zone Scene Patents further disclose that zone players may store configuration

data for the multi-zone system that may include data characterizing previously-saved zone scenes

within the system, which may then be provided to controllers of the system in order to facilitate

user interaction. Id. at 5:51-57, 7:31-33. The Zone Scene Patents refer to this configuration data

in terms of “one or more zone configuration files.” Id

         C.       The Parties’ Zone Scene Proposals

         60.      As an initial matter, I understand that the parties are advancing different

definitions of the term “zone scene” and its surrounding language in the ‘206 Patent. On the one

hand, I understand that Sonos has proposed to construe “zone scene” in conjunction with the

definitional language that immediately follows 3 to mean “a previously-saved grouping of zone

players that are to be configured for synchronous playback of media when the zone scene is

invoked.” And on the other hand, I understand that Google has proposed to construe “zone

scene” in isolation to mean “a group of two or more zones that are grouped according to a common

theme by configuring the zones in a particular scene (e.g., morning, afternoon or garden).” Google

Brief, p. 16.

         61.      Although the parties have not agreed on a precise definition for this term, their

competing proposals reveal that they agree on certain aspects of the term. One thing the parties

agree on is that the “zone scene . . .” is a coined term that does not have a well-understood

definition outside of the context of these zone scene patents. Another thing the parties appear to

agree on is that a “zone scene . . .” refers to a specific type of grouping of zone players, although

the parties appear to disagree as to how to define that specific type of grouping. For instance, the

specific grouping referred to in Sonos’s proposal is “a previously-saved grouping of zone players


3
 I.e., the claim language “zone scene identifying a group configuration associated with two or more of the plurality
of independent playback devices.”


                                                         17
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that are to be configured for synchronous playback of media when the zone scene is invoked.”

On the other hand, the specific grouping referred to in Google’s proposal is “a group of two or

more zones that are grouped according to a common theme by configuring the zones in a

particular scene (e.g., morning, afternoon or garden)” (where Google has proposed that a “zone”

refers to “an area or areas with one or more playback devices”).

       62.     In either case, however, I understand that neither party has advanced an argument

that the “zone scene . . .” term renders the claims indefinite or is unable to be understood by a

POSITA when read in light of the surrounding claim language and the specification.

       D.      The Claims Themselves Inform a POSITA About the Scope

       63.     In my opinion, the plain language of the claims, both when viewed on its own and

in the context of the specification, informs a POSITA with reasonable certainty about the scope

of the claims and the meaning and distinction between the terms used in the claims, particularly

the terms “zone configuration . . .” “group configuration . . .” and “zone scene . . .” Indeed, these

terms do not appear divorced or disembodied from one another in the claims. Rather, the claims

use these terms, along with definitional language, in such a way as to set out a particular

relationship between these terms.

       64.     First, the claims recite the term “zone scene” immediately followed by the

definitional phrase “identifying a group configuration associated with two or more of the

plurality of independent playback devices.” In the context of this claim language and the

relevant disclosure in the specification, a POSITA would understand “group configuration . . . ”

to refer to a grouping of zone players for synchronous playback. See, e.g., ‘206 Pat. at 5:43-50,

7:31-33.

       65.     Second, in the context of this claim language and the relevant disclosure in the

specification, a POSITA would then understand “zone scene identifying a group


                                                 18
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configuration . . .” to refer to a special kind of group configuration that is predefined and saved

for later invocation such that the group configuration can be formed more efficiently.Id. at 8:22-

36, 8:60-67, 10:4-19, 10:21-22; Appx N, p. 30-35, 37.

       66.     Third, the claims recite that the “zone configuration” is something that

“characterizes one or more zone scenes.” Helpfully, the claim language also specifies that the

“zone configuration” is received by the “controller” “via a network interface,” “configured via

the controller,” and “maintained at the first independent playback device.” In the context of this

claim language and the relevant disclosure in the specification – including the discussion of the

“one or more zone configuration files” stored in the memory of a zone player -- a POSITA

would understand “zone configuration” to refer to configuration data that characterizes one or

more zone scenes created within a multi-zone system. Id. at 5:51-57, 7:31-33. In addition, a

POSITA would understand what it means for data (such as the claimed “zone configuration”) to

“characterize” something (such as the claimed “zone scene”). For instance, a POSITA would

understand this to mean that the data “provides an indication of” or “provides a characteristic

of” the thing it is characterizing. A POSITA would understand these phrases to be refer to the

same thing and would understand these phrases to be interchangeable.

       67.     A POSITA would have no issue reasponably understanding the distinction

between “zone configuration” and “zone scene” because, on the one hand, a POSITA would

understand that the claimed “zone configuration” refers to configuration data, whereas on the

other hand the claimed “zone scene …” is not limited to being a data representation. Indeed,

limiting the claimed “zone scene …” to only a data representation of a zone scene would be

inconsistent with the intrinsic evidence, which, as I lay out above, describes a zone scene as a

previously-saved, predefined group configuration that is framed from the perspective of a user




                                                 19
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rather than being limited only to its representation in computer data. Id. at 8:19-36, 10:4-10,

10:21-22.

       68.     Moreover, a POSITA would have no issue reasponably understanding the

distinction between these terms for at least the additional reason that the claim expressly recites a

relationship between “zone configuration” and “zone scene”, namely that the “zone

configuration” characterizes one or more zone scenes. In this way, the claim specifies at least

one thing that the zone configuration needs to do: characterize at least one zone scene. But the

claim recites no limitation on the number of other things the zone configuration may do, such as

characterize or otherwise identify other things related to the multi-zone system. Indeed, the

claim lamguage allows for the zone configuration to characterize things like a second, third, or

more zone scenes, or even other information about the multizone system or the zone players that

comprise it. Thus, it would make no sense to conclude that the claimed “zone configuration” is

synonymous with the claimed “zone scene” for at least the reason that the claimed “zone

configuration” may characterize or identify other things including more than one zone scene.

Accordingly, it would not be reasonable for a POSITA to conclude that something that can

characterize more than one thing (like the claimed “zone configuration”) to be synonymous with

any one of those individual thing that is characterized (like one of the claimed “one or more zone

scenes”).

       69.     A POSITA would have no issue reasonably understanding the distinction between

“zone configuration” and “group configuration” either. For a similar reason as above, a POSITA

would have no reason to conflate the claimed “zone configuration” (which, as claimed, can

characterize more than one zone scene (i.e., more than one predefined grouping of zone players))

with a “group configuration,” which appears in the claim as part of a single definitional phrase




                                                 20
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intended to collectively define the confines of the claimed “zone scene.” In this way, a POSITA

would understand the “group configuration” portion of the definitional phrase defining “zone

scene …” to refer to a grouping of zone players for synchronous playback.

       70.     Given the foregoing, it is my opinion that the language of the claims provides an

ample basis from which a POSITA would reasonably understand the scope of the claims. Dr.

Kyriakakis’ opinion is fundamentally flawed because he makes no attempt to opine on or analyze

a POSITA’s understanding or approach to construing the claim terms based on the language of

the claims themselves. For instance, Dr. Kyriakakis does not consider the full scope of the claim

terms provided by the express language of the claims, and thus does not consider the situation

where a zone configuration might characterize, for instance, multiple zone scenes or that the

claimed “zone scene …” is not limited to being a data representation of a zone scene. In view of

this failure, he does not explain how or why or how a POSITA would have considered the

claimed “zone configuration” to be synonymous with the claimed “zone scene …” or with any

single one of the possible multiple zone scenes characterized by the “zone configuration.”

       E.      The Specification Supports a POSITA’s Understanding of the Scope of the
               Claims

       71.     Instead of considering the full scope of the claim terms provided by the express

language of the claims, Dr. Kyriakakis jumps right to the specification and concludes that the

specification confuses the claim terms. In my opinion, as I expressed above, this is an

inappropriate and incomplete way to analyze a POSITA’s understanding of the claim terms

because it skips the crucial step described above – analysis of the claim terms based on the claim

language themselves. Notwithstanding, the specification is consistent with and further supports a

POSITA’s understanding of the claim terms based on the language.




                                                21
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       72.       Dr. Kyriakakis opines that the specification conflates or confuses the terms “zone

configuration” and “group configuration.” I disagree. The terms “zone configuration” and

“group configuration” are not used in the specification (or the claims) in isolation – let alone

synonymously. Rather, the specification teaches an example in which the “the memory 206 [of

zone player 200] is used to save one or more saved zone configuration files that may be

retrieved for modification at any time,” and that “[t]ypically, a saved zone group configuration

file is transmitted to a controller . . . when a user operates the controlling device.” ‘206 Pat. at

5:51-57. This teaching does not convey to a POSITA that the claimed “zone configuration” and

the claimed “group configuration” refer to the same thing. To the contrary, a POSITA would

have understood this teaching to convey the notion of a “zone configuration,” being maintained

or stored in memory of a zone player in the form of a file and transmitted from time to time to a

controller device – which confirms a POSITA’s understanding that the claim term “zone

configuration” refers to configuration data. Indeed, the example embodiment of the “zone

configuration” is a “zone configuration file,” which may take the form of a “zone group

configuration file.” A POSITA would have understood the reference to “file” to refer to a

specific format, arrangement, or collection of “data” stored in these examples in the memory of a

zone player, particularly because the specification teaches that the zone players are data network

devices with processors and memory storage. E.g., id. at 5:11-50, FIG. 2A. In this way, it

would be clear to a POSITA that a “zone group configuration file” is something different than an

identification of a group configuration associated with two or more zone players, such as recited

in the claims.

       73.       Dr. Kyriakakis opines that the specification confuses the terms “zone

configuration” and “zone scene.” Kyriakakis Dec. at ¶ 40. I disagree. First, as I explained




                                                  22
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above, “zone configuration” is not used in isolation in the specification – the specification uses

the phrase “zone configuration file.” ‘206 Pat. at 5:51-53. Second, the specification introduces

“zone configuration file” prior to introducing and discussing the “zone scene” technology.

Compare id. at 5:51-53 with id. at 8:7-28. For these reasons, a POSITA would have no reason to

think that the claimed “zone configuration”—and its attendant requirements of (1) being

maintained at a zone player (2) received by the claimed “controller” via a network interface, and

(3) characterizing one or more zone scenes—would constitute the same thing as the zone scene

itself. Rather, a POSITA, would readily understand that the claimed “zone scene” refers to a

previously-saved grouping of zone players and the claimed “zone configuration” refers to data

that characterizes one or more claimed zone scenes, i.e., data that characterizes one or more

particular pre-defined, previously-saved groupings of zone players. No part of the specification

alters this understanding of the express language of the claims.

       74.     Further, Dr. Kyriakakis agrees with me that a POSITA has at least an

undergraduate degree in electrical engineering or computer science and 2-4 years working

experience, although we disagree on the precise fields in which that 2-4 years’ working

experience is. Compare Kyriakakis Dec. at ¶ 31 with Almeroth Opening Dec. at ¶ 37. Under

either definition however, a POSITA has at least a college degree in electrical engineering or

computer science and work experience in a field related to networking or “data

communications.” Such a person would have no issue understanding what it means for data

(such as a “file”) to “characterize” something. For instance, data characterizes something when

it “identifies” or “describes” that something. Indeed, a POSITA would not conflate the data

itself with the thing represented by the data.




                                                 23
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       75.     Dr. Kyriakakis opines that FIG. 3A confuses the terms “zone configuration” and

“zone scene” for the sole reason that the figure includes a bracket and then the phrase “Zone

Configuration/Scene.” However, as before, Dr. Kyriakakis makes no attempt to analyze this

figure in the context in which it is described in the specification or in light of the express

language of the claims. Dr. Kyriakakis thus overlooked or ignored the specification’s earlier

discussion of the one or more “zone configuration files” stored in the memory of a zone player,

which is undeniably a description of configuration data and provides a clear distinction from the

concept of a “zone scene” that is later disclosed in the specification. Compare ‘206 Pat. at 5:51-

53 with id. at 8:7-36. Given the totality of the specification (including that FIG. 3A is first

discussed in the portion of the specification describing zone scenes) and particularly the

operative claim language specifying that the “zone configuration characterizes one or more zone

scenes” a POSITA would not have understood this graphical representation of a group to mean

that “zone configuration” and “zone scene” are the same thing. To the contrary, a POSITA

would understand that FIG. 3A is visually demonstrating that this specific group of zone players

(i.e., the “Bedroom” zone player, “Den” zone player, and “Dining Room” zone player) can be

saved using the disclosed zone scene technology and can thus be represented by the previously-

discussed “zone configuration” data (which as claimed may also represent other zone scenes

too). Id. at 8:7-36, FIG. 3A.

       76.     In view of the foregoing, it is my opinion that the claims, when read in light of all

intrinsic evidence, inform a POSITA with reasonable certainty about the scope of the claimed

invention.




                                                  24
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      I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief



Dated: June 15, 2021



                                                    By: ____________________________
                                                        Kevin C. Almeroth




                                               25
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               Appendix K
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 2               FOR THE WESTERN DISTRICT OF TEXAS
 3                         WACO DIVISION
 4     _____________________________
                                     )
 5     SONOS, INC.,                  )
                                     )
 6                Plaintiff,         )Civil Action No.
                                     )6:20-cv-00881-ADA
 7          vs.                      )
                                     )
 8     GOOGLE, LLC,                  )
                                     )
 9                Defendant.         )
       _____________________________)
10
11
        VIDEOCONFERENCE DEPOSITION OF CHRISTOS KYRIAKAKIS
12
                         Friday, June 11, 2021
13
                                   Volume I
14
15
16
17
18
19
20
21
22     Reported by:
       KATHLEEN E. BARNEY
23     CSR No. 5698
24     Job No. 4626386
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 4                                                          3 CHRISTOS KYRIAKAKIS
   _____________________________                            4 Volume I
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 8                   )                                     10               EXHIBITS
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10 _____________________________)                          13
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12     Videoconference deposition of CHRISTOS
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 1 Exhibit 13 Dua Patent Application     159                                   1 from Lee Sullivan Shea & Smith.
 2         Publication                                                         2      MR. KAPLAN: This is Marc Kaplan from Quinn
 3                                                                             3 Emanuel Urquhart & Sullivan for Google and the
 4 Exhibit 14 '033 patent            196                                       4 witness.
 5                                                                             5      MR. LEE: Good morning. This is George Lee              09:03:52
 6                                                                             6 for plaintiff Sonos. I'm also with the firm of Lee
 7                                                                             7 Sullivan Shea & Smith in Chicago.
 8                                                                             8      THE VIDEOGRAPHER: Thank you. Will the court
 9                                                                             9 reporter please swear in the witness.
10                                                                            10
11                                                                            11            CHRISTOS KYRIAKAKIS,
12                                                                            12 having been administered an oath, was examined and
13                                                                            13 testified as follows:
14                                                                            14
15                                                                            15               EXAMINATION
16                                                                            16 BY MR. PAK:
17                                                                            17   Q Dr. Kyriakakis, could you please state and
18                                                                            18 spell your name for the record.
19                                                                            19   A Sure. First name is -- legal first name is
20                                                                            20 Christos, but I go by Chris, last name is             09:04:34
21                                                                            21 K-Y-R-I-A-K-A-K-I-S.
22                                                                            22   Q Is it okay if I call you Dr. K throughout
23                                                                            23 this deposition?
24                                                                            24   A Yes, please do.
25                                                                            25   Q Have you been deposed before?                      09:04:48
                                                                     Page 6                                                                        Page 8

 1           Friday, June 11, 2021                                             1   A I have.
 2               9:02 a.m.                                                     2   Q How many times have you been deposed? Just a
 3                                                                             3 ballpark is fine.
 4      THE VIDEOGRAPHER: Good morning. We are on                              4   A Two other times.
 5 the record at 9:02 a.m. on June 11, 2021.              09:02:30             5   Q How many times have you been deposed as an               09:04:57
 6      All participants are appearing remotely.                               6 expert witness? Were you an expert witness in both
 7 Audio and video recording will continue to take                             7 of those cases?
 8 place unless all parties agree to go off the record.                        8   A Yes, I was.
 9      This is Media Unit 1 of the recorded                                   9   Q And these are patent cases, correct?
10 deposition of Christos Kyriakakis taken by counsel         09:02:49        10   A Correct.                               09:05:16
11 for the plaintiff in the matter of Sonos, Inc.,                            11   Q When was the last time you were deposed?
12 versus Google, LLC, filed in the U.S. District                             12   A It was -- I think it was 2018. I don't have
13 Court, Western District of Texas, Waco Division,                           13 the exact date, but I think it was 2018.
14 case number 6:20-CV-00881-ADA.                                             14   Q Sure. Do you remember what case that was?
15      My name is Kimberlee Decker from Veritext            09:03:12         15   A It was -- so it was two in that same year.         09:05:34
16 Legal Solutions. I'm the videographer. The court                           16 So one of them was -- I was working on behalf of
17 reporter is Kathy Barney. I'm not related to any                           17 Apple, which was an ITC case. Actually, initially
18 party in this action, nor am I financially                                 18 the case involved Apple and Samsung as
19 interested in the outcome.                                                 19 co-defendants. So that was one case. And the other
20      Counsel and all present will now state their      09:03:26            20 case was for Apple, a separate case.                  09:06:05
21 appearances and affiliations for the record. If                            21   Q Okay. And so we're on the same page, I want
22 there are any objections to proceeding, please state                       22 to run through some general guidelines. So just
23 them at the time of your appearance, beginning with                        23 bear with me here.
24 the noticing attorney.                                                     24      I'll ask you questions and you must give
25      MR. PAK: This is Jae Pak, counsel for Sonos, 09:03:33      25 truthful answers. Your counsel may object to                        09:06:20
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 1 questions, but unless your counsel instructs you not                    1    A Probably two other times. It was different
 2 to answer, you still must answer despite the                            2 attorneys. Different matters.
 3 objection.                                                              3    Q What was the nature of your engagement with
 4      Do you understand?                                                 4 Quinn Emanuel?
 5   A I do.                             09:06:30                          5        MR. KAPLAN: Object to form.                   09:08:33
 6   Q And if you don't understand a question or                           6        THE WITNESS: It was similar. They were
 7 need clarification, please ask. Otherwise I'll                          7 patent cases and I was an expert witness for their
 8 assume that you understand the question.                                8 client.
 9      We'll plan to take a break every hour or so.                       9 BY MR. PAK:
10 If you need a break outside of that schedule, just     09:06:38        10    Q Do you recall what cases?                  09:08:43
11 let me know and I'll accommodate the request. The                      11    A I believe one was Blitzsafe versus Daimler
12 only thing I ask is, you know, to finish any pending                   12 Benz, Mercedes. And the other one escapes me
13 question before we go on break.                                        13 because I remember the cases, but not necessarily
14      And the court reporter will be transcribing                       14 all the affiliations.
15 our discussion today, so I need you to give verbal      09:06:50       15        THE VIDEOGRAPHER: You're speaking a little           09:09:26
16 answers as opposed to head nods or the like.                           16 low.
17      Understood?                                                       17        THE WITNESS: Interesting. Okay. Is that
18   A Yes.                                                               18 better?
19   Q Okay. I'll slow down here now.                                     19 BY MR. PAK:
20      When did you begin working on this case           09:07:02        20    Q Have you provided expert opinions on behalf         09:09:44
21 between Sonos and Google?                                              21 of Google before?
22   A Oh, I don't know the exact date. It was a                          22    A I have not.
23 few months ago.                                                        23    Q Have you offered opinions with respect to any
24   Q Okay. So it was sometime this year?                                24 Google products?
25   A Yes.                               09:07:16                        25    A No.                              09:09:55
                                                                Page 10                                                                      Page 12

 1   Q Did you sign an engagement letter?                                  1    Q Have you offered opinions with respect to any
 2   A I did.                                                              2 mobile apps that can be installed on your phone or
 3   Q And when did you sign the engagement letter,                        3 tablet?
 4 do you remember?                                                        4    A No.
 5   A Shortly after I talked to the attorneys and I 09:07:29              5    Q Have you used any Google audio products             09:10:07
 6 was told they wanted to retain me. I don't have the                     6 before?
 7 exact date. I think it was a few months ago.                            7    A I have -- yes, I have used them. I don't own
 8   Q Few months as in maybe April of this year or                        8 them, but I have used them.
 9 sometime before?                                                        9    Q What products have you used?
10   A I'm pretty sure it was before.               09:07:45              10    A It was a Google speaker.                   09:10:22
11   Q Okay.                                                              11    Q Do you know what speaker it was?
12   A I don't have the exact date.                                       12    A I think it's called Google Home.
13   Q No, I understand.                                                  13    Q Did you use any specific feature of Google
14      Who is that engagement between? Is that                           14 Home?
15 between you and Google or Google's counsel or            09:07:57      15    A I was interested in evaluating the voice        09:10:45
16 someone else?                                                          16 performance, the voice recognition performance,
17   A It is -- I believe it's between me and                             17 especially how it performs in noisy environments.
18 Google's counsel.                                                      18    Q So you've experimented with Google Assistant;
19   Q And Google's counsel being Quinn Emanuel; is                       19 is that correct?
20 that correct?                                                          20        MR. KAPLAN: Object to form.                   09:11:12
21   A Correct.                                                           21        THE WITNESS: In the context of that product,
22   Q Have you worked with Quinn Emanuel before?                         22 yes.
23   A I have.                                                            23 BY MR. PAK:
24   Q How many times have you worked with Quinn                          24    Q Okay. Have you used the Google Home app
25 Emanuel?                                09:08:18                       25 before?                               09:11:24
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 1   A No.                                                                     1      I mean, that's kind of what I do on a regular
 2   Q So how did you set up the Google Home                                   2 basis just to understand what is going on and who is
 3 product?                                                                    3 doing what acoustically in rooms.
 4   A That's a good question. It's been a while.                              4 BY MR. PAK:
 5       Okay. I guess I used it to set it up. I      09:11:40                 5   Q So have you evaluated these products for             09:15:04
 6 thought you were asking if I used it to interact                            6 other reasons? Other than acoustic performance,
 7 with it.                                                                    7 have you evaluated these products for some other
 8   Q Okay. Have you used any Google Pixel device                             8 reason?
 9 before?                                                                     9   A No.
10   A No.                                 09:11:53                           10   Q And just for curiosity, I guess, which           09:15:15
11   Q Have you used any Sonos products?                                      11 product has the best acoustic performance, in your
12   A Yes.                                                                   12 opinion?
13   Q What Sonos products have you used before?                              13   A I'm going to get in big trouble. I'm not
14   A Sonos Play:1. And Sonos Subwoofer.                                     14 going to answer that. A lot of them it's an
15   Q Have you used any other Sonos products                 09:12:17        15 objective measurement, but a lot of it is very        09:15:35
16 before?                                                                    16 subjective. So I'm probably going to stay away from
17   A No.                                                                    17 that one.
18   Q Do you own a Sonos Play:1 or Sonos Sub?                                18   Q That's fair.
19   A Yes, I do.                                                             19      I want to talk about your professional
20   Q When did you first purchase the Play:1 and             09:12:33        20 experience. Do you have any computer programming              09:15:46
21 the Sonos Sub?                                                             21 experience?
22   A Two years ago approximately.                                           22   A Yes.
23   Q Why did you purchase the Play:1 and Sonos                              23   Q Do you remember the last time you coded or
24 Sub?                                                                       24 programmed something?
25   A As part of my work and research, I have, I             09:12:59       25    A Two days ago.                             09:15:59
                                                                     Page 14                                                                      Page 16

 1 would say, an unusually large collection of speaker                         1   Q Got it.
 2 products and I've purchased them to evaluate their                          2      Have you taught any computer science courses
 3 acoustic performance, compare them to others, and so                        3 before?
 4 on.                                                                         4   A No.
 5   Q Do you own more than one Play:1 and more than 09:13:16                  5   Q Have you taught any network courses before?            09:16:09
 6 one Sonos Sub?                                                              6   A Network specific, no.
 7   A I have three Play:1s and one Sonos Sub.                                 7      I should mention I have computer science
 8   Q Have you ever stereo-paired two Play:1s                                 8 students in my courses, but they're not specific
 9 together?                                                                   9 under the computer science department.
10   A Yes. Yes, I have.                           09:13:47                   10   Q Got it. But you haven't taught any computer           09:16:24
11   Q And have you compared that to other -- when                            11 science courses. Did you say you haven't taught any
12 you say others, you're talking about other audio                           12 network courses; is that correct?
13 products?                                                                  13   A That's correct.
14   A I guess what do you mean by "compared"?                                14   Q Do you have any networking experience?
15   Q Yeah. So you said you evaluated the acoustic 09:14:09                  15   A Yes. Quite a bit, especially with streaming          09:16:41
16 performance of the Sonos Play:1 products with                              16 media. My research group was one of the first to
17 others, right?                                                             17 implement multichannel audio streaming across the
18   A Yes.                                                                   18 country over Internet2, and for that we had a large
19   Q And who are these others that you're                                   19 group that was working on various aspects of
20 referring to here?                          09:14:23                       20 networking, including peer to peer and other aspects 09:17:05
21       MR. KAPLAN: Object to form.                                          21 of it. So, yeah, quite a bit of experience.
22       THE WITNESS: There's a number of them. Some                          22   Q What is Internet2?
23 are home speakers. PSB. Bose. Amazon products.                             23   A Internet2 is what the internet was when it
24 Paradigm is a high-end company that makes wireless                         24 first started, which is a network that was closed
25 speakers. A number of others.                      09:14:51                25 off to the public and only open to academic and           09:17:24
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 1 research institutions. It's a much higher bandwidth                        1 themselves inside the stores like the Apple Store
 2 network that is basically used for experimentation                         2 and Best Buy.
 3 for next-generation applications on the internet.                          3   Q Do you know any Audyssey -- do you know the
 4   Q So do you have any experience in designing or                          4 product names of any of the Audyssey products?
 5 implementing a network?                         09:17:48                   5   A The loudspeakers?                          09:21:02
 6   A My experience is in coding, testing                                    6   Q Yes. Any Audyssey product, really.
 7 performance of networks, not necessarily designing                         7   A So the main Audyssey product was called
 8 networks from scratch. Software that goes on                               8 MultEQ, M-U-L-T-E-Q. That was the name of the
 9 networks, though, yes.                                                     9 umbrella of technologies that had to do with
10   Q But you never designed or architected a           09:18:11            10 acquiring in-room information, acoustical               09:21:21
11 network, right? Is that right?                                            11 information, and correcting it. And the logo is
12      MR. KAPLAN: Object to form.                                          12 still found on many receivers like Marantz and
13      THE WITNESS: Well, I guess I'm --                                    13 Denon, D-E-N-O-N.
14 architected -- I was part of the team. I led the                          14      The speaker products had -- were named of
15 team that architected a multichannel audio streaming 09:18:34             15 after interesting, hip neighborhoods. That was the        09:21:51
16 solution, Lossless, over a network. And so I didn't                       16 marketing plan. So Lower East Side, Market -- South
17 build the network from scratch. It was an existing                        17 of Market. Yeah.
18 network. We just built the software to run all of                         18   Q Are you familiar with the Audyssey Sub
19 that.                                                                     19 Equalizer product?
20 BY MR. PAK:                                 09:19:01                      20   A I am, yes.                            09:22:19
21   Q Got it.                                                               21   Q What is a sub equalizer?
22      And you're the founder and CTO of a company                          22   A A sub equalizer -- so in the home theater
23 called Audyssey Laboratories; is that correct?                            23 market, it is popular to have separate components
24   A That's right.                                                         24 for audio systems. So people will buy their
25   Q And I see the background. Is that an             09:19:07             25 favorite loudspeakers, they will buy their favorite      09:22:39
                                                                   Page 18                                                                     Page 20

 1 Audyssey Laboratories product behind you?                                  1 audio receiver amplifier.
 2   A The loud speaker, no.                                                  2      And for people that already had invested
 3   Q No?                                                                    3 money in a product that didn't have Audyssey room
 4   A No, it's not. I have one, but it's not in                              4 correction in it, we actually made two products.
 5 this room.                              09:19:21                           5 One was called the Audyssey Equalizer, which allowed 09:22:51
 6   Q What products did you help design at                                   6 you to insert it in the path, in the audio path, and
 7 Audyssey?                                                                  7 take advantage of the Audyssey technologies.
 8   A So Audyssey was a spinout from my research                             8      And the sub equalizer was basically the same
 9 lab at USC with a couple of graduate students. We                          9 thing except it was only focused on room correction
10 started in the audio technology licensing business,    09:19:36           10 of the subwoofer frequency range, the low               09:23:15
11 and so the product there was technologies for                             11 frequencies.
12 automatic measuring of acoustical problems in rooms                       12   Q Got it.
13 and solutions for fixing them. And perhaps you've                         13      And I want to introduce an exhibit here.
14 seen the little microphone that comes with home                           14 It's the Audyssey manual. And I just uploaded it in
15 theater equipment. You put it in your living room       09:20:01          15 the exhibits folder and marked it as Exhibit 1.         09:23:28
16 or your car or IMAX theaters, for example. There                          16      (Exhibit 1 was marked for identification
17 are many places that have that.                                           17   electronically and is attached hereto.)
18      So it started as a software solution that was                        18 BY MR. PAK:
19 being licensed. In the course of that company, we                         19   Q Do you see that?
20 also designed some loudspeaker products to showcase        09:20:23       20   A Not yet. I'm refreshing the screen here.           09:23:34
21 the technologies so that we could be fully in                             21 I'm looking at another monitor, so --
22 control of them.                                                          22   Q Sure. I am too.
23      And these were wireless speakers. Three were                         23      THE VIDEOGRAPHER: You have to refresh the
24 wireless and one was wired. And so those were --                          24 browser each time.
25 those were the physical products that found           09:20:48       25           MR. KAPLAN: Chris, sometimes you can just              09:24:02
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 1 hit the Marked Exhibits folder again and that will                         1 data after processing it.
 2 do it.                                                                     2   Q Well, let me ask you this. The Sub Equalizer
 3      THE WITNESS: Oh, there it is. Okay. I got                             3 was not designed to communicate over Wi-Fi,
 4 it. I'm opening it now.                                                    4 Bluetooth, or Ethernet. How did it communicate over
 5 BY MR. PAK:                                 09:24:17                       5 a data network?                           09:27:01
 6    Q Do you recognize this document?                                       6        MR. KAPLAN: Object to form.
 7    A Sorry, it hasn't opened yet.                                          7        THE WITNESS: Well, those are not the only
 8    Q Sure. Let me know.                                                    8 types of networks. Anything that carries data is a
 9    A Okay. Yes, it's open now.                                             9 data network. So this is an audio data network.
10      Yes, I recognize it.                  09:24:26                       10 BY MR. PAK:                                 09:27:11
11    Q Okay. And this is the Audyssey MultEQ Pro                            11   Q You're saying these speakers -- how are these
12 User Guide, correct?                                                      12 speakers connected to the Sub Equalizer?
13    A Correct, MultEQ Pro. It was software that we                         13   A Through audio cables.
14 provided to home theater installers. And this was                         14   Q What kind of -- sorry, I didn't mean to cut
15 additional functionality than what a consumer could       09:24:45        15 you off.                               09:27:27
16 do with the built-in software. And we marketed it                         16   A No, no. It's fine.
17 as MultEQ Pro.                                                            17   Q What audio cables do you use to connect, you
18    Q I want to turn to PDF, page 14. And there's                          18 know, one of these speakers to a Sub Equalizer?
19 a connection diagram for the Audyssey Sub Equalizer.                      19   A They're called line level cables or RCA
20      Do you see that?                      09:25:02                       20 because of the type of connector, which is named as      09:27:46
21    A It's coming. Page 14?                                                21 an RCA connector.
22    Q PDF page 14.                                                         22   Q So if you have a speaker connected to, you
23    A Oh, PDF page 14.                                                     23 know, another device, you know, another device here
24    Q But it's page 10 of the manual.                                      24 being a Sub Equalizer via RCA cables, are they
25    A Okay.                              09:25:26                          25 communicating over a data network?                   09:28:06
                                                                   Page 22                                                                   Page 24

 1   Q Okay. So you see the connection diagram for                            1   A In the most general definition of a data
 2 the Audyssey --                                                            2 network, audio certainly falls into that. And I
 3   A Yes.                                                                   3 would consider this a wired data network. To put it
 4   Q Does that look like an accurate                                        4 in the context of the discussion we're having today,
 5 representation of the Sub Equalizer?                 09:25:33              5 yes.                                 09:28:27
 6      MR. KAPLAN: Object to form.                                           6   Q Okay. So, I mean, any device that can carry
 7      THE WITNESS: It's an accurate representation                          7 data to another device is a data network; is that
 8 of how we recommended the connection, yes.                                 8 correct?
 9 BY MR. PAK:                                                                9        MR. KAPLAN: Object to form.
10   Q Was the Sub Equalizer designed to communicate 09:25:48                10        THE WITNESS: Any infrastructure that can          09:28:37
11 over Wi-Fi?                                                               11 connect devices and carry data, yes.
12   A No.                                                                   12 BY MR. PAK:
13   Q Was the Sub Equalizer designed to communicate                         13   Q In general, do you have an understanding of
14 over Bluetooth?                                                           14 what a term of art is?
15   A No.                                09:25:58                           15   A Yes.                               09:28:53
16   Q Was the Sub Equalizer designed to communicate                         16        MR. KAPLAN: Object to form.
17 over Ethernet?                                                            17 BY MR. PAK:
18   A No.                                                                   18   Q What is your understanding?
19   Q Was the Sub Equalizer designed to communicate                         19   A A term of art in my understanding is -- maybe
20 over a data network?                         09:26:09                     20 not the exact legal definition -- it's what a person 09:29:05
21   A Well, it was designed to accept, process and                          21 of skill would understand that to mean in the art,
22 produce or transmit audio data.                                           22 in the field.
23      So in the context of data -- audio being                             23   Q Is the term "network" a term of art?
24 data, which it is, I would say yes, it's connected                        24        MR. KAPLAN: Object to form.
25 to two devices as shown here and it's passing audio      09:26:30     25            THE WITNESS: Yes.                          09:29:25
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 1 BY MR. PAK:                                                               1 laptops on a data network, correct?
 2   Q Before you were engaged as an expert for this                         2 A Correct.
 3 matter, did you have an understanding of what                             3 Q Are there any other types of devices other
 4 network means?                                                            4 than a laptop that can be on a data network?
 5   A Yes.                               09:29:34                           5 A Anything that allows the passage of data           09:32:45
 6   Q What was that understanding?                                          6 through it that is connected to other devices can be
 7   A Basically what I said a minute ago. A                                 7 on a data network.
 8 network is an infrastructure of devices and                               8      So in a studio environment, microphones and
 9 interconnects that allows the flow of data between                        9 loudspeakers are on a data network, and sometimes
10 them. Or enables the flow of data between them.           09:29:54       10 over very long distances. The control room is in      09:33:06
11   Q Okay. So your definition of a network is the                         11 another place. Obviously computers are on a data
12 same as a data network; is that correct?                                 12 network. Cell phones are on a data network. Yes.
13      MR. KAPLAN: Object to form.                                         13 And many other types of devices.
14      THE WITNESS: I think -- a network carries                           14 Q Sure. And a data network can be wired or
15 data, so yes.                           09:30:19                         15 wireless, correct?                        09:33:26
16 BY MR. PAK:                                                              16 A Correct.
17   Q Is "data" a term of art?                                             17 Q What are the types of cables or interfaces to
18   A Yes, it is.                                                          18 transfer data over a wired data network?
19   Q Before Google engaged you as an expert in                            19      MR. KAPLAN: Object to form.
20 this matter, did you have an understanding of what         09:30:41      20      THE WITNESS: Over wired?                      09:33:39
21 data means?                                                              21 BY MR. PAK:
22   A Yes, absolutely.                                                     22 Q Yes. I -- well, I assume in a wireless data
23   Q What was that understanding?                                         23 network you wouldn't need cables, right?
24   A Data is in its -- in the highest level                               24 A Right. Correct.
25 definition, data is information.                09:30:53                 25      In a wired one, I mean, I guess anything that 09:33:51
                                                                  Page 26                                                                     Page 28

 1   Q Can data be analog or digital?                                        1 can establish electrical connection. So it would
 2   A Yes, absolutely.                                                      2 be -- it could be copper, it could be optical, it
 3   Q Is "data network" a term of art?                                      3 could be Ethernet. There's probably others that I'm
 4   A I would say yes.                                                      4 forgetting, but --
 5   Q Is there a difference between a network and a 09:31:18                5   Q You mentioned earlier RCA cables, you can use 09:34:20
 6 data network?                                                             6 an RCA cable to --
 7      MR. KAPLAN: Object to form.                                          7   A Yeah. Those fall into copper for me, but
 8      THE WITNESS: In the context of what we're                            8 yes.
 9 speaking of, I would say no. There is a network of                        9   Q Got it. What about speaker wires, does that
10 people that I have on LinkedIn, but that's a        09:31:35             10 fall under copper?                          09:34:33
11 different kind of network. But in this context, I                        11   A Also under copper.
12 would say no.                                                            12   Q Does a data network require devices to
13 BY MR. PAK:                                                              13 transfer data in a certain format to communicate
14   Q Would you say that a network and a data                              14 with another device that is on the network?
15 network are both mediums that carry data?             09:31:54           15   A There has to be -- the devices have to          09:34:47
16      MR. KAPLAN: Object to form.                                         16 understand the data coming in. So if that is what
17      THE WITNESS: In this context, yes.                                  17 you mean by format, then yes. If not, there are
18 BY MR. PAK:                                                              18 translator devices that can convert it.
19   Q Okay. What are the types of devices that can                         19   Q Okay. So when a device transfers data to
20 be on a data network?                          09:32:15                  20 another device on a data network, there's got to be     09:35:14
21      MR. KAPLAN: Object to form.                                         21 some kind of protocol, right?
22      THE WITNESS: The types? What do you mean by                         22   A Yes.
23 "types"?                                                                 23        MR. KAPLAN: Object to form.
24 BY MR. PAK:                                                              24 BY MR. PAK:
25   Q Well, for example, you can have a laptop or           09:32:29      25    Q What are the protocols that are required for       09:35:25
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 1 a data network?                                                             1 than 802.11?
 2   A There's a pretty large number of them. A                                2   A Well, there are other Wi-Fi methods that are
 3 common protocol is to -- is based on the principal                          3 proprietary to individual companies that may -- that
 4 of modulation. Again, I'm speaking in the context                           4 don't have to comply with 802.11 between their own
 5 of our discussion today and the matters here.          09:35:45             5 devices. I don't know how they work because they're 09:39:45
 6      So in a modulation concept, the modulation                             6 proprietary, but they do exist.
 7 type protocol is understood to take in data, put it                         7   Q And these protocols you mentioned, like
 8 in a certain form so that the receiving device can                          8 802.11, for example, or TCP, they require data to be
 9 understand it. Since we're speaking of audio, pulse                         9 sent in a certain format; is that correct?
10 code modulation is a common one.                      09:36:14             10      MR. KAPLAN: Object to form.                    09:40:02
11      There are optical protocols called SPDIF,                             11      THE WITNESS: Those protocols, the standards
12 Sony Phillips Digital Interchange Format. There                            12 require, yes, data to be in a certain type. Just
13 are, of course, computer-to-computer protocols such                        13 like all the other protocols.
14 as Ethernet. And several others.                                           14 BY MR. PAK:
15   Q Okay. Specifically if a device wants to           09:36:49             15   Q Do the Wi-Fi and Ethernet standards require         09:40:17
16 communicate with another device on an internet-based                       16 data to be sent in data packets?
17 network, what protocols are required for that                              17   A The 802.11 Wi-Fi does. The Ethernet, as I
18 communication?                                                             18 said, you can -- Ethernet is basically the cable.
19      MR. KAPLAN: Object to form.                                           19 Different protocols can run on it. TCPIP is data
20      THE WITNESS: Can you define internet-based            09:37:10        20 packets, yes. Or it's based on data packets.        09:40:37
21 network for me, please?                                                    21   Q Are there any Wi-Fi Ethernet standards that
22 BY MR. PAK:                                                                22 don't require data to be sent in the form of data
23   Q Yeah. So communicate over Wi-Fi or Ethernet,                           23 packets?
24 for example.                                                               24   A As I said, I don't know the Wi-Fi inner
25      MR. KAPLAN: Object to form.                      09:37:20             25 workings of the proprietary ones, so I'm not sure I     09:40:58
                                                                    Page 30                                                                    Page 32

 1      THE WITNESS: Oh, I'm sorry. Did you say                                1 can answer that. Or the wired ones.
 2 Ethernet or internet?                                                       2      There are multi-room systems that have been
 3 BY MR. PAK:                                                                 3 around in the home installer market for a long time
 4   Q Wi-Fi or Ethernet.                                                      4 that use Ethernet. But it's not necessarily a
 5   A Ethernet. I see.                      09:37:29                          5 standard Ethernet, based on a standard. So I          09:41:16
 6   Q Yeah.                                                                   6 couldn't say for sure what they use.
 7   A So the format for those is -- I mean, there's                           7   Q Okay. And I want to introduce another
 8 a Wi-Fi standard under the 802.11 IEEE, Institute of                        8 exhibit here. Just give me one minute.
 9 Electrical and Electronics Engineers, and that                              9   A Sure.
10 standard has been established for -- the devices       09:37:52            10   Q Okay. I just uploaded Exhibit 2. Let me           09:41:33
11 that want to talk to each other on Wi-Fi have to                           11 know if you see it.
12 implement that standard on the transmitter and the                         12   A Yes. Okay.
13 receiver so that they can communicate.                                     13      (Exhibit 2 was marked for identification
14      There are also standards for Ethernet. A                              14   electronically and is attached hereto.)
15 common one is TCP, Transfer Control Protocol. There 09:38:10               15 BY MR. PAK:                                  09:41:57
16 are others.                                                                16   Q Do you recognize this document?
17   Q Can you name some of the other protocols?                              17   A No.
18      MR. KAPLAN: Object to form.                                           18   Q Okay. Well, I'll represent to you that these
19      THE WITNESS: There are Asynchronous Transfer                          19 are slides from a computer networks course from
20 Mode, ATM. Token Ring kind of networks. And a               09:38:43       20 Cornell University that I downloaded from the           09:42:11
21 variation of that, which is a Star network.                                21 internet.
22      That's what comes to mind now. I'm sure I                             22      Do you see on the first page it says "CS519:
23 can think of more later.                                                   23 Computer Networks," correct?
24 BY MR. PAK:                                                                24   A I do.
25   Q Are there any other Wi-Fi standards other          09:39:18       25        Q And it's a lecture from January 24, 2004,         09:42:18
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 1 right?                                                         1 A First of all, I never heard that euphemism,
 2 A Yes.                                                         2 and I'm pretty familiar with the field of streaming
 3 Q Okay. And I want to focus on the slide 6, so                 3 audio and networks and use for that, and voice. I
 4 PDF page 6.                                                    4 think a voice network is a data network. It's
 5 A They're not numbered. What is the title of 09:42:35 5 carrying voice data.                                   09:44:59
 6 the slide?                                                     6 Q Well, what is a voice network?
 7 Q It says, "What is a data network?"                           7 A It's a network that carries voice. For
 8 A I see it.                                                    8 example, a telephony network.
 9      MR. KAPLAN: Chris, I don't mean to                        9 Q Could you give me some other examples of a
10 interrupt, but if you sort of scroll your mouse over 09:42:48 10 voice network?                               09:45:23
11 the exhibit, it will show the page numbers there.             11 A If we're talking about a network that only
12      THE WITNESS: Yeah, I just realized. But for              12 carries voice, then I think telephony is probably
13 some reason it's showing as page 5 for me. But,               13 the only one that comes to mind. There are other
14 okay, I do see it.                                            14 networks that carry voice and other things, like
15 BY MR. PAK:                                 09:43:00          15 cellular networks and cell phone networks. But if 09:45:42
16 Q I guess it is page 5. Page 5 of the PDF.                    16 we're talking about just voice, then I would think
17 A Yes.                                                        17 telephony is the -- I -- I just thought of another
18 Q And it says:                                                18 one. A walkie-talkie network that has multiple
19         "What is a data network?" And                         19 wireless devices that a firefighter department would
20      then, "The answer is not a network           09:43:09    20 use, that is a voice network and it carries data.     09:46:01
21      that carries data."                                      21 Q So a walkie-talkie network, in your opinion,
22      Do you see that?                                         22 is a data network?
23 A I do.                                                       23 A Well, I guess walkie-talkie network is --
24 Q And the slide explains that one reason why a                24 walkie-talkie is the devices on a wireless network
25 data network is not a network that carries data is 09:43:20 25 that exchange voice data.                         09:46:25
                                                          Page 34                                                              Page 36

 1 because you can send data over a voice network,              1 Q And what protocol does this wireless network
 2 which is often a euphemism for a circuit network,            2 use to exchange voice data?
 3 and a voice network is not a data network.                   3 A Most of them are based on radio frequency,
 4      Do you see that?                                        4 RF. But the protocols, again, I think are
 5 A I do.                                 09:43:36             5 proprietary to the individual companies that make     09:46:48
 6 Q Do you agree with that statement?                          6 them, like Motorola and others.
 7 A Not at all.                                                7 Q And when you say a telephony network, are you
 8 Q Why do you disagree?                                       8 referring to a public switch telephone network?
 9 A I think it's an appropriate statement for a                9 A Yes.
10 packet network course -- for a network course, it's 09:43:4410 Q Okay. So a public switch telephone network 09:47:05
11 appropriate for that kind of class, but I don't             11 is a voice network; is that right?
12 think that's a general statement that is true               12 A Yes.
13 because data -- networks carry data. That's the             13 Q Is a cellular network a voice network?
14 very definition of a network.                               14 A Well, as I said before, it can be a voice
15      I don't know this class, but it sounds like 09:44:09   15 network if all that anyone does on it is speak on   09:47:23
16 they're going to be talking about a subset of               16 the phone. But it is capable of other information
17 networks that carry packet data, and they certainly         17 as well on that network. So it's not exclusively
18 exist.                                                      18 voice.
19 Q Well, you say you never taught a course in                19 Q So a cellular network can either transmit
20 computer networks; is that right?                09:44:22   20 voice or data, right?                      09:47:36
21 A Yes.                                                      21 A No.
22 Q Do you agree that a voice network is a                    22       MR. KAPLAN: Object to form.
23 euphemism for a circuit network?                            23       THE WITNESS: Voice -- a cellular network
24 A No. That is not a term of art.                            24 transmits or carries data. Voice is data as far as
25 Q Why do you disagree?                          09:44:32    25 it's concerned.                          09:47:53
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 1 BY MR. PAK:                                                             1        Sitting here today, you can't think of a
 2   Q Right. So a cellular network can carry data                         2 digital cellular network that is not packet based,
 3 in the form of voice, right, or non-voice data; is                      3 correct?
 4 that right?                                                             4   A Correct, but that's not -- I'm not saying
 5   A Right.                              09:48:05                        5 that they don't exist, just that I can't think of   09:51:15
 6   Q So how do you transmit voice data over a                            6 one.
 7 cellular network?                                                       7   Q So you said in a cellular network, you can
 8   A Well, it depends on what kind of cellular                           8 either transmit voice data or non-voice data, right?
 9 network. There are different kinds of cellular                          9   A Right.
10 networks. So the first ever created was probably, I 09:48:25           10        MR. KAPLAN: Object to form.                   09:51:35
11 would say, in Japan in 1979 or 1980, somewhere                         11 BY MR. PAK:
12 there. And it was an analog-based system where --                      12   Q So in a cellular network, is -- is voice data
13 and I guess at the time that would have been truly                     13 transmitted differently than non-voice data? Do
14 for voice because I don't think there was other                        14 they take different paths?
15 multimedia data being sent over the network.           09:48:47        15        MR. KAPLAN: Object to form.                   09:51:50
16      So that was through a mechanism called                            16        THE WITNESS: Well, it kind of depends. If
17 frequency division multiplexing, which basically is                    17 you're communicating with somebody else on another
18 a protocol for splitting up the audio bandwidth into                   18 cellular phone, for example, the path between you
19 different bands and then dividing them into                            19 and the other person may be different because of the
20 different bands, and then blending them all together 09:49:04          20 way cellular networks work. If you're using your        09:52:09
21 when they arrive at the other end. So that was a                       21 phone to send data to a device in your house, that
22 purely analog system. And, actually, it's still in                     22 would be a different path as well.
23 existence in some parts of the world.                                  23        So I guess I wasn't fully clear on your
24      There are also digital systems, and they have                     24 question.
25 increased over the years from -- starting from 2G,     09:49:23      25 ////
                                                                Page 38                                                                      Page 40

 1 which was the first one, all the way to what we have          1 BY MR. PAK:
 2 today, which is 5G, increasing the bandwidth of each          2 Q I want to go back to the slide here. It
 3 connection and also total bandwidth to improve                3 says:
 4 quality and speed.                                            4          "Data network is often a
 5 Q So in a digital cellular network, what --        09:49:47   5       euphemism for packet network."               09:52:36
 6 when you transmit data, what -- what form does that           6       Do you agree with that statement?
 7 data take? Is -- does it have to take the form of             7 A I do not.
 8 data packets?                                                 8 Q And you disagree with the statement because a
 9 A The standards dictate the form. So there are                9 data network is any type of network that carries
10 different schemes. There's time division           09:50:16 10 data; is that -- is that correct?             09:52:52
11 multiplexing, which was the next evolution after             11 A That's correct. And the data can be in many
12 frequency division. I would say, yes, the majority           12 different forms and it could be analog or digital.
13 of those are probably packet based.                          13 But even within those, it can be different protocols
14 Q Are there any digital cellular networks that               14 for each one of those.
15 are not packet based?                        09:50:32        15 Q Is a voice network a packet network?               09:53:06
16 A I don't know. That would be a pretty                       16       MR. KAPLAN: Object to form.
17 sweeping statement for me to make without looking            17       THE WITNESS: A voice network can be packet
18 into it a little bit more.                                   18 based, yes. But there are many -- the original
19      I can't think of an example off the top of my           19 PBX-type switches were not. Those were a voice
20 head, but I don't want to say no for sure because I 09:50:49 20 network that was analog. And then later other         09:53:31
21 would have to look into it.                                  21 networks came out that are digital.
22 Q Sitting here today, you can't think of any                 22       But analog voice networks still exist and are
23 digital cellular networks that are packet based --           23 in use in many places, including elevators for
24 that are not packet based? Let me -- let me start            24 safety and places where you want the internet not to
25 over.                                  09:51:04              25 fail, especially for safety applications.        09:53:47
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 1 BY MR. PAK:                                              1      destinations."
 2 Q Okay. So an analog voice network is not a              2      Yes, I would agree with that.
 3 packet network, correct?                                 3 BY MR. PAK:
 4 A An analog -- no, it is not.                            4 Q Can a circuit network be digital or analog?
 5 Q Is a digital voice network a packet network? 09:54:01 5 A Yes.                                 09:56:39
 6 A As I said before, most of them are. There              6 Q What's an analog -- what are some examples of
 7 might be examples where they're not, but I don't         7 analog circuit networks?
 8 know one off the top of my head. I would say most        8 A Well, those are the original telephony
 9 are.                                                     9 products that connect to POTS, plain old telephone
10 Q And I want to take a look at -- let me find 09:54:20 10 system lines. You still find limited -- you find 09:56:56
11 the right slide here. I think it's PDF page 9 of        11 them in network closets of many companies or other
12 the slides. The header says "Packet Network versus      12 organizations. So, yes, there are analog switching
13 Circuit Network."                                       13 or circuit networks that still exist.
14      Do you see that?                                   14 Q You said those are examples of an analog
15 A Yes.                                  09:54:44        15 voice network, right?                      09:57:31
16 Q So this slide says:                                   16 A Right.
17          "Packet Network versus Circuit                 17 Q So is a voice network not a circuit network?
18      Network. By contrast, packet network               18 A A voice network --
19      allows small units of data packets to              19 Q Let me ask you a different question.
20      be individually sent to different         09:54:55 20      Is a voice network synonymous -- synonymous 09:57:49
21      destinations."                                     21 with the term circuit network?
22      Do you see that?                                   22 A No.
23 A I do.                                                 23 Q How are they different?
24 Q Can you send data packets over a circuit              24 A A circuit network is something that requires
25 network?                                 09:55:04       25 a physical connection to be made of the sending     09:58:02
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 1 A Probably not. I'm trying to figure out what                  1 location and the receiving location. You think of
 2 the "by contrast" means here. Is there a previous              2 it as the old telephone operator plugging in patch
 3 slide that contrasts to something?                             3 cords. So that's a circuit network. What it
 4 Q Yeah. So in the context, you know, the                       4 carries is voice. And so I guess it's not a term
 5 header says, "Packet Network versus Circuit           09:55:32 5 that I often use, but it is a term that I guess  09:58:21
 6 Network." So "by contrast" here it's comparing a               6 people use calling it a voice network. You could
 7 packet network to a circuit network; is that                   7 send other things over an analog switching network.
 8 correct?                                                       8 Q And you said earlier that public switch
 9 A Yes.                                                         9 telephone network is a voice network, right?
10 Q So unlike a circuit network, this slide says: 09:55:42 10 A I said -- I don't remember what I said. The 09:58:41
11          "A packet network allows small                       11 public switch network can be used as -- for voice.
12      units of data packets to be                              12 Q Can a public switch telephone network be used
13      individually sent to different                           13 in a circuit network?
14      destinations."                                           14      MR. KAPLAN: Object to form.
15      Is that right?                      09:55:59             15      THE WITNESS: It's not to be used in. It's 09:59:05
16      MR. KAPLAN: Object to form.                              16 implemented using circuit networks, or circuit
17      THE WITNESS: Right. But -- so in a digital               17 network devices.
18 switching -- a digital circuit network, that could            18 BY MR. PAK:
19 also be true, right?                                          19 Q Well, let me ask you this way. Is a voice
20      So I understand what they're trying to say     09:56:15 20 network a type of circuit network?                09:59:28
21 here for the purposes of this class that they're              21 A Yes.
22 teaching, but I guess reading the sentence by                 22 Q Okay. I want to introduce a new exhibit
23 itself:                                                       23 here, Exhibit 3. Just give me one minute.
24          "A packet network allows packets                     24      (Exhibit 3 was marked for identification
25      of data to be sent to different           09:56:30       25 electronically and is attached hereto.)          10:00:11
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 1 BY MR. PAK:                                                  1 A Correct.
 2 Q Okay. I just uploaded Exhibit 3. Let me                    2 Q Why do you disagree?
 3 know when you see it.                                        3 A Because I think we talked about several
 4 A I see it.                                                  4 examples of networks that carry analog signals, and
 5 Q Do you recognize this document?                  10:00:23  5 so it's not an opinion. I mean, the existence of   10:03:47
 6 A I recognize maybe not this edition of it, but              6 those networks proves it doesn't have to be digital.
 7 I have seen the computer dictionary before, yes.             7 Q And earlier, you know, as we discussed, your
 8 Q Okay. Yeah, so this is an excerpt from the                 8 opinion is that a voice network can transmit analog
 9 Microsoft Computer Dictionary, Fifth Edition.                9 signals, but it can also transmit digital signals;
10      And you said you're not sure if you read this 10:00:44 10 is that correct?
11 edition, but you've looked through the Microsoft            11 A Yes.
12 Computer Dictionary before, right?                          12      MR. KAPLAN: Object to form.
13 A Yes, I have.                                              13      THE WITNESS: Yeah, I agree with that.
14 Q I want to look at page 3. At the bottom, do               14 BY MR. PAK:
15 you see a definition for a data network?          10:01:04 15 Q Okay. Is local area network a term of art? 10:04:17
16 A Yes.                                                      16 A Yes, it is.
17 Q Could you please read that definition for the             17 Q Before Google engaged you as an expert for
18 record?                                                     18 this matter, did you have an understanding of what
19 A                                                           19 local area network means?
20         "A network designed for              10:01:15       20 A Yes, I did.                             10:04:31
21      transferring data encoded as digital                   21 Q What was that understanding?
22      signals, as opposed to a voice                         22 A It is a -- again, infrastructure or medium
23      network, which transmits analog                        23 for connecting multiple devices for the purpose of
24      signals."                                              24 exchanging data.
25 Q So like the Cornell University slide we just 10:01:25 25 Q What are the types of devices that can be on 10:04:50
                                                       Page 46                                                          Page 48

 1 looked at, the Microsoft Dictionary distinguishes a            1 a local area network?
 2 data network from a voice network, correct?                    2 A They can be -- because I work a lot with
 3      MR. KAPLAN: Object to form.                               3 studios and other things, it can be mixing consoles,
 4      THE WITNESS: That's what it says.                         4 loudspeakers, computers, microphone preamplifiers,
 5 BY MR. PAK:                                  10:01:48          5 printers. There's a very large list of things it 10:05:16
 6 Q Do you agree with this definition of data                    6 could be on this kind -- on a local area network.
 7 network from the Microsoft Computer Dictionary?                7 Q A local area network can be wired or
 8 A I agree with parts of it. A network designed                 8 wireless, correct?
 9 for transferring data. But I don't agree that it               9 A Yes.
10 has to be digital.                        10:02:00            10 Q What are the types of cables used to transfer 10:05:29
11 Q What does transferring data mean?                           11 data over a wired local area network?
12 A In this context, I think because it's                       12 A It's similar to the list that we talked about
13 Microsoft, it means -- I assume it means data from            13 before in terms of data networks. It's copper and
14 one computer is moved to another computer.                    14 all types of copper connections, including audio
15 Q So it talks about sending and receiving data, 10:02:31 15 cables, speaker cables, Ethernet, coaxial cables,         10:05:53
16 right?                                                        16 optical cables. That's probably a good list.
17 A I don't -- maybe transferring means -- to me                17 Q So if a speaker is connected to the Sub
18 means taking it from one place to another. I don't            18 Equalizer, for example, via a RCA cable -- let me
19 see anything in this definition that implies it's             19 start over.
20 bidirectional.                           10:02:53             20      So if a speaker is connected to another      10:06:24
21 Q What do you mean by "bidirectional"?                        21 device, such as the Sub Equalizer via RCA cables, is
22 A Sending and receiving, as you said, between                 22 that on a local area network?
23 two devices, for example.                                     23 A Yes. Those are exchanging data.
24 Q Okay. So this definition, you disagree that                 24 Q Does a local area network require devices to
25 a data network is limited to digital signals, right? 10:03:29 25 transfer data in a certain format to communicate      10:06:51
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 1 with another device?                                                  1   Q When you transmit digital data over a local
 2 A It does. The devices on that network have to                        2 area network, does that data have to take the form
 3 all have an agreed-upon representation of the data                    3 of digital data packets?
 4 or use an appropriate translator to make it                           4   A No, it doesn't have to.
 5 understandable to them, but yes.                   10:07:08           5   Q What other forms can that data take?               10:11:00
 6 Q So devices on a local area network have to                          6   A The examples I was giving before, some kind
 7 communicate using a specific network protocol,                        7 of a modulation. So pulse code or pulse width
 8 right?                                                                8 modulation. So, no, it doesn't have to be packet
 9 A Yes.                                                                9 based.
10 Q What are those network protocols?                   10:07:25       10   Q When we talked about modulations, you                10:11:30
11 A So there are -- again, because I come from                         11 referred to them as analog data; is that right?
12 the audio world, there are modulation protocols,                     12   A No. The one kind, frequency division, is the
13 such as pulse code modulation, pulse width                           13 analog. But the -- so pulse code and pulse width,
14 modulation, optical data protocols, which are                        14 the examples I'm using here, require the translator
15 digital. Well, all the ones I mentioned are          10:07:49        15 device.                                  10:11:54
16 digital.                                                             16        So let's say you have an audio device that's
17      And then there are also the -- if we're                         17 sending out analog audio, but you want to connect it
18 talking about printers and computers, then there are                 18 over a local network to other devices to receive
19 the TCP internet protocols.                                          19 that audio, the wired network. You might convert it
20 Q Are these analog protocols or digital              10:08:04        20 to digital audio and then use -- and that conversion 10:12:16
21 protocols?                                                           21 puts it in the forms of pulse code modulated or
22 A Well, I guess I don't think of a protocol as                       22 pulse width modulated audio. Most common is pulse
23 analog or digital. It's -- there are protocols for                   23 code. It's sent over the network in that format and
24 analog data and there are protocols for digital                      24 then the opposite operation happens at the receiving
25 data. Perhaps that's what you meant?                 10:08:36        25 end.                                    10:12:37
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 1   Q Yeah, that's what I meant, actually.                              1        So these converter devices are in many cases
 2      What are the protocols for analog data for a                     2 built into the audio source and receiver and
 3 local area network?                                                   3 sometimes they can be separate.
 4   A So they're modulated -- so FM is -- not the                       4   Q So when you convert audio into digital form
 5 radio kind of FM, but frequency or amplitude          10:09:02        5 in pulse code modulator or pulse width modulated           10:12:55
 6 modulation of audio data can be sent over cables and                  6 audio data, and you transmit that over a network,
 7 demodulated at the receiving side and be converted                    7 does that data have to take the form of data
 8 back to audio. That's one that comes to mind for                      8 packets?
 9 analog.                                                               9   A No.
10   Q Are there any other protocols for analog data 10:09:26           10   Q What does that data -- what form can that           10:13:19
11 over a local area network?                                           11 data take other than data packets?
12   A The method that I talked about before for the                    12   A You can think of it as a stream of zeroes and
13 1G cellular networks, frequency division                             13 ones because it's digital now.
14 multiplexing, that can also be applied to wired                      14        I guess the best analogy I can think of is in
15 local area networks as well.                  10:09:50               15 Morse code you can have a long beep or a short beep, 10:13:39
16   Q What are the protocols for digital data over                     16 and so the pulses can be wide to represent, let's
17 a local area network?                                                17 say, a one or short to represent a zero and then
18   A It depends on the data. So if it's -- again,                     18 that pattern is read in by the receiving device and
19 if we're talking about multimedia audio data, those                  19 converts back to audio.
20 can be the ones that I mentioned before, the pulse    10:10:12       20   Q Does an infrared remote that sends infrared         10:14:00
21 code or pulse modulation or optical, SPDIF.                          21 signals to a TV amount to a coupling by way of a
22      If we're talking about computers and                            22 local area network?
23 printers, those are TCP-type protocols. But there                    23   A Yes. It's sending data to a TV in this case,
24 are others. There are peer-to-peer connections that                  24 right? So over an agreed-upon protocol. So yes.
25 can happen.                             10:10:36                     25   Q So as long as data is being carried over to        10:14:36
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 1 another device using some agreed-upon protocol,                          1   Q Right. So there is a difference between a
 2 you're saying that that is enough to be on a local                       2 data network and a local area network, right?
 3 area network; is that right?                                             3   A No. A local area network is a data network.
 4      MR. KAPLAN: Object. Form.                                           4 But it has this additional attribute that is used to
 5      THE WITNESS: It's enough to be on a network. 10:14:55               5 compare it to larger data networks, which are called 10:18:13
 6 Local area usually is used as a term of art to                           6 wide area networks.
 7 differentiate it from larger networks. But, yes, I                       7   Q What is -- where are those additional
 8 agree.                                                                   8 attributes that make a data network a local area
 9 BY MR. PAK:                                                              9 network?
10   Q What do you mean by a local area usually is         10:15:16        10   A They are used in -- when making comparisons           10:18:27
11 usually used as a term of art to differentiate it                       11 between two networks to differentiate usually by the
12 from large networks?                                                    12 number of devices or the geographical area that is
13   A The industry uses these terms to give an idea                       13 covered.
14 of the magnitude of the size of the overall network.                    14      So they're all data networks, but the wide --
15 So they are, for example, wide area networks that       10:15:41        15 it's generally understood that a wider network has      10:18:48
16 would consist possibly of multiple local area                           16 many more devices or covers a wider geographical
17 networks and are generally considered to cover much                     17 area than a local area network.
18 larger areas geographically. So it's kind of a                          18   Q Are there any other additional attributes
19 layered terminology. There are also metropolitan                        19 that make a data network a local area network?
20 area networks that typically are associated with a     10:16:03         20   A Not that I can think of at the moment, no.         10:19:04
21 city.                                                                   21   Q Do you know any examples of a wide area
22      There's no hard definition of where the                            22 network?
23 boundary of one ends and another one begins, but one                    23   A Yes. I don't know if there's a name for it,
24 would understand that a wide area network involves a                    24 but the Western United States internet
25 much larger geographic area than a local area          10:16:16       25 infrastructure is generally considered a wide area        10:19:37
                                                                 Page 54                                                                    Page 56

 1 network.                                                        1 network. Internet2 that we mentioned before is a
 2 Q So local area network covers a limited area                   2 wide area network.
 3 compared to a wider network; is that right?                     3 Q Do you know any other examples of wide area
 4 A I wouldn't say limited. It's just smaller                     4 networks?
 5 than the wide area network. All networks are           10:16:42 5 A I would say satellite networks perhaps that 10:19:51
 6 limited by area. Wide area networks are also                    6 cover a part of the globe under their view are also
 7 limited, perhaps to planet earth. But it's just a               7 wide area networks.
 8 terminology for relative size. So one would                     8 Q How do you transmit data over a satellite
 9 understand a local area network has fewer devices on            9 network?
10 it than a wide area network.                    10:16:57       10 A In multiple ways. It could be radio               10:20:22
11 Q Let me ask you this way, then. A local area                  11 frequency based modulation or it could be packet
12 network covers a limited geographical area; is that            12 based, like it is for cell phones or cell networks.
13 right?                                                         13 Q Can you transmit analog data over a satellite
14 A As I said, a smaller geographic area. It can                 14 network?
15 be quite large. That's why I objected to "limited." 10:17:16 15 A Analog data -- I'm trying to think of -- for 10:20:41
16 It can be pretty big. And then you say, okay, what             16 example, a short-wave radio is a kind of a network
17 about wide? Wide area network would be bigger.                 17 that uses analog data over large distances. It's
18 Q Correct, right. So local area network covers                 18 possible that it's rebroadcast through satellites.
19 a smaller geographical area than a wide area                   19 I'm not sure. I think technically you can.
20 network; is that right?                      10:17:32          20      I can't think of an example at the moment,       10:21:13
21 A Yes.                                                         21 but there's no reason that you couldn't.
22 Q Is there a difference between a data network                 22 Q Do you know any satellite networks that
23 and a local area network?                                      23 transmit analog data?
24 A Well, a local area network is a subset of the                24 A Not off the top of my head. I mean, I know
25 data networks.                            10:17:56             25 an old example -- communication with the Apollo           10:21:33
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 1 astronauts was done through radio waves. Perhaps                             1 causes that. But yes.
 2 eventually that became digital. But, no, I can't                             2   Q Are there any other differences between a
 3 think of an example off the top of my head.                                  3 local area network and a personal area network?
 4   Q Does data that is transmitted over a                                     4   A Probably the number of devices in a local
 5 satellite network have to take the form of data        10:21:55              5 area network would be higher than the number of            10:32:24
 6 packets?                                                                     6 devices in a personal area network that are
 7   A I don't think that's required, no.                                       7 possible.
 8   Q What other forms of data can be transmitted                              8   Q Are there any other differences between local
 9 over a satellite network?                                                    9 area network and a personal area network?
10   A There are other modulation schemes that can          10:22:09           10   A I can't think of one, no.                  10:32:36
11 be used. Radiofrequency modulation schemes can be                           11   Q So earlier you said, you know, communicating
12 used to transmit data over satellites.                                      12 over two walkie-talkies could amount to a coupling
13      MR. PAK: How about we take a break, a quick                            13 by way of a data network, right?
14 break? Maybe come back in five minutes. Is that                             14   A Yes.
15 okay?                                    10:22:41                           15   Q And that's because you can carry data from            10:33:04
16      THE WITNESS: Sure.                                                     16 one walkie-talkie to another walkie-talkie, correct?
17      THE VIDEOGRAPHER: We are off the record at                             17   A Correct.
18 10:22 a.m.                                                                  18   Q What if I just had, you know, two cups on a
19      (Recess.)                                                              19 string and I used that to communicate with George,
20      THE VIDEOGRAPHER: We are on the record at                  10:30:10 20 who is right by me, is that on a data network?            10:33:25
21 10:30 a.m.                                                                  21      MR. KAPLAN: Object to form.
22 BY MR. PAK:                                                                 22      THE WITNESS: That's a bit of an extreme
23   Q Dr. K., I want to explore a couple more                                 23 example, but if your voice carried over the string
24 examples regarding local area networks.                                     24 and the string was carefully selected and there was
25   A Okay. Before we get started, before you ask          10:30:25      25 no background noise, yeah, it's data. Your data is             10:33:46
                                                                  Page 58                                                                         Page 60

 1 your question, I -- as I was walking upstairs, I                             1 getting across to somebody else to another device.
 2 thought of an example, if I could amend my previous                          2 Not a very sophisticated one, but yes.
 3 answer.                                                                      3 BY MR. PAK:
 4      An example of analog communication over                                 4   Q So as long as two devices or two nodes carry
 5 satellites is of course the obvious one, broadcast      10:30:38             5 data, that's going to be on a data network, in your      10:34:02
 6 television. Early days of broadcast television was                           6 opinion?
 7 analog signals being sent over satellite. That's an                          7   A Yes.
 8 obvious one. Okay.                                                           8      MR. PAK: Okay. I'm going to introduce
 9    Q Does a cell phone communicate with a                                    9 Exhibit 4. I actually uploaded it on the break and
10 Bluetooth headset amount to a coupling by way of           10:31:07         10 marked it as Exhibit 4. Just let me know when you          10:34:27
11 local area network?                                                         11 see it.
12    A Yes.                                                                   12      THE WITNESS: I see it.
13    Q Wasn't Bluetooth a type of personal area                               13      (Exhibit 4 was marked for identification
14 network?                                                                    14   electronically and is attached hereto.)
15    A Again, these definitions are kind of            10:31:26               15 BY MR. PAK:                                   10:34:45
16 arbitrary in the sense that there is no hard line of                        16   Q Do you recognize this document?
17 distance that goes from one to the other. It's a                            17   A Yes.
18 small local area network, but if I have a speaker 20                        18   Q This is your -- this is one of your
19 feet away from me communicating by Bluetooth, then                          19 publications; is that right?
20 maybe that could be a local area network. It's not      10:31:46            20   A That's right.                           10:34:51
21 a hard definition.                                                          21   Q And the title says, "RMI System: Internet
22    Q Does local area network cover a broader                                22 Meets the Future Home Theater," right?
23 geographical area than a personal area network?                             23   A Correct.
24    A By consensus of people in the field thinking                           24   Q At a high level, what is this publication
25 of it that way. It's not something technical that      10:32:07             25 about?                                10:35:07
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 1   A This describes a set of experiments that                             1      concurrently."
 2 actually relates to the Internet2 discussion that we                     2      Then the last sentence on that page says:
 3 had earlier. RMI stands for Remote Media Immersion.                      3          "Each cluster node is attached to
 4 And for several years there was -- I was a faculty                       4      a local network switch with a fast or
 5 investigator and then eventually a deputy director     10:35:30          5      Gigabit Ethernet link. The nodes          10:38:41
 6 of the National Science Foundation Engineering                           6      communicate with each other and send
 7 Research Center that was established at USC, and                         7      the media data via these network
 8 this was one of the kind of capstone experiments                         8      connections. We connected the local
 9 that we did to push the limits of multimedia at the                      9      switch to both a wide area network
10 time. This was in the late 1990s.               10:35:47                10      backbone to serve distant clients and      10:38:51
11      And so this paper talks about what                                 11      a local area network, LAN, environment
12 technologies would you -- would one need and how                        12      with local clients."
13 would we use them to deliver what appears like high                     13      Do you see that?
14 quality representation of reality to somebody that                      14 A I do.
15 is far away.                             10:36:06                       15 Q So looking at Figure 1, what are the cluster 10:39:05
16   Q What was your contribution with respect to                          16 nodes?
17 this paper?                                                             17 A What are in terms of --
18   A So several parts. It was the algorithms for                         18 Q What are the cluster nodes with respect to
19 capturing audio on one end. Algorithms for                              19 Figure 1? Can you point to them or show me -- tell
20 delivering it on the other end. Those were, I would 10:36:32            20 me --                                 10:39:28
21 say, individual contributions.                                          21 A It's the ones that are labeled Node 0,
22      And then there were collaborative                                  22 Node 1, Node 2, Node N. It was scalable.
23 contributions in working with the researchers and                       23 Q What is a node?
24 computer networks to develop methods together that                      24 A A node is I think a network -- people speak
25 met the requirements of multichannel audio,            10:36:48         25 for a connection of a device to the point of     10:39:53
                                                                 Page 62                                                        Page 64

 1 immersive audio, that were very different from the              1 connection between a device like a computer or
 2 requirements of sending faxes and e-mails in terms              2 server to the network.
 3 of quality of service, forward error correction, and            3 Q And a local switch described in your
 4 other things like that.                                         4 publication is the Ethernet switch shown in
 5 Q Okay. And I want to look at PDF page 4,             10:37:12 5 Figure 1; is that right?                      10:40:10
 6 Figure 1.                                                       6 A Right.
 7      Do you see that?                                           7 Q And the internet showing here in Figure 1
 8 A Yes.                                                          8 represents the wide area network backbone described
 9 Q Did you design this architecture shown in                     9 in your publication; is that right?
10 Figure 1?                               10:37:29               10 A Correct.                                10:40:22
11 A This architecture is -- this is all                          11 Q Does Figure 1 also depict a local area
12 off-the-shelf equipment. It's computers and hard               12 network environment with local clients?
13 disks and Ethernet switch and computers at the other           13 A Well, the personal computers shown there are
14 side. So this was not -- we discussed how to put               14 on a local area network. The ones where the nodes
15 them together and all agreed that this is how we      10:37:58 15 were indicated.                            10:40:45
16 would need to do it in order to achieve our goal.              16 Q So the nodes here represent personal
17 But the individual pieces are off-the-shelf                    17 computers; is that right?
18 components.                                                    18 A I think node is a term which -- it's the
19 Q Okay. And, you know, I want to take a look                   19 device -- nodes to me represent connections, the
20 at the bottom of page -- PDF page 3 here, the last 10:38:12 20 connection points. They happen to be parts of a          10:41:11
21 paragraph. It says:                                            21 computer, an interface that the computer has to
22         "Figure 1 (next page) shows the                        22 create that node.
23      server cluster architecture, which can                    23      So I wouldn't -- the computer itself is not
24      harness the resources of many nodes                       24 the node. I think the fact that it has a connection
25      and many disk drives per node               10:38:26      25 at that point makes -- creates a node as kind of an 10:41:31
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 1 entryway to that network.                                          1 shown in Figure 1 transmit data packets over a wide
 2 Q I want to take a look at the bottom                              2 area network; is that correct?
 3 paragraph, the left column of PDF page 4. The last                 3 A Well, they first go over a local area network
 4 sentence says:                                                     4 into the switch, and then the switch multiplexes
 5         "VBR streams enhance the                  10:41:54         5 them all together and puts them onto the line that 10:44:55
 6      rendering quality, but they generate                          6 goes to the wide area network, as shown at the top
 7      bursty traffic on a packet-switched                           7 through fast Ethernet or Gigabit Ethernet.
 8      network such as the Internet. In                              8 Q Sure. So let me correct that here.
 9      turn, this can easily lead to packet                          9      So nodes communicate with the Ethernet switch
10      loss due to congestion."                  10:42:04           10 over a local area network, correct?                10:45:09
11      Do you see that?                                             11 A Correct.
12 A Yes.                                                            12 Q And these nodes send data packets to the
13 Q Your publication here teaches that the                          13 internet switch; is that correct?
14 Internet is a packet network, correct?                            14 A Yes. In this architecture, yes.
15 A Yes.                                    10:42:14                15 Q And in this architecture, the Ethernet switch 10:45:21
16 Q Looking at the last sentence of the next                        16 connects to the -- or communicates over the internet
17 paragraph, it says:                                               17 and sends data packets over the internet; is that
18         "To avoid traffic bottlenecks,                            18 correct?
19      each node transmits the data blocks                          19 A Right. Where it says "internet backbone
20      that it holds directly to the clients       10:42:29         20 routers," those are -- exist -- there's a connection 10:45:39
21      via RTP. Hence, each client will                             21 in USC's IT building and that's -- so if we went
22      receive RTP data packets from each                           22 from there to that router, then that router then has
23      server node within the cluster."                             23 a direct line to the wide area internet. In this
24      Do you see that?                                             24 case, it was Internet2. Not the general internet,
25 A I do.                                  10:42:41                 25 but a similar type of network.                   10:45:58
                                                           Page 66                                                             Page 68

 1 Q What is RTP?                                                 1 Q Okay. I want to introduce Exhibit 5 here.
 2 A I think it's retransmission protocol. It's a                 2 Give me one second.
 3 type of protocol that enables error correction. In             3      Okay, I just uploaded Exhibit 5 and marked it
 4 case there are lost packets, they are re-requested             4 as Exhibit 5. Let me know when you see it.
 5 before they're stitched back together to avoid       10:43:00 5 A I see it.                             10:46:21
 6 dropouts.                                                      6      (Exhibit 5 was marked for identification
 7      This was one of the big things we had to                  7 electronically and is attached hereto.)
 8 worry about. You don't want audio dropouts. It                 8 BY MR. PAK:
 9 does not make for a high-quality experience.                   9 Q Do you recognize this document?
10 Q Is RTP a type of internet protocol?              10:43:12   10 A Yes. It's one of my patents.                 10:46:33
11 A No. I would say UDP is an internet protocol,                11 Q So you're a co-inventor of this patent,
12 User Datagram Protocol, UDP is a type of internet             12 correct?
13 protocol. And you can enable, if you will, or                 13 A Yes.
14 include in it a method like RTP that provides for             14 Q And the patent number is 8,705,764, right?
15 the ability to correct errors that happen because of 10:43:43 15 A Yes.                                 10:46:47
16 lost packets.                                                 16 Q At a high level, what does this patent
17 Q Does UDP require data to be transmitted or                  17 generally disclose?
18 received in the form of data packets?                         18      MR. KAPLAN: Object to form.
19 A Yes.                                                        19      THE WITNESS: We were trying to solve a
20 Q So does RTP, right?                         10:43:59        20 problem that happens when you take audio -- you         10:47:05
21 A RTP is -- it's not a transmission -- it's not               21 start with analog audio and then you digitize it
22 the same. Yes, RTP operates on packets to figure --           22 into a high quality digital form. And then in order
23 and requests retransmission of ones that are missing          23 to store it perhaps on a portable device, one of
24 based on what it was expecting, in simple terms.              24 many different data compression algorithms are used.
25 Q Okay. So looking at Figure 1, the nodes            10:44:26 25 MPEG being the most popular, but there are others 10:47:30
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 1 like AAC.                                                                 1 protocols.
 2      The result of that compression is that the                           2      To be clear, the patent is really not about
 3 higher frequencies of sound that were in the                              3 connecting -- it's just saying that the modules that
 4 original tend to be discarded in the name of                              4 we're discussing here that are going to do advanced
 5 bandwidth savings. And so this patent teaches a         10:47:44          5 audio processing don't necessarily have to be in one 10:51:30
 6 method to recreate the lost high frequencies using                        6 device, they can be spread out, distributed. That
 7 information that is in the lower frequencies that                         7 was the point of that paragraph.
 8 did not get discarded.                                                    8 BY MR. PAK:
 9 BY MR. PAK:                                                               9    Q What is the OSI protocol?
10    Q I want to focus on Column 11. It's on PDF         10:48:04          10    A It's a -- the best way to describe it, it's    10:51:48
11 page 21, lines -- lines 55 to 60. It's the last                          11 an attempt at abstracting the individual layers that
12 sentence before the last paragraph.                                      12 are required in a network system all the way from
13      Could you please read those lines for me for                        13 the hardware layer to the firmware to the software
14 the record.                                                              14 that needs to run on top of it, to the physical
15    A Is this the "Various embodiments" paragraph?        10:48:25        15 connections, in a way that provides a more uniform            10:52:16
16    Q The sentence right above it.                                        16 way for people that are trying to send data over
17    A "The connectivity between the modules"? That                        17 these kinds of networks without having to know
18 one?                                                                     18 exactly what type of device was there.
19    Q Yes, that one.                                                      19      So it moves it up to be a more abstract
20    A Okay.                                                               20 representation of the interface of the network. I       10:52:34
21          "The connectivity between the                                   21 believe there are seven layers in it that -- in that
22      modules and/or components within the                                22 stack.
23      modules may be provided using any one                               23    Q Does the data that is transmitted using the
24      of the connectivity methods and media                               24 OSI protocol require data packets, data transmitted
25      that is known in the art, including,         10:48:52               25 in the form of data packets?                       10:53:01
                                                                  Page 70                                                                        Page 72

 1      but not limited to, communications                                   1    A Yes, it's a packet-based system.
 2      over the internet, wired or wireless                                 2    Q Okay. I want to look at Column 9, lines 20
 3      networks using the appropriate                                       3 to 24 of your patent. And I'm just paraphrasing
 4      protocols."                                                          4 here, but it says that the output is characterized
 5    Q So it talks about communications over the         10:49:01           5 by a transfer function.                       10:53:27
 6 internet using the appropriate protocols. What are                        6      Do you see that?
 7 the appropriate protocols communicated over the                           7    A I do.
 8 internet?                                                                 8    Q What does the term "characterize" mean?
 9    A It's been a little while since I've seen                             9    A In this context it means that -- so we're
10 this, so just give me a second to take a look and     10:49:18           10 talking about a system. A system has inputs and           10:53:43
11 put it in context.                                                       11 outputs. And typically when you do system analysis,
12    Q Sure. Go ahead, take your time.                                     12 you want to find a way to describe the output in
13    A Yeah. Okay. It's all coming back.                                   13 terms of the input signal.
14    Q Okay. So let me re-ask the question here.                           14      And so the transfer function in this context
15      What are the appropriate protocols to          10:50:17             15 says that if I have -- if I know what the amplitude      10:53:58
16 communicate over the internet?                                           16 level was to this box and I know what the transfer
17    A It's what we talked about before. If it's                           17 function is, then I can tell you what the output is.
18 the internet as we have it today, it's TCPIP or                          18    Q Do you know any words or phrases that are
19 peer-to-peer or UDP, as we just saw.                                     19 synonymous with the term "characterize"?
20    Q Are there any other protocols?                10:50:39              20      MR. KAPLAN: Object to form.                       10:54:17
21      MR. KAPLAN: Object to form.                                         21      THE WITNESS: I'm trying to think of it in
22      THE WITNESS: There are others. There's --                           22 this context, and not just generally.
23 let's see. OSI is another one, Open System                               23      What it really means here is mathematically
24 Interfaces. There are probably others I'm not                            24 described. Because we're talking about this
25 remembering. There are a number of these internet        10:51:11    25 equation here. That would be the closest I can               10:54:41
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 1 think of.                                                               1 Q Okay. Let me try to introduce another
 2 BY MR. PAK:                                                             2 exhibit here.
 3   Q Can you think of any other words or phrases                         3      I just uploaded a new exhibit and marked it
 4 that are synonymous with "characterize"?                                4 as Exhibit 6. Let me know when you see it.
 5   A Not off the top of my head, no.               10:54:53              5 A I see it.                            10:58:25
 6   Q But "describe" would be one of the terms that                       6      (Exhibit 6 was marked for identification
 7 is synonymous with "characterize," right?                               7 electronically and is attached hereto.)
 8      MR. KAPLAN: Object to form.                                        8 BY MR. PAK:
 9      THE WITNESS: Yeah, but I don't want to -- in                       9 Q Do you recognize this document?
10 math we say mathematically described, so I would be       10:55:11     10 A Yes, it is another one of my publications.         10:58:35
11 more comfortable keeping it that way.                                  11 Q The title of the publication is "High Quality
12 BY MR. PAK:                                                            12 Multichannel Audio Over the Internet," right?
13   Q What about defined?                                                13 A Yes.
14      MR. KAPLAN: Object to form.                                       14 Q What was your contribution to this
15      THE WITNESS: Defined has a different meaning 10:55:24             15 publication?                             10:58:51
16 to me. A definition in math or applied math means                      16 A These are two students in the center. One of
17 that you're making some assumptions and defining                       17 them was in my group and the other one was in the
18 them. But that's not what is happening here.                           18 networking group. And this was a paper that --
19      This is a -- an equation that has certain                         19 similar to the previous one, it was trying to figure
20 elements. And so the system is characterized by        10:55:47        20 out ways to transmit high quality audio over the       10:59:09
21 this transfer function. So I think describe                            21 internet.
22 mathematically is more accurate.                                       22      And the reason that it was an interesting
23 BY MR. PAK:                                                            23 topic was that it was really not possible to
24   Q What if I say -- what if we change "the                            24 transmit high quality audio over the internet, at
25 output is characterized by a transfer function" to    10:56:04         25 least not in the early days. And so this paper       10:59:23
                                                                Page 74                                                           Page 76

 1 "the output is represented by a transfer function,"              1 shows some ways of doing that.
 2 would that be accurate?                                          2 Q Let's take a look at the abstract. The
 3       MR. KAPLAN: Object to form.                                3 second sentence here says:
 4       THE WITNESS: I don't think so because                      4          "We present a robust scalable
 5 "represented" to me means it's not the thing, but      10:56:23 5        architecture for delivering           10:59:44
 6 it's being represented by something else. And                    6       uncompressed multichannel audio over
 7 that's not technically correct here. This H                      7       high bandwidth ATM networks."
 8 function is the function.                                        8       Do you see that?
 9 BY MR. PAK:                                                      9 A I do.
10 Q What if you say "the output indicates a            10:56:42 10 Q Is an ATM network a type of data network?             10:59:54
11 transfer function," would that be incorrect?                    11 A Yes.
12 A No. That would be something completely                        12 Q Is that because an ATM network carries data?
13 different and it would indicate that there might be             13 A Actually, I should revise it.
14 an output or something, but that's not -- this is a             14       ATM network is a -- is a protocol for
15 deterministic system, and so no.                  10:57:00      15 transmitting data over data networks. It stands for 11:00:10
16 Q Well, looking at the equation here, the                       16 Asynchronous Transfer Mode, so it's a method of
17 output Y equals the transfer function times the                 17 transmitting data over networks, over data networks.
18 sinusoid input, S-I-N-U-S-O-I-D.                                18 Q So an ATM network is not an actual network,
19       So the output function here indicates the                 19 it's a protocol; is that right?
20 transfer function and the sinusoid input, right?      10:57:35 20 A Right. There's a -- there's a network           11:00:29
21 A No.                                                           21 architecture that has connectors and switches and
22 Q It provides some kind of indication of it?                    22 things that have to support the ATM protocol in
23 A No, no. This is a way to calculate the                        23 order to have an ATM network of devices.
24 output function. So it is calculated by multiplying             24 Q Okay. Looking at the abstract, it says:
25 the transfer function with the complex sinusoid.       10:57:53 25          "Performance results from our         11:00:52
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 1      implementation on a high-speed local                              1 screens, do this, change that, let's try this
 2      area ATM network are presented that                               2 exercise. And so it's hard to break it up into an
 3      identify the effects of audio packet                              3 individual.
 4      size, buffering, and network latency                              4 BY MR. PAK:
 5      on the quality of multichannel program            11:01:05        5 Q Yeah, understood.                           11:04:04
 6      material."                                                        6      So how about maybe -- let's take a look at
 7      Do you see that?                                                  7 the last page, PDF page 6, and there's an
 8    A I do.                                                             8 acknowledgment section. It says:
 9    Q So is a high-speed local area ATM network a                       9          "The authors would like to thank
10 network protocol or a data network?                 11:01:16          10      Dr. Sherali Zeadally" --                 11:04:18
11    A No. This is -- this sentence is kind of                          11      I might be botching that name.
12 conflating to me. It's a local area network running                   12 A No, that's all right.
13 the ATM protocol for purposes of this experiment.                     13 Q So let me read it again.
14    Q Got it.                                                          14          "The authors would like to thank
15    A So it requires different hardware. A TCP           11:01:32      15      Dr. Sherali Zeadally for his work in         11:04:30
16 local area network would require a different                          16      its design and implementation of the
17 hardware than an ATM protocol local network.                          17      ATM network."
18 Sometimes they can be in the same box, but usually                    18      Do you see that?
19 it's different.                                                       19 A I do.
20    Q So your publication here is talking about a        11:01:48      20 Q So Dr. Zeadally is the one who actually            11:04:39
21 local area network that uses the ATM protocol; is                     21 designed and implemented the local area network that
22 that correct?                                                         22 uses the ATM network described in this publication,
23    A Right.                                                           23 correct?
24    Q Did you design and implement the local area                      24 A Well, so he was a collaborator on this. The
25 network that uses this ATM network described in this 11:02:04         25 second author in the paper was a joint student, so 11:04:54
                                                           Page 78                                                                          Page 80

 1 publication?                                                           1 he was -- Mr. Zhu was Dr. Zeadally's student.
 2    A If you look in Figure 1 of the next page,                         2 Dr. Zeadally's lab was doing experiments with ATM
 3 this is a similar simpler diagram than -- compared                     3 networks, and they had the infrastructure that we
 4 to the one that we saw before with the RMI network.                    4 were looking for in terms of switches and the right
 5      So we designed this architecture or this set      11:02:28        5 cables and so on.                            11:05:17
 6 of components that are all off-the-shelf audio                         6      So I think this is kind of -- because he
 7 parts, and you can see the ATM adapter inside the                      7 wasn't part of this particular experiment, he is not
 8 computer that allows you to put out onto the network                   8 a co-author, but we used his lab where he had kind
 9 data that follows the ATM protocol. And then                           9 of a tabletop network for us to experiment with
10 there's the playback application on the top.           11:02:54       10 these protocols.                           11:05:34
11      So, yeah, we designed this architecture, but                     11   Q Okay. I want to take a look at PDF page 3.
12 it consists of computers and switches and wires that                  12 And there's a header 3 that says, "Experimental
13 are off the shelf and software that we put inside it                  13 Results".
14 to do what we -- to run this experiment.                              14   A Yes.
15    Q And when you say that "we designed," are you          11:03:09   15   Q Could you read the first two sentences under           11:05:51
16 saying that you designed the network described in                     16 that header?
17 Figure 1, for example?                                                17   A Yes.
18      MR. KAPLAN: Object to the form.                                  18         "In order to assess the effects
19      THE WITNESS: The way collaborative papers                        19      of packet size and buffer size on the
20 work is this is a group, you know, we have group          11:03:31    20      quality of the audio streams                11:06:01
21 meetings. We designed the experiment and then have                    21      transmitted through the network, as
22 regular kind of intervals of meeting and discussing.                  22      well as on the delay introduced by the
23      So if you're asking who designed each                            23      system, we performed a series of
24 individual part, it's hard to say because we had                      24      tests."
25 joint code sessions where we all sat in front of the 11:03:53       25        The next one as well?                      11:06:13
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 1    Q You know, that's fine.                                               1 Science Foundation.
 2    A Okay.                                                                2       It's related to an experiment that we did
 3    Q So this publication discloses a system                               3 with the New World Symphony based in Miami. And it
 4 architecture in which data packets are transmitted                        4 was similar to the RMI experiment trying to --
 5 over a local area network that uses the ATM              11:06:25         5 trying to deliver high-quality performance that is 11:09:57
 6 protocol; is that correct?                                                6 convincing you to feel like you're in the concert
 7    A Well, this publication was not intended to                           7 hall with them, even though you are 3,000 to 4,000
 8 disclose the architecture. It was more intended to                        8 miles away.
 9 use the architecture to experiment with what needs                        9       We actually demonstrated this live to an
10 to be changed or fixed or, you know, what matters in 11:06:39            10 audience of several hundred people. It was the          11:10:10
11 high-quality audio transmission over a network that                      11 first time that it had ever been done at that scale.
12 has the bandwidth and the architecture that could                        12 BY MR. PAK:
13 enable it. We just didn't know what the right                            13 Q This publication talks about HYDRA. It's
14 architecture was for transmitting audio in terms of                      14 abbreviation for high resolution live streaming.
15 the buffer size and packet sizes, and so on.          11:06:56           15 What is HYDRA?                                  11:10:26
16      So it was more of an experimental paper that                        16 A So HYDRA was -- Professor Zimmerman that you
17 uses a network architecture based on the ATM system                      17 see there at the top, his laboratory and his
18 that was kind of local to us there so we could                           18 research group was experimenting with using similar
19 change things in it.                                                     19 things that we talked about before using the UDP
20    Q All right. So the publication describes a        11:07:09           20 protocol with error correction to deliver            11:10:52
21 local area network that uses the ATM protocol to                         21 high-quality content and overcome the problems that
22 transmit data packets, right?                                            22 normally arise with traditional ways of doing that,
23      MR. KAPLAN: Object to form.                                         23 for example, TCP, which were not designed for
24      THE WITNESS: The publication describes an                           24 streaming media. They were designed for offline --
25 experiment that was conducted on the system we just         11:07:24     25 it's okay if you can wait a second before you get       11:11:13
                                                                  Page 82                                                                   Page 84

 1 described.                                                                1 your e-mail, but you can't wait to get the next
 2 BY MR. PAK:                                                               2 audio packet, right? So that's what HYDRA is. It
 3    Q Can you send data over a local area network                          3 was trying to do that.
 4 using the ATM protocol in the form of data that is                        4   Q Okay. And I want to take a look at the
 5 not a data packet?                           11:07:51                     5 second section, the Statement of Project Goals. And 11:11:27
 6    A No. The ATM protocol is a packet-based                               6 in the middle of that section, the publication says:
 7 protocol.                                                                 7         "This project focuses on the
 8    Q Okay. I want to introduce another exhibit                            8      design of a system that enables HD
 9 here, so just give me a minute.                                           9      quality video and multiple channels of
10      Okay. I just introduced Exhibit 7. Let me        11:08:45           10      audio to be streamed across an               11:11:43
11 know when you see it.                                                    11      IP-based network with commodity
12    A I see it.                                                           12      equipment."
13      (Exhibit 7 was marked for identification                            13      Do you see that?
14    electronically and is attached hereto.)                               14   A Sorry. The middle section -- I missed where
15 BY MR. PAK:                                   11:08:51                   15 you pointed.                             11:11:52
16    Q Do you recognize this document?                                     16   Q Yeah. So in the middle of Section 2,
17    A Yes.                                                                17 Statement of Project Goals --
18    Q At a high level, what does this publication                         18   A Oh, yes. I see it.
19 describe?                                                                19   Q Okay. What is an IP-based network as
20      MR. KAPLAN: Object to form.                      11:08:58           20 described in this publication?                 11:12:06
21      THE WITNESS: I don't know if this was an                            21   A It's an internet protocol based network,
22 actual publication. This was more of an internal --                      22 which is kind of a very common type of protocol for
23 more kind of like a white paper. I don't remember                        23 transmitting data over the internet.
24 the origin of it. It could be part of a report that                      24   Q Okay. And the second page here, Section 4,
25 was presented to the annual review by the National         11:09:14    25 the second to last paragraph -- second sentence --       11:12:30
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 1 second to last sentence in the first paragraph, it               1 Q This is another one of your publications,
 2 says:                                                            2 correct?
 3         "The transmission subsystem uses                         3 A Yes.
 4      the Realtime Transport Protocol, RTP,                       4 Q What does this publication describe?
 5      on top of the Universal Datagram              11:12:45      5      MR. KAPLAN: Object to form.                    11:15:51
 6      Protocol, UDP."                                             6      THE WITNESS: This is another one of the same
 7      Do you see that?                                            7 kind of sequence of experiments we've been
 8 A Yes.                                                           8 discussing, which is high fidelity picture and sound
 9 Q So this publication is talking about an                        9 transmitted in a synchronized way over the Internet2
10 IP-based network that uses UDP; is that right?         11:12:55 10 in this case. This particular one was trying to     11:16:08
11 A That's right. Those are subsets of an                         11 understand what happens when you have an interactive
12 IP-type network, just as TCP is.                                12 section.
13 Q I want to take a look at the system                           13      So it's one way to stream in one direction to
14 architecture shown on Figure 1 of that page.                    14 an audience far away. It's another way when you
15 A Yes.                                  11:13:14                15 need to have two-way communication. Because in this 11:16:27
16 Q Do you see the stream transmitter/receiver in                 16 example, we had two musicians and they are supposed
17 the figure?                                                     17 to play a piano piece together, each on their own
18 A Yes.                                                          18 piano. And musicians require, of course, very
19 Q What does the stream transmitter/receiver do?                 19 accurate timing between them in order to perform.
20 A That's -- that's a piece of software that's 11:13:25          20      So by adjusting -- artificially adjusting the 11:16:44
21 kind of like the core of the HYDRA system. It takes             21 delay between the two of them is what -- how they
22 in multiple channels of microphones in this example             22 would hear the other side. And we were looking for
23 of a live recording, multiple cameras, and kind of              23 what the limits are of human performance over
24 packages them together to send over the network by              24 networks.
25 paying attention to things that we talked about       11:14:03 25 ////
                                                           Page 86                                                             Page 88

 1 before, error correction and other things.                     1 BY MR. PAK:
 2 Q What is the form of data that is transmitted                 2 Q I want to take a look at the first paragraph
 3 or received over the IP-based network disclosed in             3 on the right column of page 1. After the first
 4 this system architecture?                                      4 sentence, it says:
 5 A Well, it's what it says on the line above RTP 11:14:19 5               "Network latency is an
 6 over UDP.                                                      6      unavoidable fact of interaction
 7 Q Right. So this system architecture is                        7      environments over the Internet."
 8 designed to transmit or receive data packets, right?           8      Do you see that?
 9 A Well, it's using an existing network that is                 9 A Yes.
10 based on data packets.                      11:14:38          10 Q What is network latency?                      11:17:22
11      So we had to take the data that is coming in             11 A It's the amount of time it takes for
12 in different forms, audio and video, and convert it           12 information that was sent from one side of the
13 to match what the network expects, in this case,              13 network and how long it takes to be received at the
14 data packets.                                                 14 other side. It is not instantaneous and it depends
15 Q Okay. I want to introduce another exhibit          11:14:53 15 on distance usually. That's what we call latency. 11:17:39
16 here. Just give me one minute.                                16 Q Why is network latency an unavoidable fact of
17      Okay, I just uploaded a new exhibit and                  17 the interaction environments over the internet?
18 marked it as Exhibit 8.                                       18 A Because of the protocols that are in place
19      (Exhibit 8 was marked for identification                 19 that have been created to ensure, for example, that
20 electronically and is attached hereto.)          11:15:27     20 data isn't lost. Sometimes that takes longer to     11:18:04
21 BY MR. PAK:                                                   21 make sure that it's all collected before it's
22 Q Let me know when you see it.                                22 presented to the other side. That's one reason.
23 A I see it.                                                   23      The other reason is every time you go -- it's
24 Q Do you recognize this document?                             24 not a direct connection between two distant places.
25 A Yes.                                 11:15:39               25 You go through switches on the network. And so          11:18:22
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 1 switches also, as they pass the data through,                               1      In this case, because this was an Internet2
 2 introduce delay in order again to avoid -- because                          2 experiment, we had to convert it to the UDP style --
 3 they're doing something to make sure not to lose                            3 the IP-type packet based form so that we could use
 4 anything. So the connection of all these boxes                              4 that network.
 5 introduces some delay.                        11:18:37                      5      And then the opposite procedure happens at        11:21:23
 6      It's not that dissimilar from an analog                                6 the other end. We can't experience packets. We can
 7 network over long distances. Audio doesn't travel                           7 experience picture and sound. So we have to convert
 8 at the speed of light. The longer the cable is --                           8 it back.
 9 it has to be pretty long, but you see delays in                             9 Q So once data is converted from analog to
10 analog circuits as well.                     11:18:53                      10 digital and sent over the internet, that data has to 11:21:35
11 Q When you say "switches" on a network, are you                            11 take the form of packets; is that right?
12 talking about packetized -- packet-based network                           12 A If we're going to use an internet -- existing
13 switches?                                                                  13 internet infrastructure, yes.
14 A In this case we're talking about the                                     14 Q Okay. I want to take a look at Figure 1
15 internet, so that is a packet-based system, yes.     11:19:06              15 shown on PDF page 2.                            11:22:02
16 Q Okay. And the bottom of PDF page 1 under                                 16 A Okay.
17 subsection "Low Latency Audio," it says:                                   17 Q And the top of Figure 1 says:
18          "The challenges in transmitting                                   18          "Data sources produce packetized
19      audio over the internet are packet                                    19      realtime data streams."
20      loss and fluctuations in transmission        11:19:24                 20      Do you see that?                       11:22:16
21      time."                                                                21 A Yes.
22      So, you know, is packet loss, you know,                               22 Q What are the data sources in Figure 1?
23 inevitable in a system that communicates over the                          23 A All kinds of multimedia capturing devices.
24 internet?                                                                  24 Camera, microphones -- cameras, microphones, in this
25      MR. KAPLAN: Object to form.                    11:19:42               25 case haptic sensors.                        11:22:38
                                                                    Page 90                                                                       Page 92

 1      THE WITNESS: Inevitable? There are ways to                             1   Q So data from these data sources are
 2 mitigate it, and trade-offs. So you could make it                           2 first converted to digital form, right, and then
 3 not happen at all. If you were okay incurring more                          3 sent in packets over the internet; is that correct?
 4 latency, just wait longer for everything to arrive.                         4      MR. KAPLAN: Object to form.
 5 But that's the trade-off. So in a realtime system      11:19:59             5      THE WITNESS: Yes. Yes. That's what those             11:23:08
 6 where you don't have the luxury of waiting, they are                        6 little rectangles are trying to indicate, that data
 7 inevitable in that sense, yes.                                              7 has been packetized in realtime using RTP, as it
 8 BY MR. PAK:                                                                 8 says there.
 9    Q Okay. But when we talk about devices that                              9 BY MR. PAK:
10 communicate over the internet, we're talking about        11:20:20         10   Q Okay. You know, I'm going to start                11:23:26
11 devices that send or receive data in the form of                           11 transitioning over to discussing your declaration.
12 data packets, right?                                                       12 So why don't we take a ten-minute break.
13    A Well, in that diagram, the two end devices,                           13      Is that okay?
14 the one at Diagram 1 we were talking about, is                             14   A Sure.
15 that -- I'm sorry. That was in the previous           11:20:38             15      THE VIDEOGRAPHER: Off the record at                   11:23:34
16 example? Yes, it was. Let's see if it's here as                            16 11:23 a.m.
17 well.                                                                      17      (Recess.)
18      The devices that connect to the internet,                             18      THE VIDEOGRAPHER: We are on the record at
19 let's say the computer that connects to the internet                       19 11:36 a.m.
20 on the sending side takes in analog data from the        11:20:53          20 BY MR. PAK:                                   11:36:18
21 real world, converts it first to digital, and then                         21   Q Dr. K., you submitted a declaration on
22 it has to convert it to a form -- you know, if we're                       22 June 1, 2021, for this matter between Sonos and
23 doing this experiment over a different kind of                             23 Google, correct?
24 network, we'd have to convert to whatever that                             24   A Correct.
25 network expected.                            11:21:11                      25   Q You were retained as an expert to offer           11:36:35
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 1 opinions on claim construction related to the                              1 observation purposes.
 2 asserted patents in this case, right?                                      2 BY MR. PAK:
 3 A Yes.                                                                     3 Q Did you consider any other material to
 4 Q When were you contacted to offer your                                    4 prepare your declaration?
 5 opinions for claim construction related to the      11:36:46               5 A Other than what I mentioned, no.                  11:39:51
 6 asserted patents?                                                          6 Q All right. I'd like to introduce your
 7      MR. KAPLAN: Object to form.                                           7 declaration here now as Exhibit 9. I marked it as
 8      THE WITNESS: Specific to claim construction,                          8 Exhibit 9 and uploaded it. So just let me know when
 9 the discussions probably started a month ago, I'm                          9 you see it.
10 guessing.                              11:37:01                           10 A I see it. I just wanted to ask you a            11:40:36
11 BY MR. PAK:                                                               11 question. I have a clean copy of the -- from the 28
12 Q So you were -- were you first contacted to                              12 pages of the part that I wrote on my desk.
13 offer opinions on claim construction in May; is that                      13 Sometimes it's easier to go to a page that way than
14 correct?                                                                  14 it is -- if that's okay with you, I have it right
15      MR. KAPLAN: Object to form.                  11:37:13                15 here. It's not marked. It's just a clean printout. 11:40:49
16      THE WITNESS: Again, I don't have the dates                           16       (Exhibit 9 was marked for identification
17 in my head. It was after I was retained for the                           17 electronically and is attached hereto.)
18 case, obviously, but sounds about right. It could                         18 BY MR. PAK:
19 have been in April.                                                       19 Q Yeah, that's okay.
20 BY MR. PAK:                                 11:37:26                      20       Can you look at the last page of your         11:40:53
21 Q Okay. Were you informed of what each party's                            21 declaration or PDF page 28 of Exhibit 9.
22 construction was at the time?                                             22 A Yes.
23 A At the time -- I was eventually, but not at                             23 Q Is that your signature?
24 the time, no.                                                             24 A It's my electronic signature, yes.
25 Q What did you do to prepare for your              11:37:45               25 Q I forgot to ask you, is this a true and          11:41:17
                                                                   Page 94                                                                       Page 96

 1 declaration?                                                               1 correct -- true and accurate copy of your
 2   A I read the patents. I read through the                                 2 declaration submitted June 1, 2021?
 3 patent office -- office actions. Some of the prior                         3   A Yes, it is.
 4 art. That's basically it. And then used knowledge,                         4   Q Okay. And the opinions set forth in this
 5 my experience in the field to help form my opinions. 11:38:12              5 declaration are yours, correct?                  11:41:32
 6   Q Did you consider the cited references in                               6   A Yes.
 7 the -- did you consider the cited references in the                        7   Q To date, this is the only declaration that
 8 office actions?                                                            8 you submitted in this case, correct?
 9   A Oh, the office actions.                                                9   A That's right.
10      I'm trying to remember. I read through a lot 11:38:36                10   Q Your declaration is as accurate and complete        11:41:42
11 of documents. I don't know if that -- for sure. I                         11 as you could reasonably make it, correct?
12 tried to be as complete as possible. I don't know                         12   A Yes. There's a minor copy and paste problem
13 if I did or not. Probably.                                                13 that happened that I saw last night, but other than
14   Q Do you understand that Sonos's experts,                               14 that, yes.
15 Dr. Almeroth and Dr. Schmidt, submitted declarations 11:38:59             15   Q Okay. And where is that copy and paste             11:42:02
16 on claim construction in this case?                                       16 error?
17   A Yes.                                                                  17   A It's on page 13. Claim terms. Part A is
18   Q Did you read Dr. Almeroth's declaration?                              18 zone configuration and part B should be just group
19   A I did.                                                                19 configuration. But initially I had them both
20   Q Did you read Dr. Schmidt's declaration?            11:39:14           20 together in one table and then I split it up. So B    11:42:26
21   A I believe I did.                                                      21 should be just group. That's it.
22      MR. PAK: And, you know, just for the record,                         22   Q Is that the only error you see in your
23 I just noted Dr. Schmidt is actually on this Zoom                         23 declaration?
24 call. So I just wanted to point that out. I think                         24   A That's all I saw, yes.
25 he joined a little bit late, but he is just here for 11:39:37             25   Q So let's walk through your declaration.           11:42:42
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 1      Section 2, paragraphs 8 through 13, sets                            1 this matter, correct?
 2 forth your qualification as an expert, correct?                          2   A Right.
 3   A Yes.                                                                 3   Q Section 7, paragraphs 37 all the way through
 4   Q And Section 3, paragraphs 14 to 22, sets                             4 the end to paragraph 76, sets forth your analysis
 5 forth your understanding of various legal standards      11:43:00        5 regarding some of the parties' disputed claim        11:45:48
 6 related to claim construction; is that fair?                             6 construction terms in this matter, correct?
 7   A That's correct.                                                      7   A Yes.
 8   Q In reaching your opinions set forth in your                          8   Q And specifically paragraphs 37 to 48 provide
 9 declaration, did you apply the legal standards set                       9 your analysis regarding the terms "zone
10 forth in Section 3?                         11:43:16                    10 configuration" and "group configuration," correct?     11:46:02
11   A Yes. To the best of my ability, I did.                              11   A Correct.
12   Q Okay. Section 4, paragraphs 23 to 29, sets                          12   Q Paragraphs 39 through 53 provide your
13 forth your overview of the asserted patents,                            13 analysis regarding the term "local area network,"
14 correct?                                                                14 correct?
15   A Yes.                                11:43:30                        15   A 39?                               11:46:18
16   Q Subsection A -- in subsection A, you provide                        16   Q Go ahead. Sorry. Let me repeat that.
17 an overview of what you call the direct play                            17      Paragraphs 49 through 53 provide your
18 patents, correct?                                                       18 analysis regarding the term "local area network,"
19   A Yes.                                                                19 correct?
20   Q According to subsection A, the direct play         11:43:50         20   A Yes.                              11:46:38
21 patents share a common specification, correct?                          21   Q And paragraphs 54 to 59 provide your analysis
22   A Yes.                                                                22 regarding the term of "media particular playback
23   Q At subsection B you provide an overview of                          23 system," correct?
24 what you call the zone scene patents, correct?                          24   A Yes.
25   A Right.                              11:44:14                        25   Q Paragraph 60 to 73 provide your analysis         11:46:59
                                                                 Page 98                                                                 Page 100

 1   Q According to this section, the zone scene                            1 regarding the term "data network," correct?
 2 patents include the '206, '966, and '855 patents,                        2 A Correct.
 3 correct?                                                                 3 Q And, lastly, paragraphs 74 to 76 provide your
 4   A Yes. I just want to point out these names                            4 analysis regarding the term "wherein the instruction
 5 were provided to me and I believe they were -- these 11:44:31            5 comprises the instruction," correct?           11:47:18
 6 are the Sonos designations. I'm not a hundred                            6 A Right.
 7 percent that's -- the groupings of the patents were                      7 Q So we just walked through your declaration
 8 provided this way.                                                       8 here. Do you have any other changes besides that
 9   Q When I -- if I refer to certain patents as                           9 copy and paste error that you would like to make to
10 direct play patents or zone scene patents, you         11:44:46         10 your declaration?                        11:47:33
11 understand what I mean by those terms?                                  11 A No.
12   A Yes.                                                                12 Q So how about we jump to paragraph 24. It's
13   Q Okay.                                                               13 on page 9 of your declaration.
14   A I do.                                                               14 A Okay.
15   Q According to subsection B, the '206 patent         11:44:52         15 Q Okay. Paragraph 4 -- paragraph 24 says:           11:47:54
16 specification is substantially the same as the '966                     16        "Each of the zone scene patents
17 and the '855 patent specifications, correct?                            17     originated with U.S. provisional
18   A Yes.                                                                18     application number 60/825,407, which
19   Q Okay. Moving on to section 5, paragraphs 30                         19     was filed on September 12, 2006."
20 to 34, those paragraphs set forth your opinions        11:45:14         20     Do you see that?                     11:48:14
21 regarding the level of ordinary skill in the art,                       21 A Yes.
22 correct?                                                                22 Q Now, let's take a look at paragraph 28 on the
23   A Correct.                                                            23 next page.
24   Q Then Section 6, paragraphs 35 and 36, sets                          24 A I see it.
25 forth your understanding of the asserted claims in      11:45:28        25 Q Actually, if you go to the bottom of page 11, 11:48:33
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 1 it says:                                                                   1 Q Could you please describe how the Bose
 2            "In my experience, at the time                                  2 Lifestyle system operates?
 3        the Zone Scene patents were filed,                                  3 A It has the main -- I guess I would call it a
 4        multi-zone audio systems existed from                               4 processing box where you connect your audio sources.
 5        a variety of manufactures, such as          11:48:45                5 So it acts as a source selector. That box provides 11:52:03
 6        Bose, Crestron, and others."                                        6 outputs that go to amplifiers in it as well and
 7        Do you see that?                                                    7 provides outputs that interconnect the loudspeakers.
 8   A Yes.                                                                   8 In that case I believe it was a 5.1 surround system.
 9   Q Do you know any specific conventional                                  9 And it has an additional -- I don't know what they
10 multi-zone audio systems that existed at the time       11:48:58          10 call it -- breakout box that allows you to extend to 11:52:22
11 the zone scene patents were filed?                                        11 a different room and still be controlled by the main
12   A Are you saying other than the ones I listed                           12 controller. And also it had a remote control.
13 here?                                                                     13 Q How do the loudspeakers interconnecting to
14   Q Well, you've listed manufacturers, right?                             14 that central box communicate with the controller,
15 But do you know any actual product names or model             11:49:11    15 the remote controller?                       11:52:51
16 numbers?                                                                  16 A The remote controller sends signals over a
17   A Oh, product names. Let's see if I can recall                          17 wireless link to the main box, I guess main
18 any.                                                                      18 processor. And then it tells, you know, what each
19        The Bose one I think was called a Lifestyle.                       19 speaker should be playing over the wired
20 I'd have to look it up.                     11:49:28                      20 connections.                              11:53:18
21        Crestron -- Crestron makes hardware and                            21 Q Do the loudspeakers connected to the central
22 software for multi-room installations, whether it's                       22 box communicate with one another?
23 board rooms or homes. I don't know if they have a                         23 A With one another? No. The central processor
24 specific product name. But normally there's others.                       24 decides what to send to each one.
25 A lot of the home theater receiver manufacturers,       11:49:55          25 Q In the Bose Lifestyle system can you              11:53:40
                                                               Page 102                                                                     Page 104

 1 such as Denon -- I know that one because that was                          1 synchronize the loudspeakers to play audio in
 2 the first product that Audyssey went into when we                          2 synchrony?
 3 first started. It was the AVR5805, and many others                         3   A Yes.
 4 after that. They all provide connectors and                                4   Q How does the Bose Lifestyle accomplish that?
 5 mechanism to have multiple zones of audio in your         11:50:19         5   A That's a Bose method inside their own             11:54:05
 6 home.                                                                      6 processor. Let's just say it wouldn't be a very
 7        Initially there was two and eventually more                         7 successful product if they played out of synchrony.
 8 than two, perhaps three or four. Yamaha, Marantz,                          8 It would be a terrible audio system.
 9 Onkyo, many of those had those.                                            9   Q Right. But the loudspeakers don't
10    Q Have you ever used a Bose Lifestyle system?          11:50:40        10 communicate with each other, right? So how do they         11:54:25
11    A I have, yes.                                                         11 coordinate with one another to play audio in
12    Q Do you know -- do you know which Bose                                12 synchrony?
13 Lifestyle system you used?                                                13   A Because the central processor that is
14    A It's been so many years, so I don't remember                         14 deciding what to send, what signal stream to send to
15 the model number.                            11:51:08                     15 each one makes sure that they are transmitted over       11:54:38
16    Q Does the Bose Lifestyle 50, does that ring a                         16 each connection in the required synchrony.
17 bell?                                                                     17   Q When you say "the central processor," you're
18    A Possibly, but I don't remember.                                      18 talking about the central device that interconnects
19        Again, this was one of the situations where                        19 the loudspeakers, correct?
20 we brought it into the testing lab at Audyssey just     11:51:25          20   A Right. That has a processor in it and it's    11:54:58
21 to look at things. So paid less attention to the                          21 responsible for a number of things, simple things
22 model number than what it could do.                                       22 like adjusting volume in response to commands that
23    Q Do you recall how the Bose Lifestyle system                          23 it receives. Perhaps decoding audio formats from
24 operates?                                                                 24 the sources that are coming in. And then
25    A At a high level, sure, yes.               11:51:41                   25 distributing the audio over the interconnect.         11:55:16
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 1    Q So the loudspeakers communicate with the                           1 communicate over a local area network?
 2 central processor, right, but they don't communicate                    2   A Based on what I said this morning, that is a
 3 with one another directly, correct?                                     3 local area network. It's analog data going to --
 4        MR. KAPLAN: Object to form.                                      4 being carried over copper wires to end devices.
 5        THE WITNESS: The loudspeakers receive data         11:55:35      5   Q Okay. And this Bose Lifestyle system was            11:59:06
 6 from the central processor, but they don't                              6 unable to -- incapable of communicating over the
 7 communicate with each other.                                            7 internet; is that right?
 8 BY MR. PAK:                                                             8      MR. KAPLAN: Object to form.
 9    Q Okay. So what -- what cables are required to                       9      THE WITNESS: Because I don't remember the
10 interconnect the loud speakers to the central box or 11:55:57          10 model, I'm not sure if this -- if you could stream     11:59:35
11 the central processor of the Bose Lifestyle system?                    11 to it. It could connect to a number of sources. I
12    A These are provided by Bose. They are copper                       12 just don't recall if one of them could be a wireless
13 cables and they have RCA-type connections at the end                   13 source.
14 of each side of the cable.                                             14 BY MR. PAK:
15    Q Do you know if the Bose Lifestyle system can        11:56:31      15   Q Do you know when you used this Bose Lifestyle 11:59:52
16 communicate over Wi-Fi?                                                16 system?
17    A I'm sure they have models that can. That                          17   A Probably seven or eight years ago.
18 particular one I don't think did.                                      18   Q So sometime in 2013, 2012 you used this Bose
19    Q So the loudspeakers are internet connected to                     19 Lifestyle system?
20 the central processor or central box, right? What      11:56:59        20      MR. KAPLAN: Object to form.                     12:00:13
21 is the form of data that is transmitted between the                    21      THE WITNESS: To the best of my recollection.
22 loud speaker and the central processor?                                22 BY MR. PAK:
23        MR. KAPLAN: Object to form.                                     23   Q Do you know when this Bose Lifestyle system
24        THE WITNESS: It's analog audio data.                            24 was released?
25 ////                                                                   25      MR. KAPLAN: Object to form.                     12:00:23
                                                               Page 106                                                                   Page 108

 1 BY MR. PAK:                                                     1      THE WITNESS: I know that their Lifestyle
 2 Q Does it have to be analog audio data?                         2 series was released well before that. I just -- and
 3      MR. KAPLAN: Object to form.                                3 they have more than one model. So that was probably
 4      THE WITNESS: In general or in that product?                4 current at the time when we looked at it, but I
 5 BY MR. PAK:                                                     5 don't know.                               12:00:42
 6 Q In that product. In that product when a                       6 BY MR. PAK:
 7 loudspeaker communicates to the central processor or            7 Q But this is the model of Bose Lifestyle
 8 the central box, does it send analog data or digital            8 system that included a remote control, you said; is
 9 data?                                                           9 that right?
10 A It sends analog data because the amplifiers 11:57:42 10 A Yes.                                           12:00:50
11 are inside that same box where the processor is. So            11 Q Could you describe what this remote control
12 the output of the amplifier is using analog audio              12 did in the Bose Lifestyle system?
13 signals sent to each speaker.                                  13 A The obvious things. Selecting the source --
14 Q So in that product, in that Bose Lifestyle                   14 again, this is a bit of a long time ago, but I think
15 system, the loudspeakers are not sending data         11:57:59 15 it was change the volume and select the room. I         12:01:14
16 packets to that central processor, correct?                    16 think they call it multi-room in the manual or in
17      MR. KAPLAN: Object to form.                               17 the Bose language. So select which room you want
18 BY MR. PAK:                                                    18 the music to play in or if it was all rooms.
19 Q Sorry. Did you say "correct"?                                19      That's my basic recollection. There might
20 A Yes, correct.                           11:58:17             20 have been other things too, but I just don't         12:01:42
21 Q Okay. Do you know if the Bose Lifestyle                      21 remember.
22 system communicated over a local area network?                 22 Q Do you know what the Bose Lifestyle system
23 A Communicated with what?                                      23 remote control looked like? Like what shape it
24 Q Do you know if the loudspeakers                              24 might have been in?
25 interconnected to the central processor could        11:58:38 25       MR. KAPLAN: Object to form.                     12:02:01
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 1      THE WITNESS: It had a screen -- it had a                               1 today, but basically data networks. It's -- I guess
 2 screen in front of it. It might have been                                   2 in -- at least at USC, I think the -- it's an area
 3 rectangular or oval. I'm stretching my memory.                              3 that is studied called information networks. So I
 4 BY MR. PAK:                                                                 4 think it's just different terminology for data
 5   Q I understand. I know it's 17 years ago. I           12:02:21            5 networks.                                  12:04:42
 6 was just curious.                                                           6    Q Are you using the term "information networks"
 7      I want to move to paragraph 31 of your                                 7 to be synonymous with "data networks"?
 8 declaration. It's talking about the level of                                8    A In this paragraph, yes.
 9 ordinary skill in the art. Could you please read                            9    Q So an information network is any type of
10 paragraph 31 of your declaration.                     12:02:32             10 media that carries data, right?                  12:05:00
11   A Yes.                                                                   11    A Well, I don't know if it's -- like if you go
12           "In my opinion, a person of                                      12 to a network engineer and ask them what an
13      ordinary skill in the art at this time                                13 information network is, that's the answer you would
14      would have had a bachelor's of science                                14 get. This is more of an academic field that I was
15      in electrical engineering, computer              12:02:42             15 referring to just because I know there are courses      12:05:17
16      science or engineering, or a related                                  16 listed that way.
17      field, and two to four years of work                                  17      So I don't know if it's a physical thing. I
18      or research experience in the field of                                18 was just referring to it as a field of study.
19      information networks, data                                            19    Q What does the field of data communications
20      communications or multimedia systems,                12:02:52         20 include?                                  12:05:33
21      or a master's degree and one to two                                   21    A Protocols for communication for exchanging
22      years of experience in the same                                       22 data. Error correction, anything to do with
23      field."                                                               23 handling of data, analog or digital.
24   Q Does that mean a person of ordinary skill in                           24    Q What are multimedia systems?
25 the art can be someone with a master's degree in any 12:03:02    25              A Multimedia systems are generally considered            12:06:01
                                                           Page 110                                                                             Page 112

 1 field and one to two years of experience in the                             1 processing systems with processing that can handle
 2 fields of information networks, data communications,                        2 multiple types of media, such as pictures, video,
 3 or multimedia systems?                                                      3 audio, voice, text, haptics, all the ones that we
 4   A No. What I meant is a master's degree in the                            4 talked about earlier.
 5 areas that I listed for the bachelor's.              12:03:19               5    Q What about an audio system that only renders           12:06:38
 6   Q Okay. So what you -- what you meant was a                               6 audio, is that a multimedia system?
 7 master's degree in electrical engineering, computer                         7    A An audio system that can't handle anything
 8 science, or engineering, and one to two years of                            8 else?
 9 experience in the fields of information networks,                           9    Q Yes.
10 data communications, or multimedia systems; is that             12:03:34   10    A No. I would say no. Multi in multimedia           12:06:53
11 right?                                                                     11 requires more than one.
12   A Correct.                                                               12    Q So if a person has a -- sorry, I didn't mean
13   Q Okay. So as it is written right now in                                 13 to cut you off.
14 paragraph 31, the way it's written is incorrect,                           14    A I'm fine. I'm done.
15 right?                                    12:03:47                         15    Q If a person has a bachelor's of science in       12:07:06
16      MR. KAPLAN: Object to form.                                           16 electrical engineering and only has experience in
17      THE WITNESS: Well, I don't know if it's                               17 audio systems that only render audio, but not any
18 incorrect. I mean, I didn't want to repeat. I know                         18 other type of media, then that person would not
19 that's probably customary in legal documents, but I                        19 qualify as a person of ordinary skill in the art,
20 thought it was obvious that it was referring to for       12:04:02         20 correct?
21 bachelor's, you get your master's in the same                              21    A No, I don't agree. I think if somebody has
22 fields.                                                                    22 studied multimedia systems as part of their field of
23 BY MR. PAK:                                                                23 study, they have also studied audio and other
24   Q And what are information networks?                                     24 things. So if you have taken courses in multimedia
25   A We've talked about all kinds of examples              12:04:14       25 systems, you certainly have taken courses in just         12:07:49
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 1 audio, similar to the ones that I teach, or just                          1 times. Computer games. More boring ones like
 2 speech like my colleagues teach, or just video, and                       2 PowerPoint presentations with audio or video
 3 also the integration of them. So it comes with                            3 embedded in them. Anything that has more than two
 4 everything.                                                               4 media. Or two or more, I should say.
 5   Q You know Sonos is a speaker company, right?            12:08:00       5   Q Is a multimedia system that can render two or 12:11:11
 6   A Yes.                                                                  6 more types of media other than audio, would that
 7      MR. KAPLAN: Object to form.                                          7 qualify as a multimedia system?
 8 BY MR. PAK:                                                               8   A Sure.
 9   Q So if a person who works at Sonos has a                               9   Q So if a person has experience in implementing
10 bachelor's of science in electrical engineering and     12:08:14         10 and designing multimedia systems that don't render         12:11:38
11 has experience in working on speaker systems that                        11 audio but other types of media, is it your opinion
12 render audio but don't render video or any other                         12 that that person would qualify as a person of
13 type of media, does that person still qualify as a                       13 ordinary skill in the art?
14 person of ordinary skill in the art?                                     14   A I'm sorry. Could you repeat that one more
15   A That's kind of a hypothetical question. I'd       12:08:39           15 time?                                    12:11:50
16 have to meet that person and find out what their                         16   Q Yeah. So if a person has experience in
17 experience was to really answer that. I don't know                       17 implementing or designing a multimedia system that
18 what courses they took or what experience they had                       18 doesn't render audio but renders other types of
19 prior to Sonos.                                                          19 media, is it your opinion that that person would
20   Q What I'm trying to get at here is the word        12:08:47           20 qualify as a person of ordinary skill in the art?    12:12:04
21 "multimedia systems." You know, it seems like in                         21   A My assumption -- what I was trying to say
22 order to have experience in multimedia systems,                          22 here was that this person has studied multimedia
23 right, you need to -- you need a person that studied                     23 systems. Whether they're designing now or not is
24 a systems that render multiple types of media,                           24 different. But if they studied multimedia systems,
25 according to your definition, right?               12:09:16              25 then they certainly studied audio, voice, graphics     12:12:22
                                                                 Page 114                                                                  Page 116

 1   A Right. But not just renders. All aspects --                           1 and text and others, perhaps, depending on the
 2 multimedia systems represent systems that deal with                       2 program. So they've certainly had experience.
 3 the integration, whether it's on the capture side,                        3   Q Okay. So you're assuming that if a person
 4 compression, streaming of these integrated media                          4 has experience in multimedia systems, that person
 5 types.                                 12:09:47                           5 would have experience in other types of media,            12:12:43
 6      But in order to study that, you do have to                           6 whether that's video, audio, or images, that person
 7 study each individual one as well. This is not                            7 would have experience in all of those different
 8 just -- all components have to be studied                                 8 types of media, correct?
 9 individually as well. And I assume somebody with                          9   A Correct. I wouldn't call them "other." I
10 that kind of degree -- just based on the degrees we     12:10:00         10 would call them components of multimedia.                 12:12:56
11 have at USC, I can say that that's for sure the                          11   Q Okay. Let's take a look at paragraph 62 of
12 case.                                                                    12 your declaration.
13   Q What are -- what are some examples of                                13   A Yes.
14 multimedia?                                                              14   Q Would you please read that paragraph for me,
15      MR. KAPLAN: Object to form.                      12:10:15           15 just the first two sentences.                  12:13:28
16 BY MR. PAK:                                                              16   A
17   Q Or let me phrase it differently.                                     17          "Numerous technical dictionaries
18      What types of media -- what are some examples                       18       confirm that data," in quotations,
19 of media types that would be categorized as                              19       "including audio data, can be
20 multimedia?                                12:10:28                      20       represented in both analog," in            12:13:37
21   A Okay. So we're talking about media, not                              21       quotes, "or digital," in quotes,
22 systems, right?                                                          22       "form. Digital data is," quotes,
23   Q Yes.                                                                 23       "data represented in discreet
24   A You know, some obvious ones are television                           24       discontinuous form, as contrasted with
25 programs, picture and sound, and graphics many            12:10:39    25          analog data represented in continuous          12:13:47
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 1      form," end quote.                                        1     format and can be transported or
 2 Q Okay. And then paragraph -- in paragraph 63,                2     streamed over a data network."
 3 the second sentence, it says:                                 3     Do you see that?
 4          "In the generic sense, packets                       4 A I do.
 5      refer to the manner in which data are        12:14:04    5 Q The '206 patent discusses sending and            12:17:43
 6      organized into discreet units for                        6 receiving audio in digital form, correct?
 7      transmission and switching through a                     7 A Yes.
 8      data network."                                           8     MR. KAPLAN: Object to form.
 9      Do you see that?                                         9 BY MR. PAK:
10 A Yes.                                  12:14:12             10 Q Is there anywhere in the '206 patent that        12:17:52
11 Q So data packets are in digital form, correct?              11 discusses sending and receiving audio data in the
12 A Data packets are, yes.                                     12 form of -- let me -- let me rephrase that.
13 Q Can data packets be in analog form?                        13     Is there anywhere in the '206 patent that
14 A Data can be in analog form, but it's not                   14 discusses sending and receiving audio in analog
15 transmitted using packets.                    12:14:37       15 form?                                  12:18:08
16 Q Right. So data packets are not in analog                   16 A That wasn't -- I'd have to go look at it
17 form, correct?                                               17 again. I don't remember every word of the patent.
18 A Correct.                                                   18 The sections that I looked at for my opinion were --
19 Q Are there other discreet discontinuous forms               19 you know, I just looked for those things. So I
20 of data that are not data packets?              12:14:53     20 would have to go look and make sure of the answer. 12:18:26
21 A Yes.                                                       21 Q Sitting here today, you can't recall any
22 Q What are those forms of data?                              22 passages in the '206 patent that discusses sending
23 A A digital audio stream that consists of bits,              23 and receiving audio data in analog form, correct?
24 those are not packets. It's continuous stream of             24     MR. KAPLAN: Object to form.
25 bits or a digital audio stream that we talked about 12:15:17 25 Mischaracterizes testimony.                    12:18:43
                                                       Page 118                                                                      Page 120

 1 before that has been modulated through some                     1       THE WITNESS: Like I said, I don't want to
 2 pre-agreed encoding scheme like pulse code                      2 say I do or I don't because I don't -- I'd have to
 3 modulation. Though those are not -- those are                   3 go read it. It's possible.
 4 digital streams that are not packets.                           4       For example, I know that at Sonos there are
 5 Q In order to stream audio from the internet, 12:15:44          5 Sonos audio products that have analog inputs on the        12:18:55
 6 from an internet media source on a speaker, does                6 back. And so I just don't know if -- I just don't
 7 that streaming audio have to be in the form of                  7 know if there is a section in this patent since I
 8 packets or can it be in a continuous form of data?              8 haven't looked for that specifically.
 9 A If we're talking about the general purpose                    9 BY MR. PAK:
10 internet, you know, it only supports packet        12:16:32    10   Q Would it help if we take a few minutes for          12:19:17
11 protocols. So it would have to be put in that form.            11 you to review the patent and see if you can find any
12 Q I'd like to introduce a new exhibit here. I                  12 passages that discuss sending and receiving audio in
13 uploaded it and marked it as Exhibit 10.                       13 the form of analog data?
14      (Exhibit 10 was marked for identification                 14   A Sure.
15 electronically and is attached hereto.)         12:16:55       15   Q Okay. So how about we do that, take a few            12:19:29
16 BY MR. PAK:                                                    16 minutes.
17 Q Let me know when you see that.                               17   A Okay.
18 A I see it.                                                    18       THE REPORTER: Do you want to go off the
19 Q Do you recognize this document?                              19 record or not?
20 A Yes. It's the '206 patent.                12:17:06           20       MR. KAPLAN: No.                           12:19:46
21 Q I want to take a look at Column 4. It's on                   21       THE WITNESS: By doing a quick search, I
22 PDF page 16 and line 36. It says:                              22 could find -- I could keep looking -- Column 4, line
23          "As used herein, unless                               23 65:
24      explicitly stated otherwise, an audio                     24          "The device 112 is configured to
25      source or audio sources are in digital     12:17:32       25       receive an analog audio source, e.g.,          12:20:23
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 1      for broadcasting."                                   1 and 10. Without reading them directly, it talks
 2      The audio sources -- Column 5 -- I'm just            2 about the ability to handle analog signals, whether
 3 reading from line 65 onward. The last line there          3 it's processing them from inputs and then converting
 4 says:                                                     4 them to digital to share with other devices on a
 5         "The analog audio sources can be        12:20:45  5 network. And then line 9 on the same column:           12:23:21
 6      converted to digital audio sources."                 6          "The audio amplifier is typically
 7 BY MR. PAK:                                               7       an analog circuit, but powers the
 8 Q Right. And then the next sentence says:                 8       provided analog audio signals to drive
 9         "In accordance with the present                   9       one or more speakers."
10      invention, the audio source may be         12:20:58 10 Q So those sentences that you point out, you          12:23:43
11      shared among the devices on network                 11 know, on Column 6 of the patent talk about
12      108."                                               12 processing analog signals, but when that signal is
13      Do you see that?                                    13 actually sent or received over the network, it talks
14 A I do.                                                  14 about producing digital signals. So it's talking
15 Q So let's go back to paragraph 4 -- column 4, 12:21:07 15 about converting the analog signals to digital        12:23:56
16 line 50. Could you please read that paragraph for        16 signals to communicate over the network, correct?
17 me.                                                      17 A Yes.
18 A                                                        18       MR. KAPLAN: Object to form.
19         "The network 108 may be a wired                  19       THE WITNESS: Yes. I was just responding to
20      network, a wireless network, or a         12:21:22  20 your question as to whether there is any mention of 12:24:06
21      combination of both."                               21 analog in this. Clearly the patent talks about
22 Q You can keep going.                                    22 products that could handle connections to analog
23 A                                                        23 input signals.
24         "In one example, all devices,                    24 BY MR. PAK:
25      including the zone players 102, 104,       12:21:32 25 Q Right. But does this patent talk about           12:24:17
                                                               Page 122                                                           Page 124

 1      and 106, are coupled to the network by                              1 sending analog data over the network, such as
 2      wireless means, based on an industry                                2 network 108 described in the patent?
 3      standard such as IEEE 802.11.                                       3 A I think it does indirectly. Because in line
 4         "Another example --                                              4 50 that you read before, the network may be a wired
 5   Q You can stop there.                      12:21:47                    5 network. It doesn't say that that needs to be      12:24:47
 6      As the patent describes, network 108 is                             6 digital. It could be analog.
 7 talking about an internet-based network that uses                        7 Q Well, you know, let's go back to Column 4,
 8 industry standards such as the IEEE 802.11 standard,                     8 line 36. It says:
 9 correct?                                                                 9           "As used herein, unless
10      MR. KAPLAN: Objection. Mischaracterizes the 12:22:04               10       explicitly stated otherwise, when an       12:25:03
11 document.                                                               11       audio source or audio sources are in
12      THE WITNESS: I don't -- I wouldn't call this                       12       digital format, they can be
13 internet based. This just tells me how the                              13       transported or streamed over a data
14 components are communicating, which is a wireless --                    14       network."
15 standard 802.11 wireless.                      12:22:19                 15       Right? So in line -- line 50 when it says   12:25:14
16 BY MR. PAK:                                                             16 "The network 108 may be a wired network or a
17   Q And the 802.11 standard requires data to be                         17 wireless network, or a combination of both," it's
18 transmitted or received in digital format, correct?                     18 talking about sending data in digital format, right?
19   A Correct.                                                            19 Unless it's stated otherwise, you have to assume
20   Q And that data transmitted over 802.11             12:22:33          20 that you're sending or receiving data in digital     12:25:30
21 standard requires data to be transmitted and                            21 format, correct?
22 received in the form of data packets, correct?                          22       MR. KAPLAN: Objection. Mischaracterizes the
23   A Correct.                                                            23 document.
24      Referring back to your analog question, I'm                        24       THE WITNESS: I don't know. It's hard --
25 just seeing more sections here. Column 6, line 3        12:22:59        25 it's like the paragraph here, maybe. I'm not       12:25:45
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 1 certain about that.                                                  1 switch telephone network and send audio data to
 2 BY MR. PAK:                                                          2 render that audio data on one of those speakers?
 3 Q Sure. Let me ask you this way.                                     3   A Oh, yeah, absolutely. Speaker phones, right?
 4      So in line 50 in Column 4, it says:                             4   Q Do the patents disclose speaker phones?
 5         "The network 108 may be a wired           12:25:55           5   A I was just giving you an example of what you          12:29:08
 6      network or a wireless network or a                              6 could connect. You can connect any kind of
 7      combination of both."                                           7 transducer because what you're getting out is an
 8      Right?                                                          8 audio signal. So if you send it to a loudspeaker,
 9 A Yes.                                                               9 it will play, and the loudspeaker can be any kind of
10 Q Does that sentence mention analog?                12:26:02        10 form.                                    12:29:29
11 A No.                                                               11   Q Does the '206 patent discuss sending or
12 Q Okay. Let's take a look at paragraph 64 of                        12 receiving data over a public switch telephone
13 your declaration. So back to Exhibit 9. It's PDF                    13 network?
14 page -- PDF page 23.                                                14   A Well, as I say, it talks about sending and
15      And in the middle of that paragraph, it says: 12:26:43         15 receiving it over networks in general and it doesn't 12:29:42
16         "These networks allowed cellular                            16 exclude that, but it doesn't mention it specifically
17      devices to send and receive data, as                           17 either.
18      Sonos requires, typically in the form                          18   Q Is a speaker phone capable of processing and
19      of voice calls."                                               19 rendering audio data?
20      Do you see that?                      12:26:56                 20   A Yes.                                  12:30:03
21 A Yes.                                                              21   Q Does the '206 patent discuss sending or
22      MR. KAPLAN: I'm sorry. Which paragraph                         22 receiving audio data via RCA cables?
23 again?                                                              23   A The discussion we had before about connecting
24      MR. PAK: Paragraph 64.                                         24 analog sources, and I do know that some of the Sonos
25      MR. KAPLAN: Thank you.                       12:27:08          25 speakers have that in the back, but that connection       12:30:30
                                                            Page 126                                                                    Page 128

 1      THE WITNESS: I see it.                                          1 would typically be an RCA cable. It might also be a
 2 BY MR. PAK:                                                          2 mini jack, a 1/8th inch jack or cable.
 3   Q Does the '206 patent discuss sending or                          3   Q Okay. So let's look at the patent, Column 1,
 4 receiving audio data over a cellular or voice                        4 line 40. Would you please read that first sentence
 5 network?                                12:27:19                     5 for me.                                  12:31:15
 6   A Well, it discusses sending or receiving it                       6   A
 7 over wireless networks. So that would cover all                      7           "Currently one of the systems
 8 kinds of wireless networks in the broadest sense,                    8       that can meet part of such demand is a
 9 right? It doesn't exclude them.                                      9       conventional multizone audio system
10   Q Can you send data over a voice network to        12:27:41       10       that usually includes a number of              12:31:21
11 render audio on a device?                                           11       audio players."
12   A So because you don't have construction of                       12   Q Keep going.
13 what a voice network is, claim construction around                  13   A
14 voice network, I want to know what your definition                  14           "Each of the audio players has
15 is of voice network so I can answer correctly.      12:28:14        15       its own amplifiers and a set of           12:31:28
16   Q Right. So earlier you said a voice network                      16       speakers and typically installed in
17 would be -- like an example would be a telephony                    17       one place, e.g., the room. In order
18 network, like a public switch telephone network,                    18       to play an audio source at one
19 correct?                                                            19       location, the audio source must be
20   A Correct.                            12:28:28                    20       provided locally or from a centralized          12:31:41
21   Q And you wouldn't send or receive audio data                     21       location."
22 over a public switch telephone network, would you?                  22       Keep going?
23   A Why not? Voice is audio data basically,                         23   Q No, that's okay.
24 right? So you kind of are doing that.                               24       Is there anything in this patent that
25   Q Can you have speakers connected to a public       12:28:44     25 distinguishes those type of conventional multi-audio 12:32:07
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 1 systems to what is disclosed in the patent as the                           1      network interface functions by a wired
 2 invention?                                                                  2      means, for example, an Ethernet
 3       MR. KAPLAN: Objection to form.                                        3      cable."
 4 BY MR. PAK:                                                                 4      Do you see that?
 5   Q Let me put it this way. The next paragraph,         12:32:34            5   A Yes.                                12:35:46
 6 can you read the first sentence of that -- of line                          6   Q So the patent discloses that the wired
 7 56.                                                                         7 network can be an Ethernet cable, right?
 8   A                                                                         8   A That's a different network than the one that
 9          "In order to achieve playing                                       9 connects -- this is not for connecting sources.
10       different audio sources in different          12:32:44               10 This is for connecting speakers together to -- could 12:36:07
11       audio players, the traditional                                       11 be wired or wireless. The previous discussion was
12       multizone audio system is generally                                  12 about what kind of sources.
13       either hard wired or controlled by a                                 13   Q Right. So this is talking about the wired
14       preconfigured and preprogrammed                                      14 interface of a zone player, correct?
15       controller."                       12:32:55                          15      MR. KAPLAN: Object to form.                     12:36:36
16   Q Right. So the patent talks about traditional                           16      THE WITNESS: Yes. This is talking about how
17 multizone audio systems being either hardwired or                          17 to connect multiple zone players, in this case,
18 controlled by a preconfigured or preprogrammed                             18 speakers, whether they're wired or wireless. They
19 controller, and it distinguishes those traditional                         19 provide capability for both.
20 multizone audio systems from the -- from the system        12:33:13        20 BY MR. PAK:                                    12:36:54
21 disclosed in the '206 patent as the invention,                             21   Q So let's talk about the zone player. So the
22 right?                                                                     22 zone player has network interface -- so a zone
23       MR. KAPLAN: Object to the form.                                      23 player has a network interface 202, which may
24       THE WITNESS: I mean, that's kind of the                              24 include one or both of the wireless interface 216
25 purpose of writing the background. What you're            12:33:49     25 and a wired interface 217, right?                     12:37:17
                                                                 Page 130                                                                      Page 132

 1 going to say after that is supposed to be better.                           1   A Yes.
 2 BY MR. PAK:                                                                 2   Q Okay. And specifically the wired interface
 3   Q Right. So the disclosed system in the '206                              3 217 provides network interface function by wired
 4 patent that's described as the invention isn't                              4 means, for example, an Ethernet cable, correct?
 5 talking about these hardwired traditional multi-zone 12:34:07               5   A Correct. And this is why I was talking about 12:37:39
 6 audio systems, right?                                                       6 the introduction before. It seems to contradict the
 7       MR. KAPLAN: Object to form.                                           7 benefit because they say that the old systems were
 8       THE WITNESS: Well, it doesn't completely go                           8 all wired and so they're no good. But now they also
 9 away from it because it allows for a wired source,                          9 provide capability for wired. So it's just a
10 an analog wired source to be connected to one of the 12:34:31              10 different type of wire, I suppose.                12:37:55
11 zone players and then be distributed. So it doesn't                        11   Q As you recall, did these traditional
12 completely remove them.                                                    12 multizone audio systems include speakers that were
13 BY MR. PAK:                                                                13 connected via an Ethernet cable?
14   Q Does the patent discuss what the wired source                          14   A No. That's what I'm saying. They were
15 has to be, what form it has to be in?               12:34:49               15 connected by copper RCA cables or speaker cables             12:38:16
16       MR. KAPLAN: Object to form.                                          16 directly.
17       THE WITNESS: It gives examples at the bottom                         17      So this is a different kind of cable, but
18 of Column 4, line 66, broadcasting, which is analog,                       18 still the possibility existed of speakers in
19 compact disk, which could be digital or analog,                            19 different zones or rooms that are connected by
20 depending on what connection you have. Yeah, those             12:35:20    20 wires. Just a different kind of wire.             12:38:31
21 are examples.                                                              21   Q What is the difference between an Ethernet
22 BY MR. PAK:                                                                22 cable and a copper wire such as an RCA cable?
23   Q All right. So let's take a look at Column 5.                           23   A I guess Ethernet cables are also made of
24 And I'm looking at line 33. It says:                                       24 copper, but they have different kinds of endings and
25          "The wired interface 217 provides           12:35:39              25 they have multiple strands in them carrying data.         12:39:06
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 1 So I guess I would consider an Ethernet cable                              1 directly to and from another device, correct?
 2 capable of carrying digital packet data, whereas an                        2      MR. KAPLAN: Object to form.
 3 audio interconnect carries analog audio data.                              3      THE WITNESS: I don't know how else to
 4 Q So an RCA cable carries analog data, whereas                             4 interpret this. It says, "sending and receiving
 5 an Ethernet cable carries digital data packets,      12:39:38              5 from each other." So unless there is something in         12:42:10
 6 correct?                                                                   6 between that is not disclosed, what else could it
 7 A To be totally clear, analog cables -- sorry,                             7 be, right?
 8 RCA cables can also carry digital data. Just not                           8 BY MR. PAK:
 9 packetized.                                                                9    Q Right. So Sonos's construction of the data
10 Q Okay, that makes sense.                       12:39:54                  10 network is broad enough to cover directly or             12:42:19
11     I want to take a look at paragraph 66 of your                         11 indirectly sending and receiving data, correct?
12 declaration.                                                              12      MR. KAPLAN: Object to form.
13 A Yes.                                                                    13      THE WITNESS: Right, that's true. But my
14 Q Let me get to it real quick. The second                                 14 construction, though, was not really focused around
15 sentence of paragraph 66 says:                   12:40:21                 15 the directly part. It was that a data network, as      12:42:43
16         "There are many types of networks                                 16 we've already discussed since this morning, doesn't
17     that do not require a network device                                  17 have to be digital packets.
18     to both send and receive data from                                    18 BY MR. PAK:
19     another device. For example, networks                                 19    Q Right. But let's look at paragraph 66 again.
20     may be configured in a ring such that          12:40:31               20 And it says:                               12:43:00
21     no device both sends and receives data                                21          "For example, networks may be
22     directly to and from another device."                                 22      configured in a ring such that no
23     Do you see that?                                                      23      device both sends and receives data
24 A Yes.                                                                    24      directly to and from another device."
25 Q Okay. So let's take a look at Sonos's            12:40:43               25      Right? But Sonos's construction doesn't say        12:43:11
                                                                  Page 134                                                                    Page 136

 1 proposed construction on page 21 of your                                   1 or doesn't require direct -- directly sending and
 2 declaration. Could you please read Sonos's                                 2 receiving data, right?
 3 construction for data network.                                             3      MR. KAPLAN: Object to form.
 4   A                                                                        4      THE WITNESS: The intent of this sentence
 5          "A medium that interconnects the           12:41:00               5 that I wrote here was that "directly" is kind of a      12:43:38
 6       devices enabling them to send data                                   6 substitution for each other. Because obviously in a
 7       packets to" --                                                       7 network, in a ring network, devices are sending data
 8       I'll start over.                                                     8 and they're receiving data. But it's not a send and
 9          "A medium that interconnects                                      9 receive between two devices. And that's what I
10       devices, enabling them to send digital        12:41:09              10 meant by "directly" here. I didn't imply there was        12:43:54
11       data packets to and receive digital                                 11 nothing in between.
12       data packets from each other."                                      12 BY MR. PAK:
13   Q Does Sonos's proposed construction of data                            13    Q So -- sorry.
14 network require sending and receiving data directly                       14    A No, no.
15 to and from another device?                      12:41:26                 15    Q So in that -- so if a network is configured       12:44:03
16       MR. KAPLAN: Object to form.                                         16 in a ring, you'd agree with me that a device can
17       THE WITNESS: I guess I'm not sure what                              17 both send and receive data to and from each other?
18 "directly" means in this context. We're connecting                        18    A No. Because to and from each other means you
19 two devices.                                                              19 have two devices and they're talking back and forth.
20 BY MR. PAK:                                    12:41:45                   20 And in a ring network, one device will send to the        12:44:27
21   Q So let me ask you this way. Does the word                             21 next. If it has the token, it will -- let's say
22 "directly" appear in Sonos's proposed construction?                       22 it's clockwise orientation and it will send to the
23   A It does not.                                                          23 next one and receive from the one before it. So
24   Q Okay. So Sonos's construction of data                                 24 it's sending and receiving two different devices,
25 network does not require sending and receiving data         12:41:56    25 not a two-way communication.                            12:44:50
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 1   Q What is a token ring network?                                           1   A Yes.
 2   A It's a set of devices connected in a network                            2   Q Let's look at the top right PC. So this top
 3 that is -- as I described, think of a circle with                           3 right PC can receive data from one of these PCs,
 4 multiple points in it. Each of those is a network                           4 correct?
 5 device. The protocol is such that to avoid what          12:45:12           5   A Assuming that the token protocols were               12:48:32
 6 network people call collisions, which is when a                             6 followed, yes.
 7 bunch of data tries to arrive at the same time, to                          7   Q From what devices can this PC receive data
 8 avoid that they use traffic police kind of system                           8 from?
 9 where you can't talk unless you've been told to talk                        9   A From whichever device decided to address the
10 because you have the token. And so data goes around 12:45:36               10 token to that PC.                           12:48:56
11 in circles. It can be clockwise. It can be                                 11   Q So it can be any one of the four other
12 counterclockwise. And sometimes it's a star                                12 devices on this token ring network, correct?
13 configuration where there's a -- literally a central                       13   A It can, although you'll have to -- if it's
14 node and everybody communicates through, or                                14 the one next to or below to the right, it would have
15 sometimes it's a controller. So it's a different       12:45:51            15 to wait a while until it gets there because it has     12:49:19
16 configuration for a network topology.                                      16 to go through all the other ones. But yes.
17   Q I'd like to introduce a new exhibit here. I                            17   Q So can that PC on the top right transmit data
18 uploaded a new exhibit marked as Exhibit 11.                               18 to any of the four other PCs in the token ring
19      Do you see that?                                                      19 network?
20   A Yes. I'm waiting for it to open. I see it.       12:46:21              20   A Again, yes, if it decides it wants to            12:49:36
21      (Exhibit 11 was marked for identification                             21 transmit to one of them and puts that information on
22   electronically and is attached hereto.)                                  22 the token and addresses it to that PC, yes, it can
23 BY MR. PAK:                                                                23 do that.
24   Q Do you recognize this document?                                        24   Q Okay. And I want to go back to your
25   A Yes.                                 12:46:33                          25 declaration now, looking at paragraph 67. On page          12:49:53
                                                                   Page 138                                                                    Page 140

 1 Q This was attached as Appendix L to                           1 24.
 2 Dr. Schmidt's declaration, and you reviewed this               2 A Yes.
 3 document, right?                                               3 Q It says:
 4 A I did, yes.                                                  4         "Various publications also
 5 Q I want to take a look at the last page, PDF 12:46:42 5             confirm that unidirectional data          12:50:08
 6 page 6.                                                        6     networks were well known in the art."
 7       Do you see the token ring network                        7     And you relied on U.S. patent
 8 configuration at the bottom left?                              8 No. 6,081,907.
 9 A I see it.                                                    9     Do you see that?
10 Q So in this token ring network configuration, 12:46:56 10 A I do.                                    12:50:19
11 can a given device send data to or receive data from          11 Q And you would have to go to the electronic
12 another device?                                               12 exhibit, because I want to look at PDF page 157.
13 A Yes, but not from the same device in both                   13 A Okay. That was Exhibit 9?
14 directions.                                                   14 Q Yes, correct.
15 Q Okay. And in the last sentence below that          12:47:17 15     MR. KAPLAN: Which PDF page?                     12:50:51
16 configuration, it says:                                       16     MR. PAK: PDF page 157.
17           "Any PC can grab a passing token                    17     THE WITNESS: I'm looking for an easier way
18       and attach data and the address of                      18 besides scrolling.
19       another PC to it, as each PC in turn                    19     MR. KAPLAN: I don't know that there is.
20       watches for tokens that are addressed       12:47:41    20     THE WITNESS: I'm almost there. Okay.            12:51:30
21       to it."                                                 21     Wait. I'm sorry. Are we talking about the
22       Right?                                                  22 monthly unique users graph?
23 A Yes.                                                        23 BY MR. PAK:
24 Q So you're saying in this configuration --                   24 Q No. Hold on one second. I'm putting it in
25 let's pick one example. There's five PCs, right?    12:48:10 25 the chat right here.                     12:51:56
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 1     MR. KAPLAN: 157 for me is the '907 patent.                 1 BY MR. PAK:
 2     THE WITNESS: Oh, I had 57. Okay.                           2 Q Okay. Let's take a look at Column 3, the
 3 BY MR. PAK:                                                    3 second paragraph. It says:
 4 Q There's a little scroll controls you can --                  4         "The bidirectional data network
 5 A Yeah.                                12:52:13                5     28 represents various types of            12:54:33
 6 Q Yeah.                                                        6     networks, including the internet, a
 7 A Okay. I see it.                                              7     LAN, local area network, a WAN, wide
 8 Q Okay. And this is a copy of the '907 patent                  8     area network, and the like."
 9 provided as an exhibit to your declaration, right?             9     Do you see that?
10 A Yes.                                12:52:36                10 A I do.                              12:54:46
11 Q Okay. And I want to go down to PDF page 165.                11 Q In the next paragraph it says:
12 And I want to focus on the background section of the          12         "The broadcast center 26 receives
13 '907 patent.                                                  13     the data served from the content
14 A Okay.                                                       14     servers 22(l) through 22(K) over the
15 Q Okay. And the first paragraph of the             12:52:58   15     network 28, and broadcasts the data          12:55:02
16 background section says:                                      16     over a broadcast network 30 to the
17        "Conventional computer networks                        17     clients 24(l) through 24(M)."
18     are bidirectional, allowing data                          18     Do you see that?
19     communication in both directions                          19 A I do.
20     between servers and clients.              12:53:08        20 Q Now, if you look at Figure 1 of the '907         12:55:15
21     Transmitting data over these                              21 patent, and it's PDF page 158, you see there's a
22     bidirectional data networks has been a                    22 separate bidirectional data network 28 and a
23     mainstay of computer technology for                       23 broadcast network 30, right?
24     many years and the communication                          24 A 28 and 30, yes, I see it.
25     protocols are well established."           12:53:20       25 Q So you'd agree with me that the bidirectional 12:55:45
                                                      Page 142                                                                  Page 144

 1      Do you see that?                                          1 data network 28 and broadcast network 30 in the '907
 2 A Yes.                                                         2 patent are different networks, right?
 3 Q All right. And the third paragraph in the                    3      MR. KAPLAN: Object to form.
 4 background section, could you actually read that               4      THE WITNESS: That's what is shown in this
 5 paragraph for me.                          12:53:31            5 diagram. They're showing an example that has both       12:56:11
 6 A                                                              6 in there.
 7         "Apart from the classic                                7 BY MR. PAK:
 8      bidirectional data networks, there is                     8    Q As shown in Figure 1, you'd agree that data
 9      an increasing interest in the use of                      9 network 28 is bidirectional, whereas the broadcast
10      broadcast or multicast networks to          12:53:40     10 network 30 is unidirectional, correct?           12:56:24
11      deliver computer data and other                          11    A Yes, that's what is being disclosed.
12      content to clients. These types of                       12    Q Is there anywhere in the '907 patent that
13      distribution networks are                                13 mentions that broadcast network 30 is a data
14      unidirectional in that data flows from                   14 network?
15      the server to the clients, but no        12:53:50        15      MR. KAPLAN: Object to form.                   12:56:43
16      return communication is possible over                    16 BY MR. PAK:
17      the same communication path."                            17    Q And we can take a minute if you need a minute
18      More?                                                    18 to review the patent.
19 Q That's okay.                                                19    A Yeah, let me take a minute.
20      So the '907 patent actually distinguishes the 12:54:03   20      So Column 3, line -- the paragraph that       12:57:30
21 classic bidirectional data network from a                     21 starts at line 33, it says:
22 unidirectional broadcast or multicast network,                22          "The broadcast network 30 can be
23 correct?                                                      23      implemented in a variety of ways. For
24 A Yes.                                                        24      instance, the broadcast network might
25      MR. KAPLAN: Object to form.                   12:54:17   25      be implemented as a wireless network          12:57:55
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 1       configured for one-way transmission,                            1 Q Sure. Take a minute if you need a minute to
 2       i.e., satellite, radio, microwave                               2 review.
 3       et cetera. The broadcast network                                3 A I think it goes back to Column 3, the
 4       might also be a network that supports                           4 paragraph that I was reading before, line 33 --
 5       two-way communication, but is               12:58:08            5 actually, line 36 where it gives examples.         01:00:59
 6       predominantly used for unidirectional                           6 Satellite, radio, and microwave. What we talked
 7       multicasting from the broadcast center                          7 about before, satellite may or may not be data. But
 8       26 to many clients simultaneously."                             8 radio and microwave is -- may not be data packet,
 9 Q So in that sentence, does the patent use the                        9 but radio and microwave are most likely not packet
10 word "data network"?                         12:58:29                10 based. So it's certainly possible the way they      01:01:25
11 A Well, as we've said before several times,                          11 wrote it.
12 wireless networks that transmit data are data                        12 BY MR. PAK:
13 networks. And so it doesn't say data network when                    13 Q Let's take a look at the figures here. And I
14 it talks about ATM or Ethernet or anything else.                     14 want to take a look at Figure 4. Let me see if I
15 These are all data networks.                  12:58:54               15 can find the description for it.              01:01:58
16 Q Why does the patent use the term "data                             16      Actually, let's take a look at Column 5, line
17 network" when it describes data network 28, but                      17 35. The paragraph says:
18 doesn't use the term "data network" when it talks                    18          "Figure 4 shows exemplary steps
19 about broadcast network 30?                                          19      in a method for serving data packets
20       MR. KAPLAN: Object to form.                   12:59:09         20      over the unidirectional network."           01:02:21
21       THE WITNESS: I don't know what they had in                     21      Do you see that?
22 mind in their language to write it that way, but --                  22 A Yes.
23 I don't know. I can't answer why they said it that                   23 Q So Figure 4 is describing a method specific
24 way.                                                                 24 to transmitting data packets over broadcast network
25 ////                                                                 25 30, right?                              01:02:35
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 1 BY MR. PAK:                                                           1      MR. KAPLAN: Object to form.
 2   Q Let's look at Column 4 of the '907 patent.                        2      THE WITNESS: It's describing a method, but
 3 If you look at line 22 --                                             3 not all the methods, right? Because we talked about
 4   A Yes.                                                              4 other possibilities. In this paragraph it's a
 5   Q It says:                             12:59:45                     5 method, yes.                               01:02:47
 6         "The packet encoder 52                                        6 BY MR. PAK:
 7      encapsulates packets of data with                                7 Q And then Column 6, line 15, it says:
 8      appropriate headers for transmission                             8          "Figure 5 shows the byte-wise
 9      over the data network and broadcast                              9      technique for generating a redundancy
10      network."                           12:59:57                    10      packet from multiple data packets             01:03:25
11      Do you see that?                                                11      within a redundancy group."
12   A Yes.                                                             12      Do you see that?
13   Q So this patent discloses that the                                13 A I'm sorry. I heard it, but I missed which
14 bidirectional data network 28 and the broadcast                      14 paragraph we're in.
15 network 30 both transmit data in the form of data     01:00:12       15 Q Column 6, line 15.                          01:03:37
16 packets, right?                                                      16 A Yes, I see it.
17   A I can indirectly assume that based on this                       17 Q So Column 5 again is describing a certain
18 sentence.                                                            18 technique for generating packets, right? Data
19   Q Do you see any disclosure in the '907 patent                     19 packets?
20 where data that is transmitted over the data network 01:00:33        20      MR. KAPLAN: Object to form.                    01:03:54
21 or the broadcast network is not in the form of data                  21      Do you mean Figure 5?
22 packets?                                                             22 BY MR. PAK:
23      MR. KAPLAN: If you need to review the                           23 Q Yeah, I'm sorry. Let me rephrase.
24 patent, you can.                                                     24      Figure 5 is illustrating a specific technique
25 BY MR. PAK:                                                          25 for generating data in the form of data packets,      01:04:09
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 1 right?                                                         1 possible coexistence.
 2 A In this paragraph it's talking about a                       2      So, no, I don't see any figure -- the figures
 3 specific aspect of it, aspect of the redundancy                3 are focusing on byte patterns and headers and packet
 4 formatter, I think is what they're talking about               4 related stuff. But, again, this was not my purpose
 5 here.                                  01:04:35                5 for quoting this patent.                      01:07:24
 6 Q Right. But, generally speaking, Figure 5 is                  6      MR. PAK: Okay. I want to transition away
 7 talking about data packets, correct? It's talking              7 from discussing data networks and talk about some of
 8 about data in the form of data packets.                        8 the other terms in your declaration. Do you want to
 9       MR. KAPLAN: Object to form.                              9 take another break or just power through it?
10       THE WITNESS: It is. I'm just looking a         01:04:50 10      Why don't we take a break and come back in        01:07:47
11 little further down where it says it's illustrative           11 ten minutes. Is that okay?
12 for example purposes. "Other computations may be              12      THE VIDEOGRAPHER: Does anybody need more
13 used" -- this is line 30 of the same column.                  13 time than that?
14       So there are examples that involve packets, I           14      We can go off the record. We're off the
15 agree with that. But they're also saying there are 01:05:20 15 record at 1:07 p.m.                            01:07:55
16 other ways.                                                   16      (Lunch recess.)
17 BY MR. PAK:                                                   17      THE VIDEOGRAPHER: We are on the record at
18 Q Okay. And then Column 7, second paragraph,                  18 1:43 p.m.
19 it says:                                                      19 BY MR. PAK:
20           "Figure 6 shows an exemplary data         01:05:31 20 Q So far we talked about various examples of 01:43:32
21       structure 110 for data packet formed                    21 data networks and local area networks. And I just
22       by packet encoder 52 and redundancy                     22 want to run by one more example with you to further
23       formatter 54."                                          23 understand what local area network means to a person
24       Do you see that?                                        24 of ordinary skill in the art.
25 A I see it.                              01:05:42             25      So the question here is, if -- if someone     01:43:49
                                                          Page 150                                                             Page 152

 1 Q So we have Figure 4 is also talking about                     1 used two cups on a string to communicate with
 2 data packets, right?                                            2 another person, does that amount to communicating
 3 A Figure 6, you mean?                                           3 over a local area network?
 4 Q I'm sorry. So Figure 6 is also talking about                  4 A I thought we covered this in the morning.
 5 data packets, right?                         01:06:02           5 Q Yeah, we --                                 01:44:01
 6 A Yes, it is. It's showing the structure. If                    6 A I think we talked about it --
 7 you have data packets, this is what they should look            7 Q Yeah, in the context of data network, but we
 8 like.                                                           8 haven't talked about it in the context of a local
 9 Q And the top of column 8, it says:                             9 area network.
10           "Figure 7 shows exemplary steps          01:06:12    10 A I mean, honestly, don't take it personally. 01:44:10
11       in a method for receiving data packets                   11 It's a little bit of a silly example, over a string,
12       transmitted over a unidirectional                        12 but I guess if we -- if we use the definition that a
13       network."                                                13 person would use for networks, this is taking
14       Do you see that?                                         14 acoustic data and converting it to mechanical form
15 A Yes.                                  01:06:20               15 and then -- to transmit, and then converting it back 01:44:40
16 Q So Figure 7 is talking about data packets,                   16 to acoustical at the other end. So in that sense,
17 correct?                                                       17 it is a data network.
18 A Yes.                                                         18       The criteria I use for whether it's a local
19 Q So are there any figures in the '907                         19 area network is you have to have something to
20 patent -- in the '907 patent that doesn't talk about 01:06:32 20 compare it to. So stretching the string out to a 01:45:00
21 data packets?                                                  21 much larger area would produce a wider area string
22       MR. KAPLAN: Object to form.                              22 network, and this would be a local area network. So
23       THE WITNESS: My reference to this patent was             23 I think all those definitions are consistent.
24 not to address the data packet or not issue. It was            24 Q So communicating using a string, two cups on
25 to address unidirectional and bidirectional and       01:06:55 25 a string, would amount to a local area network in 01:45:28
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 1 your opinion?                                                             1      does not resolve the debate relating
 2      MR. KAPLAN: Objection. Mischaracterizes                              2      to the use of the term 'particular.'"
 3 testimony. Asked and answered.                                            3   Q Okay. So I want to take a look at the
 4      THE WITNESS: Local -- the word "local" only                          4 prosecution history of the 615 patent. And just
 5 makes sense if there's something else to compare it        01:45:43       5 give me a minute to introduce the exhibit.         01:48:18
 6 to that is bigger or smaller.                                             6      Okay. So I've just uploaded here an exhibit
 7      And so, as I say, if there's a larger                                7 marked as Exhibit 12.
 8 distance with bigger string, that would be a wide                         8      Do you see that?
 9 area network on a string and then this would be                           9   A Yes.
10 called local if it was a smaller one. But by           01:45:58          10      (Exhibit 12 was marked for identification
11 itself, it's hard to say because you need a                              11   electronically and is attached hereto.)
12 comparison.                                                              12 BY MR. PAK:
13 BY MR. PAK:                                                              13   Q Do you recognize this document?
14   Q Right. So depending on the length of the                             14   A Yes.
15 string that connects the two cups, right, someone         01:46:08       15   Q Okay. So this is Appendix N of Dr. Schmidt's 01:48:56
16 that uses two cups on a string to communicate with                       16 declaration, right?
17 another person, that would amount to communicating                       17   A Yes.
18 over a local area network, correct?                                      18   Q You know, before we get into his response,
19      MR. KAPLAN: Same objections.                                        19 you know, just generally speaking, why do you think
20      THE WITNESS: Well, I guess same answer. It             01:46:24     20 an applicant would amend its claims during           01:49:14
21 depends. There's no -- there's no length of the                          21 prosecution?
22 string that would be -- there's no size of the -- of                     22      MR. KAPLAN: Object to form.
23 an actual LAN that we can say if you go past this,                       23      THE WITNESS: This sounds like a legal
24 you're no longer local area. It's -- as we saw,                          24 question to me.
25 LANs cover from a building to a hotel to a campus to 01:46:44   25               I don't know. Because of an error, because     01:49:40
                                                          Page 154                                                                        Page 156

 1 a wide area complex.                                                      1 of additional facts, a response to the examiner.
 2     Same for this. It's a local area network                              2 Those are some reasons I can think of.
 3 compared to something that is a longer distance, for                      3 BY MR. PAK:
 4 example, but I can't give you a number.                                   4   Q Can you think of any other reasons why an
 5 BY MR. PAK:                                01:47:03                       5 applicant would amend its claims during prosecution? 01:49:57
 6 Q Sure. But if the string is -- so you're                                 6      MR. KAPLAN: Object to form.
 7 saying that depending on the length of the string,                        7      THE WITNESS: No.
 8 communicating using two cups attached to that string                      8 BY MR. PAK:
 9 can either be a local area network or a wide area                         9   Q Well, look at this office action response.
10 network then, correct?                      01:47:18                     10      Do you think the applicant here amended its     01:50:21
11 A Yeah, sure.                                                            11 claims to overcome the cited references?
12 Q Okay. So I want to go on to talk about the                             12   A It's hard for me to speak on behalf of the
13 media particular playback system term. And if you                        13 applicant, the reasons that they had. I can only
14 take a look at paragraph 58 of your declaration. So                      14 speak as to, you know, what I see written here.
15 we're going back to Exhibit 9.                 01:47:39                  15      Is there a specific section you want me to    01:50:51
16 A Yes.                                                                   16 look at?
17 Q Would you please read paragraph 58 for the                             17   Q Yeah, so how about we take a look at the
18 record.                                                                  18 remarks on PDF page 15.
19 A Yes.                                                                   19   A Okay.
20         "I disagree with Dr. Schmidt that       01:47:51                 20   Q All right. Again, the summary of the office      01:51:10
21     a POSITA would understand the media                                  21 action, it says:
22     particular playback system of Claims                                 22         "In the non-final office action
23     3, 15 or 26 to mean media playback                                   23      mailed July 15, 2016, the examiner
24     system. I have reviewed the                                          24      rejected Claims 1, 6 through 10, 15
25     prosecution history, but find that it      01:48:04                  25      through 19, and 21 through 29 under           01:51:22
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 1      pre-AIA 35 U.S.C. Section 1038, as                       1 A I do.
 2      being allegedly unpatentable over                        2 Q Okay. And this is one of the patent
 3      DaCosta in view of Dua."                                 3 publications that was cited in the non-final office
 4      Do you see that?                                         4 action mailed July 25th, 2016. Correct?
 5 A I see it.                            01:51:39               5 A Yes.                                    01:55:06
 6 Q And there are some other, you know, 103                     6 Q Okay. And you reviewed this reference,
 7 rejections with respect to Claims 3, 12 and 20,               7 right?
 8 correct?                                                      8 A As I said, I read through it but mostly
 9 A Yes.                                                        9 looked at the comments. So I didn't review it in
10 Q Okay. And then looking at Section 3, the          01:51:46 10 the same way that I would review an actual patent in 01:55:21
11 response to the 103 rejections, the second sentence          11 this case, but I -- I'm familiar with it.
12 says:                                                        12 Q Sure, that's fair.
13          "For at least the reason that                       13      I want to take a look at paragraph 57, so on
14      cited references do not teach the                       14 PDF page 24. Would you please read the second
15      subject matter currently recited by        01:52:11     15 sentence in paragraph 57.                       01:55:47
16      applicant's claims, the pending 103                     16 A The second sentence?
17      rejections should be withdrawn."                        17 Q Yes.
18      Do you see that?                                        18 A Okay.
19 A I see it.                                                  19         "The term 'media player'
20 Q Okay. And let's take a look at Claim 1 on         01:52:21 20      generally refers to electronic devices        01:56:04
21 PDF page -- PDF page 3.                                      21      that are capable of processing media
22      Do you see that the applicant amended                   22      such as audio, video, images,
23 Claim 1, right?                                              23      presentations, animation, and internet
24 A Is this the paragraph numbered 2?                          24      content, for example, cellular phones,
25 Q I'm taking -- I'm looking at the amendments 01:52:5325             personal digital assistants (PDAs),           01:56:17
                                                        Page 158                                                           Page 160

 1 to the claims on PDF page 3.                                  1     music players, game players, video
 2 A Oh, sorry, 3.                                               2     players, cameras and the like."
 3      I see it, yes.                                           3 Q Okay. And I want to skip to paragraph 142
 4 Q Do you think the applicant here amended                     4 now. It's on PDF page 32.
 5 Claim 1 to overcome the cited references?           01:53:05 5 A Yes.                                  01:56:41
 6 A So I probably looked through the cited                      6 Q Would you please read that first sentence on
 7 references, but I don't have them at the tip of my            7 paragraph 142.
 8 tongue at the moment to be able to answer that                8 A Yes.
 9 accurately.                                                   9         "Finally, the device's media
10 Q Okay. Did you review any of the cited             01:53:26 10     processing capabilities 461 are listed      01:56:47
11 references?                                                  11     in the RFID transmission data 450.
12 A I read through them. I wouldn't say that I                 12     This is" --
13 reviewed them in the same way that I reviewed the            13 Q Actually, please keep going. Read the second
14 patents.                                                     14 sentence.
15 Q Okay. So, again, I want to -- how about I         01:53:41 15 A                                    01:56:58
16 introduce one of the cited references and discuss            16         "This information indicates the
17 that. Just give me a minute.                                 17     device's ability to process media
18      I just uploaded an exhibit and marked it as             18     assets that are in specific formats."
19 Exhibit 13.                                                  19 Q Okay. And the patent further discusses some
20      Do you see that?                      01:54:24          20 example media formats, correct?                 01:57:11
21 A Yes.                                                       21 A Correct.
22      (Exhibit 13 was marked for identification               22     MR. KAPLAN: Object to form.
23 electronically and is attached hereto.)                      23     THE WITNESS: It does.
24 BY MR. PAK:                                                  24 BY MR. PAK:
25 Q Do you recognize this document?                  01:54:35 25 Q And looking at paragraph 143, could you            01:57:18
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 1 please read the first sentence.                                             1       THE WITNESS: Well, under audio, they list
 2   A                                                                         2 specific formats for that audio, but not all
 3            "This type of information allows                                 3 possible. So I think "any" might be too broad
 4         media player 100 to only transmit                                   4 because they don't list -- it's hard to say.
 5         media assets which are supported by              01:57:28           5 BY MR. PAK:                                   02:00:11
 6         the target devices."                                                6 Q All right. But Dua discloses a media player
 7   Q Would you please read the second sentence in                            7 that can play different types of multimedia, right?
 8 full.                                                                       8 A Right, different types of audio, different
 9   A Oh, sure.                                                               9 types of video, and graphics.
10            "This information also                 01:57:38                 10 Q Okay. So now let's go back to the office            02:00:32
11         allows either or both of the target                                11 action response, Exhibit 12.
12         device and media player 100 to convert                             12       And I want to take a look at Claim 3. And
13         media assets into supported formats                                13 it's on PDF page 4.
14         before transmission to the other when                              14       Do you see that?
15         required."                            01:57:59                     15 A Yes.                                    02:00:59
16   Q Okay. So based on, you know, these -- this                             16 Q What amendments did the applicant make to
17 disclosure that we -- that I just had you read, do                         17 Claim 3?
18 you agree that Dua disclosed a media player that can                       18       MR. KAPLAN: Object to form.
19 play particular media formats?                                             19       THE WITNESS: I'm sorry, Claim 3, PDF page 4
20   A Yes.                                  01:58:20                         20 starts -- is a half paragraph. No, no, sorry.      02:01:15
21   Q Do you agree that Dua disclosed a media                                21 BY MR. PAK:
22 player that can play particular types of media?                            22 Q Yeah, so Claim 3, you know, starts from PDF
23   A They disclosed a --                                                    23 page 4 and ends at PDF page 5, right?
24         MR. KAPLAN: Object to form.                                        24 A Yes.
25         THE WITNESS: They disclosed a -- the ability 01:58:33              25 Q Okay. So what -- so looking at the                02:01:33
                                                           Page 162                                                                         Page 164

 1 to play back multiple different types of media.                             1 amendments to Claim 3, could you please walk through
 2         I think that's what you're asking, yes?                             2 all the amendments the applicant made in this office
 3 BY MR. PAK:                                                                 3 action response.
 4   Q Right. So just to clarify, so does -- do you                            4      MR. KAPLAN: Objection. The document speaks
 5 agree Dua discloses a media player that can play             01:58:48       5 for itself.                           02:01:50
 6 particular types of media?                                                  6      THE WITNESS: I assume it's the underlined
 7         MR. KAPLAN: Object to form.                                         7 words of the amendment.
 8         THE WITNESS: I guess I'm trying to                                  8 BY MR. PAK:
 9 understand how you're using the word "particular"                           9   Q Yeah. So, you know, I'm not trying to trick
10 here.                                    01:59:13                          10 you here. So the underlined -- the underlined words 02:01:59
11         It's -- they list a number of media by                             11 represent words that were added.
12 example, but it's not clear to me that they're                             12   A Okay.
13 excluding others. So I'm not sure how to answer                            13   Q And the strike -- and the strike through
14 that.                                                                      14 represents terms, phrases that were deleted.
15 BY MR. PAK:                                       01:59:27                 15      So I really just want, you know, to go over     02:02:14
16   Q Yeah, so let me reword this.                                           16 all the amendments. You know, can you walk through
17         Does Dua disclose a media player that can                          17 what amendments were made.
18 play audio?                                                                18   A Sure. So they added the word "particular" in
19   A Yes.                                                                   19 several places. "Particular playback device."
20   Q Does Dua disclose a media player that can                01:59:39      20 "Media particular playback system."                02:02:36
21 play video?                                                                21      And then "wherein the first zone includes the
22   A Yes.                                                                   22 particular playback device."
23   Q So Dua discloses a media player that can play                          23      So all the additions have to do with
24 any particular type of media, right?                                       24 "particular" except for the last one that they
25         MR. KAPLAN: Object to the form.                   01:59:55        25 added, "playing back multimedia content in             02:02:55
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 1 synchrony."                                                               1 amended "media playback system" to "media particular
 2      And then they removed "initiating playback"                          2 playback system"?
 3 in two locations.                                                         3      MR. KAPLAN: Object to form. Scope.
 4   Q Okay. So looking at the amendments to                                 4      THE WITNESS: So are you asking if I had read
 5 Claim 3, do you agree that the applicant added the         02:03:13       5 this without the word "particular" in the amendment, 02:06:05
 6 word "particular" in front of the word "playback"                         6 would I still have the same opinion? Is that --
 7 throughout Claim 3?                                                       7 BY MR. PAK:
 8   A Yes, except for one location, second to the                           8   Q Yeah. So, you know, before this claim was
 9 last line.                                                                9 amended, right, you know, it used the term "media
10      MR. KAPLAN: Object to form.                       02:03:34          10 playback system" instead of "media particular           02:06:19
11      THE WITNESS: Actually in a couple places.                           11 playback system," right?
12 It's not every "playback" that has "particular."                         12   A Right.
13 It's selective. The word "particular" was not added                      13   Q So before Claim 3 was amended to use --
14 in front of every time "playback" appears. Only                          14 amended to use "media particular playback system,"
15 some.                                   02:03:53                         15 would a person of ordinary skill in the art           02:06:35
16 BY MR. PAK:                                                              16 understand Claim 3? That's what I'm trying to ask.
17   Q Well, the word "particular" was -- all right,                        17   A Right. Probably. Although I'm kind of
18 I see.                                                                   18 reforming an opinion by just quickly reading through
19      So where it says "at least one additional                           19 this paragraph, but I'm just reading it as if the
20 playback device," you're saying it doesn't say "at        02:04:02       20 word "particular" isn't there, and it would just be    02:07:13
21 least one additional particular playback device."                        21 "media playback," right?
22 Is that right?                                                           22   Q Right. So if you substituted the "particular
23   A Oh, that wasn't the only -- the second to                            23 playback system" back to "media playback system," a
24 last line of the previous page, where it says                            24 person of ordinary skill in the art would understand
25 "control playback by the playback device," they did         02:04:22    25 Claim 3, correct?                            02:07:29
                                                                  Page 166                                                                  Page 168

 1 not add the word "particular" there.                                      1 A Well, but they didn't have "media playback
 2   Q Is "media playback system" a broader term                             2 system" in Claim 3. It's not like they substituted.
 3 than "media particular playback system"?                                  3 They just added the word "particular" in front of
 4   A That's --                                                             4 "playback," right?
 5      MR. KAPLAN: Object to form.                       02:04:41           5      Am I reading that correctly?              02:07:46
 6      THE WITNESS: That's the part that was                                6 Q Yeah. Well, it says "a media particular
 7 difficult to ascertain. So that is one way to                             7 playback system," right, currently, as amended?
 8 interpret that, that it plays back only particular                        8      Do you see that?
 9 media.                                                                    9      How about you read the first four lines of
10      The other one is that there's all kinds of       02:04:56           10 the claim before you get to the "wherein" clause.     02:08:21
11 playback systems, and I provided an example. It                          11 A Wait, I'm sorry, am I looking at the same
12 plays -- records and plays back other kind of data                       12 paragraph?
13 that is not media. And this would be particular to                       13 Q Yes, it's --
14 media.                                                                   14 A This is the bottom of page 3 in the document,
15      So it can be particular to all kinds of         02:05:08            15 that paragraph, right?                     02:08:35
16 media, particular to one media, or a typographical                       16 Q Right. So let me read -- let me read Claim 3
17 error, as was indicated by Sonos. I couldn't tell                        17 as amended.
18 which of those three -- and there may be others.                         18 A Okay.
19 And that was the reason for my opinion.                                  19 Q It says:
20 BY MR. PAK:                                    02:05:26                  20         "The method of Claim 1 wherein            02:08:40
21   Q Sure. So before Claim 3 was amended in this                          21      detecting the set of inputs to
22 office action response, do you think Claim 3 was                         22      transfer playback from the control
23 indefinite?                                                              23      device to the particular playback
24      So, you know, let me ask it this way. Do you                        24      device comprises detecting a set of
25 think Claim 3 was indefinite before the applicant         02:05:42       25      inputs to transfer playback from the        02:08:52
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 1      control device to a particular zone                               1 of media formats and different types of media?
 2      group of a media particular playback                              2      MR. KAPLAN: Objection. Asked and answered.
 3      system that includes a first zone and                             3      THE WITNESS: Yeah, I don't know the strategy
 4      a second zone."                                                   4 they had in amending the claim.
 5      Do you see that?                       02:09:01                   5 BY MR. PAK:                                    02:12:48
 6 A Yes.                                                                 6   Q But do you agree with me that amending "media
 7 Q Okay. Before that -- before that claim                               7 playback system" to "media particular playback
 8 limitation was written, right, it said "a media                        8 system" would not overcome the teachings of Dua?
 9 playback system," not "a media particular playback                     9      MR. KAPLAN: Object to form.
10 system," correct?                          02:09:18                   10      THE WITNESS: It depends how they conceive -- 02:13:07
11 A Correct.                                                            11 or perceive the word "particular". If they were
12 Q So if we changed "a media particular playback                       12 trying to make this broader than the formats that
13 system" back to "a media playback system," would a                    13 Dua was listing, then maybe that was their strategy.
14 person of ordinary skill in the art understand what                   14 So in their mind, they're trying to say it's
15 Claim 3 means?                               02:09:35                 15 broader.                                02:13:26
16 A The problem is I was assuming your question                         16      But, again, I don't -- I don't know why they
17 meant to remove all "particulars." But you're                         17 used the word "particular".
18 saying just to remove the one?                                        18 BY MR. PAK:
19      I think I can agree that "media playback" is                     19   Q What does it mean to play a particular media
20 more general than "media particular."               02:10:30          20 format?                                 02:13:43
21 Q Right. So you understand this claim -- you                          21   A To play a particular media format? It means
22 understand Claim 3 if it didn't say "media                            22 the system is instructed to start playing that
23 particular playback system" and instead it said                       23 format, that content in that format.
24 "media playback system," correct?                                     24   Q So does Dua disclose a system that's
25 A I would understand it better, yes.              02:11:01            25 instructed to start playing a particular media       02:14:17
                                                              Page 170                                                                  Page 172

 1   Q Do you think the applicant amended "media                          1 format?
 2 playback system" to "media particular playback                         2    A He does. And he lists examples of those
 3 system" to overcome the cited references?                              3 formats.
 4   A I don't know how to answer that. You'd have                        4    Q What does it mean to play a particular type
 5 to ask the applicant.                      02:11:25                    5 of media?                                 02:14:35
 6   Q Well, we talked about the Dua reference,                           6    A Isn't that the same answer -- or the same
 7 right?                                                                 7 question? I'm not sure -- as opposed to the format
 8   A Yes.                                                               8 you mean?
 9   Q And the Dua reference disclosed a media                            9    Q Yeah. So, you know, there's -- you can play
10 player that can play particular media formats,        02:11:33        10 a particular type of media format, right, and that        02:14:55
11 right?                                                                11 would be like an MP3 or 4 and the like, correct?
12   A Right.                                                            12 But you can also play a particular type of media,
13   Q And we talked --                                                  13 which could be video or audio, text and the like,
14   A But there are many ways to respond to it. So                      14 correct? Do you follow?
15 I don't know if that was the only reason, is what     02:11:51        15    A Yes.                               02:15:13
16 I'm trying to say. I can't put myself in their                        16      MR. KAPLAN: Object to form.
17 shoes.                                                                17 BY MR. PAK:
18   Q Right. But you understand that Dua discloses                      18    Q Okay. So in that context, does Dua disclose
19 a media player that can play different kinds of                       19 a system that can play a particular type of media?
20 media formats and different types of media, right?      02:12:08      20    A He discloses several types of media,            02:15:40
21   A Yes.                                                              21 pictures, images, PowerPoint presentations, audio,
22   Q So why do you think the applicant amended                         22 video. Yes.
23 "media playback system" to be a particular system --                  23    Q So when the applicant amended "media playback
24 "a media particular playback system" if Dua already                   24 system" to "media particular playback system," would
25 teaches a media player that can play different kinds 02:12:28     25 you agree with me that amending "media playback                   02:16:11
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 1 system" to "media particular playback system" would                       1   Q Right.
 2 not overcome the teachings of Dua?                                        2   A Paragraph 3?
 3      MR. KAPLAN: Objection. Asked and answered.                           3   Q Yeah. And looking at Claim 3, you're not
 4      THE WITNESS: I mean, that's a tough call.                            4 entirely sure why the applicant amended "media
 5 That's why we have examiners, right? I don't know         02:16:31        5 playback system" to "media particular playback          02:19:12
 6 if I can make that call.                                                  6 system," correct?
 7 BY MR. PAK:                                                               7   A I'm not sure, no.
 8   Q Well, are there any other reasons why the                             8   Q But you do understand that Dua discloses a
 9 applicant would amend "media playback system" to                          9 media particular playback system, correct?
10 "media particular playback system"?                  02:16:53            10   A Correct. But I guess the question is, is        02:19:29
11   A Other than trying to respond to the examiner                         11 that the only way to respond to that rejection?
12 or -- as I said, you know, that would be one reason.                     12 Without being the applicant and knowing more, I
13 Or they thought they had made an error and they're                       13 couldn't answer that.
14 trying to correct it. Those are the two main                             14      But it was a response presumably to address
15 reasons in my head.                         02:17:10                     15 the concern. That doesn't make it the correct        02:19:42
16   Q Okay. So take a look at PDF page 15 again,                           16 response. It's a response.
17 "Summary of the Office Action".                                          17   Q Right. And the only other reason why an
18   A Yes.                                                                 18 applicant would amend its claims, other than
19   Q In the "Summary of the Office Action," it                            19 responding to an examiner, would be to correct an
20 talks about 103 rejections, correct?               02:17:34              20 informality, such as a typographical error, correct? 02:19:59
21   A Yes.                                                                 21      MR. KAPLAN: Object to form.
22   Q Do you see any other rejections?                                     22 Mischaracterizes. Leading.
23   A I'm sorry, can you remind me what the 103                            23      Go ahead.
24 rejection is?                                                            24      THE WITNESS: Those are two reasons I have
25   Q Yeah. So 103 rejection is an obviousness           02:17:48       25 off the top of my head. I mean, there could be           02:20:12
                                                                Page 174                                                                   Page 176

 1 type rejection.                                                           1 other reasons that I'm not -- I don't think those
 2      There's also 102 type rejections, which could                        2 are the only two reasons to list.
 3 be anticipation -- anticipatory type rejections,                          3 BY MR. PAK:
 4 right?                                                                    4   Q Sitting here today, can you think of any
 5      And then you also have 112 rejections, which       02:18:02          5 other reasons why an applicant would amend its          02:20:24
 6 might have to do with, you know, formality of the                         6 claims other than those two reasons?
 7 claims or, you know, maybe the patent lacks written                       7   A I don't know. The marketing department
 8 description of enablement and the like. Or it might                       8 decided that it would be important to have certain
 9 be indefinite, right?                                                     9 words in the patent?
10   A Right. Okay.                           02:18:18                      10      I'm thinking -- I'm trying to think of other   02:20:41
11   Q All right. So with that understanding here,                          11 reasons. There could be a lot of other reasons. It
12 do you see in the Summary of the Office Action there                     12 depends. They become a public record, obviously, so
13 are only 103 rejections, right?                                          13 that could be another reason.
14   A Right.                                                               14   Q Why do you think the applicant would amend
15   Q And you don't see any 112 rejections,             02:18:28           15 "media playback system" to "media particular           02:20:59
16 correct?                                                                 16 playback system" if amending "media playback system"
17   A Correct.                                                             17 to "media particular playback system" would render
18   Q So the -- so the applicant here was                                  18 the claim indefinite, in your opinion?
19 responding to the examiner's 103 rejections in the                       19   A Well, I don't think they asked me my opinion,
20 non-final office action of July 25, 2016, correct?     02:18:44          20 so how would they know that this would become an          02:21:22
21      MR. KAPLAN: Object to form.                                         21 issue?
22      THE WITNESS: Yes. I presume that's what --                          22      At the time, I'm sure it made sense to them
23 the response that was written by the applicant,                          23 for some reason that we don't know, that I don't
24 right?                                                                   24 know.
25 BY MR. PAK:                                 02:18:56                     25   Q That's fair.                         02:21:31
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 1      Now, I want to go back to the '206 patent                         1 Q What are the example zones disclosed in
 2 now. It's Exhibit 10. And I want to take a look at                     2 column 8?
 3 column 8.                                                              3 A Bathroom, bedroom, den, dining room, family
 4   A Okay.                                                              4 room and foyer.
 5   Q Okay. And you don't have to read this out        02:22:11          5 Q Okay. And looking at column 8, line 29,             02:25:45
 6 loud, but could you please review lines 7                              6 could you please read that -- read the first three
 7 through 36.                                                            7 sentences.
 8   A 7 through 36?                                                      8 A Okay.
 9   Q Yeah. And then we can discuss.                                     9         "For instance, a Morning zone
10      And just let us know when you're finished.      02:22:35         10     scene/configuration command would link             02:26:09
11   A Okay.                                                             11     the bedroom, den and dining room
12   Q Okay. Does the '206 patent disclose two                           12     together in one action. Without this
13 mechanisms for grouping zone players?                                 13     single command, the user would need to
14      MR. KAPLAN: Object to the form.                                  14     manually and individually link each
15      THE WITNESS: I'm trying to see where it          02:23:34        15     zone. Figure 3A provides an                  02:26:21
16 says another mechanism. I see what it says, but it                    16     illustration of one zone scene where
17 starts -- the line starts with "One mechanism for                     17     the left column shows the starting
18 joining zone players."                                                18     zone grouping. All zones are
19 BY MR. PAK:                                                           19     separate. The column on the right
20   Q Sure. And what is that one mechanism?             02:23:46        20     shows the effects of grouping the             02:26:35
21   A It says:                                                          21     zones to make a group of three zones
22         "To link a number of zone players                             22     named after Morning."
23      together to form a group."                                       23 Q Okay. So I want to take a look at Figure 3A
24   Q And what does the '206 patent say that one                        24 now. It's on PDF page 8.
25 mechanism entails to link a number of zone players      02:24:07      25 A Yes.                                 02:27:06
                                                              Page 178                                                                    Page 180

 1 together to form a group?                                              1   Q So on the left side of the arrow, you know, I
 2 A So they -- one second.                                               2 see bathroom, bedroom, den, dining room, family room
 3          "The user may manually link each                              3 and foyer, right?
 4      zone player or room one after the                                 4   A Yes.
 5      other," sequentially presumably.          02:24:24                5   Q What do -- what does the left side of the         02:27:17
 6 Q So that's the -- that's the one mechanism                            6 arrow represent, or those rooms represent?
 7 disclosed in the '206 patent, right?                                   7   A Based on what we just read, they call them
 8 A Yeah.                                                                8 zones.
 9      MR. KAPLAN: Object to form.                                       9   Q And the right side of the arrow -- well, what
10 BY MR. PAK:                                02:24:37                   10 does -- what does the right side of the arrow          02:27:42
11 Q Is there another mechanism for linking a                            11 indicate in Figure 3A?
12 number of zone players together to form a group?                      12      MR. KAPLAN: Object to form.
13 A I guess you must be referring to line 23                            13      THE WITNESS: It's the same -- the same
14 perhaps:                                                              14 zones, but the -- but three of them have been put in
15          "According to one embodiment, a         02:24:57             15 a -- some kind of group. And that group is -- has       02:27:54
16      set of zones can be dynamically linked                           16 the bracket that indicates that it's called Zone
17      together using one command."                                     17 Configuration/Scene.
18      Is that the other mechanism that you're                          18 BY MR. PAK:
19 referring to?                                                         19   Q What are -- what are the three zones that are
20 Q Yes.                                02:25:16                        20 put into some kind of group?                       02:28:22
21 A Okay.                                                               21   A Bedroom, den and dining room.
22 Q So the '206 patent discloses example zones,                         22   Q Do you know what the name of that -- what the
23 correct?                                                              23 patent describes as -- let me start over.
24 A Right. They have a list of what they call                           24      What does the patent call this group that
25 zones and then some names, yeah.                 02:25:30             25 includes the three zones, bedroom, den and dining         02:28:49
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 1 room?                                                                        1   Q So with respect to Figure 3A, you know, the
 2   A Sorry, what was that column? Was it                                      2 group of three zones named after Morning, that's
 3 column 8?                                                                    3 referring to the Morning zone scene, correct?
 4   Q Yes, column 8.                                                           4      MR. KAPLAN: Object to form. Asked and
 5   A And it says "to make a group of three zones             02:29:03         5 answered.                                 02:31:52
 6 named after Morning." A little odd that the word                             6      THE WITNESS: Well, but it has -- in line 29
 7 "after" is there, but okay.                                                  7 it says "Morning zone scene/configuration," and then
 8   Q Yeah, go -- look at the sentence before. You                             8 in Figure 3A it says "zone configuration/scene," the
 9 know, it says:                                                               9 other way around.
10         "Figure 3A provides an                    02:29:32                  10      So I couldn't tell from this for sure without 02:32:13
11      illustration of one zone scene where                                   11 looking further if that is the definition of zone
12      the left column shows the starting                                     12 scene or not. It has additional stuff.
13      zone grouping. All zones are                                           13 BY MR. PAK:
14      separate. The column to the right                                      14   Q Right. But your understanding of a zone
15      shows the effect of grouping the zones            02:29:45             15 scene is that it's some kind of representation of a    02:32:28
16      to make a group of three zones named                                   16 grouping that has some additional attributes, right?
17      after Morning."                                                        17   A Yes, that's my best understanding. The
18      Right?                                                                 18 attributes having to do with what throughout the
19   A Right.                                                                  19 specification is called some kind of themes.
20   Q So looking at Figure 3A, the group of zones,            02:29:52        20   Q Why don't we take a look at column 10 of the          02:32:49
21 bedroom, den and dining room, that's an illustration                        21 patent.
22 of a zone scene, correct?                                                   22   A Okay.
23      MR. KAPLAN: Object to form.                                            23   Q And I want to look at line 21 here. It says:
24      THE WITNESS: So I didn't provide an opinion                            24           "Given a saved scene, a user may
25 on what a zone scene is. To define that here kind           02:30:26      25        activate the scene at any time or set          02:33:21
                                                                    Page 182                                                                     Page 184

 1 of on the fly would be a little premature, or I'd                            1       up a timer to activate the scene at
 2 have to look at it more.                                                     2       610."
 3      You know, reading through for the -- for the                            3       Do you see that?
 4 other opinions that I formed, I found that zone                              4 A I see it.
 5 scene represents some kind of grouping, but it has           02:30:43        5 Q After the user activates the scene, what does 02:33:29
 6 something additional, some kind of theme or                                  6 the '206 patent say happens next?
 7 attributes that go beyond a simple grouping.                                 7 A So they say "scene" here, which is not clear
 8      But, again, that's not a -- that's not an                               8 if they mean zone scene in their own language.
 9 official opinion yet.                                                        9 That's my first thought.
10 BY MR. PAK:                                      02:30:59                   10       But what -- you're saying what do they say 02:33:59
11   Q Okay. So, you know, looking at column 8, you                            11 in this sentence?
12 know, where we were before, and it says:                                    12 Q Yeah, so let's back up here.
13         "For instance, a Morning zone                                       13       And, you know, this is talking about with
14      scene/configuration command would link                                 14 respect to Figure 6, but at the -- you know, the
15      the bedroom, den and dining room                 02:31:14              15 first paragraph of column 10, says:               02:34:14
16      together in one action."                                               16          "The process 600 is initiated
17      Do you see that?                                                       17       only when a user decides to proceed
18   A Yes.                                                                    18       with a zone scene at 602."
19   Q And then, you know, as we discussed, it says:                           19       Do you see that?
20         "The column to the right shows               02:31:24               20 A Yes.                                   02:34:26
21      the effects of grouping the zones to                                   21 Q So when it talks about a scene at step 610,
22      make a group of three zones named                                      22 it's talking about a zone scene, correct?
23      after Morning."                                                        23       MR. KAPLAN: Object to form.
24      Do you see that?                                                       24       THE WITNESS: Probably, but why don't they
25   A I see.                               02:31:32                           25 just write it to make it clear? It's not -- most   02:34:50
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 1 likely is my answer.                                                       1 Q I think -- I think member -- so member here
 2 BY MR. PAK:                                                                2 is referring to devices or nodes on the network,
 3   Q Okay. So at 610, you know, I read this                                 3 right?
 4 before. It says:                                                           4 A Okay.
 5          "Given a saved scene, a user may           02:35:11               5 Q So you agree with me that after a user           02:37:36
 6       activate the scene at any time or set                                6 activates a zone scene, data is transported from a
 7       up a timer to activate the scene at                                  7 member, for example, a controller or a player, to
 8       610."                                                                8 other members in the zone scene, right?
 9       So what does the '206 patent say happens                             9 A Yes.
10 next?                                  02:35:25                           10 Q And what does that data that is transported 02:37:57
11   A After this action has happened?                                       11 from a member to another member pertain to?
12   Q Yes.                                                                  12 A Well, in the example they provide, it says it
13   A It's the next couple of sentences, right?                             13 pertains to a playlist and volumes. So we have to
14   Q So what does that say?                                                14 read it the way they say it, right?
15   A So line 24:                              02:35:44                     15 Q Yeah. So let's take a look at column 10,         02:38:23
16          "At 612, upon the activation of a                                16 lines 12 through 20. It starts with "In the example
17       saved scene, the process 600 checks                                 17 of Figure 1."
18       the status of the players associated                                18      Do you see that?
19       with the scene."                                                    19 A Yes.
20   Q Okay. So what does -- what does the patent           02:35:56         20 Q Could you please read the first two             02:38:35
21 say happens at step 614?                                                  21 sentences.
22   A                                                                       22 A
23          "At 614, commands are executed                                   23          "In the example of Figure 1, the
24       with the parameters, e.g., pertaining                               24      scene is saved in one of the zone
25       to a playlist and volumes."                02:36:11                 25      players and displayed on controller         02:38:43
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 1 Q And what is the next --                                                  1      142. In operation, a set of data
 2 A Yeah, go ahead?                                                          2      pertaining to the scene includes a
 3 Q Can you keep reading the next two sentences.                             3      plurality of parameters. In one
 4 A Yes.                                                                     4      embodiment, the parameters include,
 5           "In one embodiment, data,            02:36:23                    5      but may not be limited to,               02:38:56
 6       including the parameters, is                                         6      identifiers, e.g., IP address, of the
 7       transported from a member, e.g., a                                   7      associated players and a playlist.
 8       controller, to other members in the                                  8      The parameter may also include
 9       scene so that the players are caused                                 9      volume/tone settings for the
10       to synchronize an operation configured       02:36:34               10      associated players in the scene."          02:39:08
11       in the scene. The operation may cause                               11   Q Okay. So returning to my question, after a
12       all players to play back a song in                                  12 user activated a zone scene, there is some data that
13       identical or different volumes or to                                13 is transported from a member to another member in
14       play back a pre-stored file."                                       14 the scene, right?
15 Q So after a user activates a zone scene, data 02:36:51                   15      MR. KAPLAN: Object to form.                   02:39:27
16 is transported from a member to another member in                         16      THE WITNESS: That's what this paragraph
17 the zone scene, right?                                                    17 seems to describe, yes.
18       MR. KAPLAN: Object to form.                                         18 BY MR. PAK:
19       THE WITNESS: So what is a member here?                              19   Q Right. And that data that's transported from
20 BY MR. PAK:                                                               20 a member to another member is data pertaining to a       02:39:36
21 Q So a member here -- you know, you just read                             21 zone scene, correct?
22 it here. It says "transferred from a member, for                          22      MR. KAPLAN: Object to form.
23 example, a controller."                                                   23      THE WITNESS: Well, it's data -- it's a set
24       A member can also be a player, right?                               24 of parameters that they want to apply to that zone
25 A Okay.                                  02:37:24                         25 scene they're sending.                       02:39:58
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 1 BY MR. PAK:                                                                  1 repeat that.
 2   Q Right. So let me ask you this way.                                       2       So when you save a song on a computing
 3      So when a scene is saved in one of the zone                             3 device, you're saving a file that represents a song
 4 players and displayed on a controller, right, there                          4 in the computing device, correct?
 5 is some form of data pertaining to that zone scene        02:40:12           5    A No, I don't agree with that.                     02:43:17
 6 that gets saved in the zone player, right?                                   6       What is a song? That's an abstract -- the
 7      MR. KAPLAN: Object to form.                                             7 song is the file. So it's not a representation.
 8      THE WITNESS: This is not the data that we're                            8 It's the song. That is the file that you're saving.
 9 talking about here that's being sent to it. I'm not                          9    Q So when someone says -- so when a user
10 sure I understand.                           02:40:37                       10 decides to save a song, what happens under the hood, 02:43:40
11      There's a scene that's been created. And                               11 like, how does the computing device save a song?
12 this to me says that from -- the user can decide                            12    A The song --
13 from the controller to select that scene -- and I'm                         13       MR. KAPLAN: Object to the form.
14 paraphrasing -- and send these parameters that we                           14       THE WITNESS: Assuming the song is in digital
15 talked about to the zone players in that scene.         02:40:53            15 form, the computing device saves the song file which 02:44:02
16 BY MR. PAK:                                                                 16 contains a sequence of bits that, when played back,
17   Q Okay. So let's look -- let's relook at                                  17 are the song.
18 column 10, lines 12 to 15. It says:                                         18 BY MR. PAK:
19           "In the example of Figure 1, the                                  19    Q Yeah, so let me ask you it this way then.
20      scene is saved in one of the zone              02:41:08                20       When a user tries to save a song from a             02:44:27
21      players and displayed on controller                                    21 computer from an Ethernet interface, right, if --
22      142. In operation, a set of data                                       22 the user inputs a command to save the song, right?
23      pertaining to the scene includes a                                     23    A Yes.
24      plurality of parameters."                                              24    Q And the computing device receives that
25      Do you see that?                        02:41:18                       25 command to save a song, correct?                         02:44:57
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 1   A Yes.                                                                     1    A Yes.
 2   Q Now, when you save a zone scene in one of the                            2    Q How does the computing device or, you know --
 3 zone players, you're really saving data pertaining                           3 starting over here.
 4 to the zone scene in one of the zone players,                                4       What action does the computing device do to
 5 correct?                                 02:41:29                            5 actually save a song in the computing device?               02:45:14
 6      MR. KAPLAN: Object to form.                                             6       MR. KAPLAN: Object to form.
 7      THE WITNESS: I don't know. I don't know                                 7       THE WITNESS: Assuming the saving location
 8 what they're saving.                                                         8 has -- the saving location has been determined,
 9 BY MR. PAK:                                                                  9 which is the intermediate step, the computing device
10   Q Well, the zone player has to save some form           02:41:44          10 will start at the first bit and start writing it to    02:45:31
11 of data that represents the zone scene, right, if                           11 that location until it's finished. In memory or on
12 it's going to save a zone scene?                                            12 the hard drive somewhere.
13      MR. KAPLAN: Object to form.                                            13 BY MR. PAK:
14      THE WITNESS: I guess what I'm trying to                                14    Q So the computing device saves a song in the
15 figure out there is, isn't the zone scene the data     02:42:07             15 hard drive or memory, you know, in the form of a                 02:45:57
16 itself?                                                                     16 file, right?
17 BY MR. PAK:                                                                 17    A I don't know -- the song is a file. It
18   Q Well, let me ask -- let me ask you this way.                            18 sounds like you're saying the song is something else
19      When you want to save a song on your                                   19 and then it gets converted to a file, and that's
20 computer, some form of data is saved on that             02:42:27           20 just not the case.                           02:46:17
21 computer, right, that represents the song?                                  21       The song is the file. Without that, there's
22   A Well, it's the audio file that is the song.                             22 no song.
23   Q Right. So when you -- when you save a song                              23    Q Well, let me ask you this way.
24 on a computer, you're saving a -- you're saving a                           24       From a user perspective, right, a user would
25 file that represents a song and -- let me just        02:42:49              25 say that he or she plays a song, right? He or she          02:46:59
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 1 wouldn't say that he or she plays a file, right, or                           1   Q Okay. And during the break I uploaded the
 2 plays data?                                                                   2 '033 patent and marked it as Exhibit 14.
 3   A Well, that's the vernacular as opposed to the                             3      (Exhibit 14 was marked for identification
 4 actual technical. I could point you to a number of                            4   electronically and is attached hereto.)
 5 users in my department that would say they're             02:47:27            5 BY MR. PAK:                                 03:03:09
 6 playing a data file.                                                          6   Q Do you see that?
 7       So, I mean, I don't think that's -- I mean,                             7   A Just checking here.
 8 maybe a user would say that, but it doesn't make it                           8      Yes.
 9 technically correct.                                                          9   Q And you looked at the '033 patent, correct?
10   Q All right. Let's talk about this in the          02:47:49                10   A Yes, I did.                          03:03:26
11 context of Microsoft Word then.                                              11   Q I want to take a look at Claim 1 on PDF
12       When you save a Microsoft Word document,                               12 page 28.
13 right, what format does your computing device save a                         13      Could you please read the transmitting an
14 Microsoft Word document?                                                     14 instruction limitation that you mentioned in
15   A It is again a sequence of bits that -- the         02:48:13              15 paragraph 74 of your declaration.                 03:03:50
16 format is not open to us. It's a Microsoft internal                          16   A I'm still scrolling.
17 format. So I couldn't tell you what the file looks                           17   Q It's the second to the last page.
18 like. You can only reopen it by using their user                             18   A Yes. You want me to read the part that has
19 interface.                                                                   19 the transmitting the instruction?
20   Q When you save a Microsoft Word document,                 02:48:39        20   Q Yeah. How about -- how about you read the           03:04:13
21 you're saving some form of data, right?                                      21 transmitting an instruction limitation, you know,
22   A I mean, that's -- everything on your computer                            22 all the way -- all the way before the "wherein"
23 is data, so yes.                                                             23 clause.
24   Q And that data that is saved represents the                               24   A Okay. So line 53?
25 Microsoft Word document, right?                        02:49:12              25   Q Yeah, correct.
                                                                     Page 194                                                                   Page 196

 1   A I think it's the same thing. As I said                                    1 A
 2 before, it doesn't represent it, it is the Microsoft                          2         "Based on receiving the user
 3 Word document. It's not like you have another                                 3     input, transmitting an instruction for
 4 representation. It's the -- it's the only one, and                            4     at least one given playback device to
 5 it is the document.                          02:49:30                         5     take over responsibility for playback       03:04:35
 6       MR. PAK: Why don't we take a break now. I                               6     of the remote playback queue from the
 7 think we've been going on for a while. I don't have                           7     computing device."
 8 a whole lot left here. I know it's Friday. I don't                            8 Q Okay. Let's take a look at Claim 2,
 9 want to keep you here too long.                                               9 column 18. Could you please read Claim 2.
10       THE VIDEOGRAPHER: Off the record at                    02:50:06        10 A                                    03:04:47
11 2:50 p.m.                                                                    11         "The computing device of Claim 1
12       (Recess.)                                                              12     wherein the instruction comprises an
13       THE VIDEOGRAPHER: We are on record at                                  13     instruction for the cloud-based
14 3:02 p.m.                                                                    14     computing system associated with the
15 BY MR. PAK:                                    03:02:27                      15     media" --                          03:04:58
16   Q I want to take a look at paragraph 74 of your                            16           Sorry. Let me start over.
17 declaration.                                                                 17     "The computing device of Claim 1,
18   A Yes.                                                                     18     wherein the instruction comprises an
19   Q Would you please read the first sentence.                                19     instruction for the cloud-based
20   A                                    03:02:48                              20     computing system associated with the          03:05:10
21          "Claims 1 and 12 of the '033                                        21     media service to provide the data
22       patent recite transmitting an                                          22     identifying the next one or more" --
23       instruction, and Claims 2 and 3 recite                                 23     "the next one or more media items to
24       wherein the instruction comprises an                                   24     the given playback device for use in
25       instruction."                       03:02:56                           25     retrieving at least one media item         03:05:22
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 1      from the cloud-based computing system                     1      So in that sentence, you understand that
 2      associated with the cloud-based media                     2 wherein -- the term "wherein the instruction"
 3      service."                                                 3 recited in Claim 2 refers to transmitting an
 4 Q That's a pretty long claim, right?                           4 instruction term in Claim 1, right?
 5      So the instruction recited in Claim 2 is       03:05:38   5 A Yes. I agree with that.                       03:09:31
 6 referring to the instruction for at least one given            6 Q Okay. So the instruction recited in Claim 2
 7 playback device to take over responsibility for                7 is not referring to program instructions recited in
 8 playback of the remote playback queue from the                 8 Claim 1, correct?
 9 computing device recited in Claim 1, correct?                  9      MR. KAPLAN: Object to form.
10 A Yes.                                   03:06:14             10      THE WITNESS: I guess that's what I was              03:09:45
11 Q In other words, the instruction recited in                  11 trying to say before. It's referring to the -- to
12 Claim 2 is not referring to the program instructions          12 the instruction that we read in that clause of the
13 stored on the non-transitory computer readable media          13 claim. But it's still a program instruction.
14 as recited in Claim 1, correct?                               14 That's all I was trying to say.
15      MR. KAPLAN: Object to form.                     03:06:43 15      MR. PAK: Okay. I have no further questions. 03:10:02
16      THE WITNESS: I guess it's not clear what is              16 I appreciate your time, Dr. K.
17 the difference between the program instructions.              17      Thanks for your time as well, Marc.
18 Aren't they all instructions? I'm trying to                   18      MR. KAPLAN: Sure. I'm just thinking for a
19 understand the reference here.                                19 moment.
20 BY MR. PAK:                                   03:07:12        20      We'll reserve signature. And no questions         03:10:18
21 Q Does the instruction recited in Claim 2 refer               21 for me.
22 to an instruction for the at least one given                  22      THE VIDEOGRAPHER: We are off the record at
23 playback device to take responsibility for playback           23 3:10 p.m. This concludes today's testimony given by
24 on the remote playback queue from the computing               24 Dr. Chris Kyriakakis. Total media used was five and
25 device in Claim 1, or does it refer to the program 03:07:35 25 will be retained by Veritext Legal Solutions.            03:10:38
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 1 instructions recited in Claim 1?                              1
 2 A Well, that's the thing. They're all program                 2      I, CHRISTOS KYRIAKAKIS, do hereby declare
 3 instructions, right? So this instruction,                     3 under penalty of perjury that I have read the
 4 whichever -- whatever it's referring to, is a                 4 foregoing  transcript; that I have made any
                                                                 5 corrections as appear noted, in ink, initialed by
 5 program instruction, right? So I don't see the     03:07:56
                                                                 6 me, or attached hereto; that my testimony as
 6 difference necessarily.
                                                                 7 contained herein, as corrected, is true and correct.
 7 Q Well, Claim 1 recites an instruction for
                                                                 8      EXECUTED this _____ day of _______________,
 8 the at least one given playback device to take over           9 20____, at ______________________, ________________.
 9 responsibility for playback of the remote playback                            (City)           (State)
10 queue from the computing device, right?             03:08:16 10
11 A Right. But at the beginning of Claim 2 is                  11
12 program instructions, when executed by at least one          12
13 processor, cause the computing device to perform             13          ____________________________________
14 functions comprising -- and then a whole bunch of                              CHRISTOS KYRIAKAKIS
15 functions -- and then this instruction clause. So 03:08:35 14
16 it's --                                                      15
17 Q Well, let's look at paragraph 74 again in                  16
                                                                17
18 your declaration.
                                                                18
19 A Yes.
                                                                19
20 Q And you say that "Claim 1" -- I'm sorry:          03:08:49
                                                                20
21          "Claims 1 and 12 of the '033                        21
22       patent recite transmitting an                          22
23       instruction, and Claims 2 and 13                       23
24       recite wherein the instruction                         24
25       comprises an instruction."              03:09:04       25
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 1
 2
 3      I, the undersigned, a Certified Shorthand
 4 Reporter of the State of California, do hereby
 5 certify:
 6        That the foregoing proceedings were taken
 7 before me at the time and place herein set forth;
 8 that any witnesses in the foregoing proceedings,
 9 prior to testifying, were placed under oath; that a
10 record of the proceedings was made by me using
11 machine shorthand which was thereafter transcribed
12 under my direction; further, that the foregoing is
13 an accurate transcription thereof.
14        I further certify that I am neither
15 financially interested in the action nor a relative
16 or employee of any attorney of any of the parties.
17        IN WITNESS WHEREOF, I have this date
18 subscribed my name.
19
20 Dated: June 14, 2021
21
22
23                 <%5979,Signature%>
                   KATHLEEN E. BARNEY
24                 CSR No. 5698
25
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[zeroes - zoom]

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                  Federal Rules of Civil Procedure

                                    Rule 30



      (e) Review By the Witness; Changes.

      (1) Review; Statement of Changes. On request by the

      deponent or a party before the deposition is

      completed, the deponent must be allowed 30 days

      after being notified by the officer that the

      transcript or recording is available in which:

      (A) to review the transcript or recording; and

      (B) if there are changes in form or substance, to

      sign a statement listing the changes and the

      reasons for making them.

      (2) Changes Indicated in the Officer's Certificate.

      The officer must note in the certificate prescribed

      by Rule 30(f)(1) whether a review was requested

      and, if so, must attach any changes the deponent

      makes during the 30-day period.




      DISCLAIMER:        THE FOREGOING FEDERAL PROCEDURE RULES

      ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

      THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

      2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

      OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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      COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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               Appendix L
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           CS519: Computer
...
           Networks

           Lecture 1: Jan 24, 2004
           Intro to Computer Networking
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...   Lets start at the beginning...

                                                                                  rei41tj
      o What is a network for?
         •To allow two or more endpoints to
          communicate
      o What is a network?
         •Nodes connected by links
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...   Lets start at the beginning...

                                                                                   rei41tj
      o Is this a network?
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...   Lets start at the beginning...

                                                                                   rei41tj
      o Is this a network?




      o Of course it is!
          .Just not very interesting
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       Other "networks" (network
...
       topologies)
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...   What is adata network?

                                                                                  rei 41tj
      o The answer is NOT "a network that
        carries data"
         •Cause you can send "data" (e.g. afax)
          over the "voice network"
      o "Data network" is often aeuphemism
       for "packet network"
         •And "voice network" is often a
          euphemism for "circuit network"
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      Packet network versus circuit
...
      network
                                                                                   rei 41tj
      o Historically, acircuit network was a
        network that literally established a
        physical wired connection between
       two points
          •With relays, plus amplifiers and stuff
      o Before computers, this was the only
       way to do networks
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      Packet network versus circuit
...
      network
                                                                                  rei 41tj
      o But these days voice is modulated
        and digitized in numerous ways as it
       works through the network
         •Very few physical circuits
      o So nowadays we consider acircuit
        network one that appears to establish
        afixed "pipe" (amount of bandwidth)
        between two points
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...   Types of circuits

                                                                                  rei41tj
      o Synchronous time-division
        multiplexing (STDM)
         •Each circuit is given aslice of time
      o Frequency-division multiplexing
        (FDM)
         •Each circuit is given atransmission
          frequency
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      Packet network versus circuit
...
      network
                                                                                  rei 41tj
      o By contrast, a packet network allows
        small units of data (packets) to be
        individually sent to different
        destinations
      Case 3:21-cv-07559-WHA   Document 66-1   Filed 06/15/21   Page 132 of 258


      Packet network versus circuit
...
      network
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       Case 3:21-cv-07559-WHA   Document 66-1   Filed 06/15/21   Page 133 of 258


      Packet network versus circuit
...
      network
                                                                                   rei 41tj
      o So clearly packet switched is better
        than circuit switched, right?
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      Packet network versus circuit
...
      network
                                                                                   rei 41tj
      o So clearly packet switched is better
        than circuit switched, right?
      o Well, as with so much in this world, it
        depends
      o What if A and C try to talk exclusively
        to B at high speed at the same time?
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      Delay and packet loss in packet
...
      networks                      .

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                                                                     as




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 C 0             L,V     , PC,ckv,'rs                   Arc
                                                    lest
       Case 3:21-cv-07559-WHA   Document 66-1   Filed 06/15/21   Page 136 of 258


      Delay and packet loss in packet
...
      networks                       .
                                  rei 41tj
      o Can happen any time multiple links feed
        into asingle link
         •And incoming volume exceeds outgoing
           volume
      o Larger queues can reduce packet loss at
        the expense of more delay
      o Ultimately the sources have to slow down
        (congestion control)
      o By contrast, circuit networks can block
        (busy tone)
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...   Also Jitter

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...   Also Jitter

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...   Circuits versus packets

                                                  rei 41tj
      o Circuits are an all or nothing proposition
          • Give good quality, if you can get yourself a
            circuit in the first place
          • Efficient only if the application keeps the
            circuit full (i.e. avoice stream)
      o Packets are more flexible
          • Can send a little or alot
          • But other traffic can interfere at any time
          • More efficient when traffic is bursty
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      Can a packet network emulate
...
      a circuit?
                                            IPPPCS419 'I
      o After all, our STDM circuit sent data
        over the wire in "chunks"
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      Can apacket network emulate
...
      acircuit?
                                            IPPPCS419 'I
      o After all, our STDM circuit sent data
        over the wire in "chunks"
      o The answer is yes, it can
      o And indeed, the first packet networks
        offered "services" that very much
        emulated circuits
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...   One way to do it

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...   One way to do it

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                                                   CAèCS.


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               cfiS            It\&ye&              lbt\\L
      Case 3:21-cv-07559-WHA   Document 66-1   Filed 06/15/21   Page 145 of 258




...   But this has complications too
                                                                                  ii41U
                                                                                     -'




                                                                             Nk
                           00
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      "Datagram" versus "virtual
...
      circuit 55 networks
                                                                                   rei41tj
      o Both are packet networks
          •(We won't discuss pure circuit
           networks any more in this course)
      o Virtual circuit networks have the
        notion of call setup and blocking
          •But much more complex traffic models
           than our simple two-queue example
      o Datagram networks is how the
        Internet ultimately got built!
       Case 3:21-cv-07559-WHA   Document 66-1   Filed 06/15/21   Page 147 of 258


      But virtual circuit networks still
...
      important
                                           IPPPCS419 'I
      o We don't see virtual circuit networks
         to our desktop
          •Though this was the vision for many
           folks
      o But virtual circuit networks formed the
         unpinning of the Internet
          •Something called ATM
          •Being replaced with MPLS
      Case 3:21-cv-07559-WHA   Document 66-1   Filed 06/15/21   Page 148 of 258


      This class focuses on the
...
      Internet
                                                                                  rei41tj
      o Which is adatagram network
      o One big topic will be how queues in
        the Internet manage not to become
        hopelessly overloaded
         •Many of you know, the answer is TCP,
          but we'll look at this in detail
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...   Some terms introduced so far

                                                                                   rei 41tj
      o Network, node, link, queue
      o Circuit and packet networks
          •a.k.a. data and voice networks
      o Virtual circuit and datagram networks
      o Delay, latency, loss, drop, jitter,
        blocking
      Case 3:21-cv-07559-WHA   Document 66-1   Filed 06/15/21   Page 150 of 258




...   Bandwidth and Latency

                                                                                  rei 41tj
      o We looked at delay due to queuing
      o But there are three main components
       to delay:
         •Propagation delay
         •Transmit delay
         •Queuing delay
      Case 3:21-cv-07559-WHA   Document 66-1   Filed 06/15/21   Page 151 of 258


      Queuing, transmit, and
...
      propagation delays
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      Queuing, transmit, and
...
      propagation delays


                                                                        Queuing Delay




                                                                Propagation Delay




                                                                  Ba,ndwidth Delay
       Case 3:21-cv-07559-WHA   Document 66-1   Filed 06/15/21   Page 153 of 258




...   Total latency

                                                                                   rei41tj
      o Total latency =
          •Propagation + Transmit + Queue
      o Propagation =
          •Distance ISpeed of light
      o Transmit =
          •Packet size IBandwidth
       Case 3:21-cv-07559-WHA   Document 66-1   Filed 06/15/21   Page 154 of 258




...   Delay xBandwidth Product
                                                                                   IPPPCS419 'I
      o Refers to the number of bits you can have
        "in the pipe" at the same time
          • Or, how many bits you can stuff in the pipe
            before the first bit comes out the other end
          • Like hot water getting from the water heater
           to your shower!
      o As bandwidth increases (and distance
        doesn't change) this is becoming an issue
      Case 3:21-cv-07559-WHA   Document 66-1   Filed 06/15/21   Page 155 of 258


      An extreme (but realistic)
...
      Delay xBandwidth Example
                                                                                  rei 41tj
      o Coast-to-coast propagation delay
        l5ms
      oOC192 link = 10Gbps
      o 10 Gbps x l5ms = 150,000,000 bits =
        19 Mbytes = 7songs (MP3 files)
      oYou could stuff 7songs into an
       0C192 pipe at Boston before the first
       song starting arriving in LA!!!
       Case 3:21-cv-07559-WHA   Document 66-1   Filed 06/15/21   Page 156 of 258


      A more common
...
      Delay xBandwidth Example
                                                                                   rei 41tj
      o 5Oms coast to coast delay (mainly
       from queuing)
      o 100 Mbps Ethernet
      o This is about 600Kbytes ... still a
        decent sized file
      o Delay xBandwidth is starting to
        dominate our thinking about protocol
        performance
        Case 3:21-cv-07559-WHA   Document 66-1   Filed 06/15/21   Page 157 of 258


       Common provider bandwidth
...
       units

      o DSO = 64 Kbps
      o DSI = 1.544 Mbps
      o DS3 = 44.736 Mbps
      o 0C3 = 155.52 Mbps
      o 0012 = 622.08 Mbps
      o 0048 = 2.488 Gbps
      o 00192=9.953Gbps
      o 00768 = 39.813 Gbps
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      Bandwidth and throughput and
...
      goodput
                                                                                   rei41tj
      o Bandwidth is the maximum theoretical
        speed of a pipe
      o Throughput is the actual measured speed
         •Vague term because depends on where you
           measure
      o Goodput is the throughput seen by the
        application
         •Throughput over the pipe can be more than
           good put because of dropped and
           retransmitted packets, control packets, and
           headers
Case 3:21-cv-07559-WHA   Document 66-1   Filed 06/15/21   Page 159 of 258




               Appendix M
                                                                            (4




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  T.                                                               QRSth




   • Fully updated with 'the latest
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       Case 3:21-cv-07559-WHA                  Document 66-1            Filed 06/15/21           Page 162 of 258




                                                                                                                       data sharing


the parts of the system work in harmony so that data is              Data Over Cable Service Interface Specification n.
stored safely and accurately. Application programs man-              See DOCSIS.
age data by receiving and processing input according to
                                                                     data-overrun error n. An error that occurs when more
the user's commands, and sending results to an output
                                                                     data is being acquired than can be processed. See also bps.
device or to disk storage. The user also is responsible for
data management by acquiring data, labeling and organiz-             data packet n. See packet.
ing disks, backing up data, archiving files, and removing            data path n. The route that asignal follows as it travels
unneeded material from the hard disk.                                through acomputer network.
data manipulation n. The processing of data by means of              data point n. Any pair of numeric values plotted on a
programs that accept user commands, offer ways to handle             chart.
data, and tell the hardware what to do with the data.
                                                                     data processing n. 1. The general work performed by
data manipulation language n. In database manage-                    computers. 2. More specifically, the manipulation of data
ment systems, alanguage that is used to insert data in,              to transform it into some desired result. Acronym: DP.
update, and query adatabase. Data manipulation lan-                  Also called: ADP, automatic data processing, EDP, elec-
guages are often capable of performing mathematical and              tronic data processing. See also centralized processing,
statistical calculations that facilitate generating reports.         decentralized processing, distributed processing.
Acronym: DML. See also structured query language.
                                                                     Data Processing Management Association n. See
data mart it. A scaled-down version of adata warehouse               DPMA.
that is tailored to contain only information likely to be
                                                                     data projector n. A device, similar to aslide projector,
used by the target group. See also data warehouse.
                                                                     that projects the video monitor output of acomputer onto
data medium n. The physical material on which com-                   ascreen.
puter data is stored.
                                                                     data protection n. The process of ensuring the preserva-
data migration n. 1. The process of moving data from one             tion, integrity, and reliability of data. See also data integrity.
repository or source, such as adatabase, to another, usually
                                                                     data rate n. The speed at which acircuit or communica-
via automated scripts or programs. Often data migration
                                                                     tions line can transfer information, usually measured in
involves transferring data from one type of computer sys-
                                                                     bits per second (bps).
tem to another. 2. In supercomputing applications, the pro-
cess of storing large amounts of data off line while making          data record n. See record'.
them appear to be on line as disk-resident files.                    data reduction n. The process of converting raw data to
data mining n. The process of identifying commercially               amore useful form by scaling, smoothing, ordering, or
useful patterns, problems, or relationships in adatabase, a          other editing procedures.
Web server, or other computer repository through the use             data segment n. The portion of memory or auxiliary
of advanced statistical tools. Some Web sites use data               storage that contains the data used by aprogram.
mining to monitor the efficiency of site navigation and to
                                                                     Data Service Unit n. See DDS.
determine changes in the Web site's design based on how
consumers are using the site.                                        data set n. 1. A collection of related information made
                                                                     up of separate elements that can be treated as aunit in data
data model n. A collection of related object types, opera-
                                                                     handling. 2. In communications, amodem. See also
tors, and integrity rules that form the abstract entity sup-
                                                                     modem.
ported by adatabase management system (DBMS). Thus,
one speaks of arelational DBMS, anetwork DBMS, and                   Data Set Ready n. See DSR.
so on, depending on the type of data model aDBMS                     data sharing n. The use of asingle file by more than one
supports. In general, aDBMS supports only one data                   person or computer. Data sharing can be done by physi-
model as apractical rather than atheoretical restriction.            cally transferring afile from one computer to another, or,
data network n. A network designed for transferring                  more commonly, by networking and computer-to-computer
data encoded as digital signals, as opposed to avoice net-           communications.
work, which transmits analog signals.




                                                               144
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               Appendix N
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            IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


Applicant(s):         Robert A. Lambourne
Title:                Controlling and manipulating groupings in a multi-zone music or
                      media system
Serial No.:           60/825,407
Filing Date:          09/12/2006
Assignee:
Examiner:             Unknown
Group Art Unit:       Unknown
Docket No.:           RIN-022P


                                                                   October 4, 2006
Box Missing Parts
Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313

                Response to Notice to File Missing Parts of Application
                                Filing Date Granted

Dear Sir:

       A Notice to File Missing Parts of Provisional Application was received. The
Notice alleges that a cover sheet under 37 CFR1 .51 (c)(1) is missing. However, the
Applicant believes that such a cover sheet is enclosed at the time of filing the above-
referenced application. The Applicant enclosed herewith a copy of the originally filed
coversheet.

       37 CFR1 .51 (c)(1) states

(1) A cover sheet identifying:

   (i) The application as a provisional application (see line 4)
   (ii) The name or names of the inventor or
       inventors, (see§ 1.41(a)(2)),                (see line 13)
   (iii) The residence of each named inventor,      (see lines 15-16)
   (iv) The title of the invention,                 (see lines 9-10)
   (v) The name and registration number of
Case 3:21-cv-07559-WHA            Document 66-1       Filed 06/15/21      Page 165 of 258




   the attorney or agent (if applicable),               (thee-filing has generated the
                                                               information)
   (vi) The docket number used by the person
   filing the application to identify the application (if
   applicable),                                         (see line 21)
   (vii) The correspondence address, and                (the e-filing has generated the
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   (viii) The name of the U.S. Government
agency and Government contract number (if the
invention was made by an agency of the U.S. Government
or under a contract with an agency of the U.S.
Government);                                                (Not applicable)



       It is hereby respectfully submitted that the provisional application filed on
09/12/2006 is complete and justifies the US filing date of 09/12/2006.


       Please telephone the undersigned at (408)777-8873, if there are any
questions.


  I hereby certify that this correspondence is        Respectfully submitted;
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                                                      / joe zheng /
  Trademarks, Washington, DC 20231 ", on
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  e-filed                                             Reg.: No. 39,450

  Signature:/ joe zheng /
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         Case 3:21-cv-07559-WHA                 Document 66-1           Filed 06/15/21              Page 166 ofPage
                                                                                                                258 1 of2



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      APPLICATIONNUMBER              FILINGOR37I (c)DATE          FIRST NAMED APPLICANT               ATTORNEYDOCKETNUMBER
          60/825,407                     09/12/2006               Robert A. Lambourne                             RIN-022P

                                                                                                  CONFIRMATION NO. 1970
26797                                                                                                     FORMALITIES
SILICON VALLEY PATENT AGENCY                                                                              LETTER
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CUPERTINO, CA 95014


                                                                                                        Date Mailed: 09/26/2006



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below, however, are missing. Applicant is given TWO MONTHS from the date of this Notice within which to file all
required items and pay any fees required below to avoid abandonment. Extensions of time may be obtained by
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    • The provisional application cover sheet under 37 CFR 1.51(c)(1), which may be an application datasheet
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• To avoid abandonment, a surcharge (for late submission of filing fee or cover sheet) as set forth in 37 CFR
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       In the United States Patent and Trademark Office


                                    Provisional Application
 5
                                               for


        Controlling and manipulating groupings in a multi-zone
10                      music or media system


                                Inventor:    Robert A. Lambourne
                                             2970 Arriba Way
15                                           Santa Barbara, CA 93105
                                             Citizenship: United Kingdom



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                                File No.:    RIN-022P



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                                Electronic Acknowledgement Receipt

                      EFSID:                         1236677


               Application Number:                   60825407


              Confirmation Number:                   1970




                                                     Controlling and manipulating groupings in a multi-zone music or media
                Title of Invention:
                                                     system




              First Named Inventor:                  Robert A. Lambourne


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         Case 3:21-cv-07559-WHA                 Document 66-1           Filed 06/15/21                  Page 171 ofPage
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                                                                                                    CONFIRMATION NO. 1970
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       In the United States Patent and Trademark Office


                                    Provisional Application
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                                               for


        Controlling and manipulating groupings in a multi-zone
10                      music or media system


                                Inventor:    Robert A. Lambourne
                                             2970 Arriba Way
15                                           Santa Barbara, CA 93105
                                             Citizenship: United Kingdom



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 Case 3:21-cv-07559-WHA         Document 66-1      Filed 06/15/21     Page 174 of 258




       Controlling and manipulating groupings in a multi-zone
                       music or media system


5                       BACKGROUND OF THE INVENTION



     Field of the Invention


            The present invention generally relates to the area of consumer

     electronics, and more particularly, relates to techniques for controlling and

10   manipulating groupings in a multi-zone music or media system.


                 DETAILED DESCRIPTION OF THE PREFERRED

                                   EMBODIMENTS

            The detailed description of the invention, also in Appendix A and B,

     is presented largely in terms of procedures in terms of procedures, steps,

15   logic blocks, processing, and other symbolic representations that directly

     or indirectly resemble the operations of data processing devices coupled

     to networks. These process descriptions and representations are typically

     used by those skilled in the art to most effectively convey the substance of

     their work to others skilled in the art. Numerous specific details are set

20   forth in order to provide a thorough understanding of the present invention.

     However, it will become obvious to those skilled in the art that the present

     invention may be practiced without these specific details. In other

     instances, well known methods, procedures, components, and circuitry

     have not been described in detail to avoid unnecessarily obscuring

25   aspects of the present invention.




                                           2
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            Reference herein to "one embodiment" or "an embodiment" means

     that a particular feature, structure, or characteristic described in

     connection with the embodiment can be included in at least one

     embodiment of the invention. The appearances of the phrase "in one

5    embodiment" in various places in the specification are not necessarily all

     referring to the same embodiment, nor are separate or alternative

     embodiments mutually exclusive of other embodiments. Further, the order

     of blocks in process flowcharts or diagrams representing one or more

     embodiments of the invention do not inherently indicate any particular

10   order nor imply any limitations in the invention.

            Referring now to the drawings, in which like numerals refer to like

     parts throughout the several views. FIG. 1 shows an exemplary

     configuration 100 in which the present invention may be practiced. The

     configuration may represent, but not be limited to, a part of a residential

15   home, a business building or a complex with multiple zones. There are a

     number of multimedia players of which three examples 102, 104 and 106

     are shown as audio devices. Each of the audio devices may be installed

     or provided in one particular area or zone and hence referred to as a zone

     player herein.


20           As used herein, unless explicitly stated otherwise, an audio source

     or audio sources are in digital format and can be transported or streamed

     over a data network. To facilitate the understanding of the present

     invention, it is assumed that the configuration 100 represents a home.

     Thus, the zone player 102 and 104 may be located in two of the bedrooms

25   respectively while the zone player 106 may be installed in a living room.

     All of the zone players 102, 104 and 106 are coupled directly or indirectly


                                            3
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     to a data network 108. In addition, a computing device 110 is shown to be

     coupled on the network 108. In reality, any other devices such as a home

     gateway device, a storage device, or an MP3 player may be coupled to

     the network 108 as well.


5           The network 108 may be a wired network, a wireless network or a

     combination of both. In one example, all devices including the zone

     players 102, 104 and 106 are coupled to the network 108 by wireless

     means based on an industry standard such as IEEE 802.11. In yet

     another example, all devices including the zone players 102, 104 and 106

10   are part of a local area network that communicates with a wide area

     network (e.g., the Internet).


            Many devices on the network 108 are configured to download and

     store audio sources. For example, the computing device 110 can

     download audio sources from the Internet and store the downloaded

15   sources locally for sharing with other devices on the Internet or the

     network 108. The computing device 110 or any of the zone players can

     also be configured to receive streaming audio. Shown as a stereo system,

     the device 112 is configured to receive an analog audio source (e.g., from

     broadcasting) or retrieve a digital audio source (e.g., from a compact disk).

20   The analog audio sources can be converted to digital audio sources. In

     accordance with the present invention, the audio source may be shared

     among the devices on the network 108.


            Two or more zone players may be grouped together to form a new

     zone group. Any combinations of zone players and an existing zone

25   group may be grouped together. In one instance, a new zone group is



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     formed by adding one zone player to another zone player or an existing

     zone group.


             Referring now to FIG. 2A, there is shown an exemplary functional

     block diagram of a zone player 200 in accordance with the present

5    invention. The zone player 200 includes a network interface 202, a

     processor 204, a memory 206, an audio processing circuit 210, a digital

     signal processing module 212, and optionally, an audio amplifier 214 that

     may be internal or external. The network interface 202 facilitates a data

     flow between a data network (i.e., the data network 108 of FIG. 1) and the

10   zone player 200 and typically executes a special set of rules (i.e., a

     protocol) to send data back and forth. One of the common protocols used

     in the Internet is TCP/IP (Transmission Control Protocol/Internet Protocol).

     In general, a network interface manages the assembling of an audio

     source or file into smaller packets that are transmitted over the data

15   network or reassembles received packets into the original source or file. In

     addition, the network interface 202 handles the address part of each

     packet so that it gets to the right destination or intercepts packets destined

     for the zone player 200.


            The network interface 202 may include one or both of a wireless

20   interface 216 and a wired interface 217. The wireless interface 216, also

     referred to as a RF interface, provides network interface functions by a

     wireless means for the zone player 200 to communicate with other

     devices in accordance with a communication protocol (such as the

     wireless standard IEEE 802.11 a, 802.11 b or 802.11 g). The wired interface

25   217 provides network interface functions by a wired means (e.g., an

     Ethernet cable). In one embodiment, a zone player includes both of the


                                           5
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     interfaces 216 and 217, and other zone players include only a RF or wired

     interface. Thus these other zone players communicate with other devices

     on a network or retrieve audio sources via the zone player. The processor

     204 is configured to control the operation of other parts in the zone player

5    200. The memory 206 may be loaded with one or more software modules

     that can be executed by the processor 204 to achieve desired tasks.

     According to one aspect of the present invention, a software module

     implementing one embodiment of the present invention is executed, the

     processor 204 operates in accordance with the software module in

10   reference to a saved zone group configuration characterizing a zone

     group created by a user, the zone player 200 is caused to retrieve an

     audio source from another zone player or a device on the network.


             According to one embodiment of the present invention, the

     memory 206 is used to save one or more saved zone configuration files

15   that may be retrieved for modification at any time. Typically, a saved zone

     group configuration file is transmitted to a controller (e.g., the controlling

     device 140 or 142 of FIG. 1, a computer, a portable device, or a TV) when

     a user operates the controlling device. The zone group configuration

     provides an interactive user interface so that various manipulations or

20   control of the zone players may be performed.


             The audio processing circuit 210 resembles most of the circuitry in

     an audio playback device and includes one or more digital-to-analog

     converters (DAG), an audio preprocessing part, an audio enhancement

     part or a digital signal processor and others. In operation, when an audio

25   source is retrieved via the network interface 202, the audio source is

     processed in the audio processing circuit 210 to produce analog audio


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     signals. The processed analog audio signals are then provided to the

     audio amplifier 214 for playback on speakers. In addition, the audio

     processing circuit 210 may include necessary circuitry to process analog

     signals as inputs to produce digital signals for sharing with other devices

5    on a network.


             Depending on an exact implementation, the digital signal

     processing module 212 may be implemented within the audio processing

     circuit 210 or as a combination of hardware and software. The audio

     amplifier 214 is typically an analog circuit that powers the provided analog

10   audio signals to drive one or more speakers.


             Referring now to FIG. 2B, there is shown an example of a

     controller 240, which may correspond to the controlling device 140 or 142

     of FIG. 1. The controller 240 may be used to facilitate the control of multi-

     media applications, automation and others in a complex. In particular, the

15   controller 240 is configured to facilitate a selection of a plurality of audio

     sources available on the network, controlling operations of one or more

     zone players (e.g., the zone player 200) through a RF interface

     corresponding to the RF interface 216 of FIG. 2A. According to one

     embodiment, the wireless means is based on an industry standard (e.g.,

20   infrared, radio, wireless standard IEEE 802.11 a, 802.11 b or 802.11 g).

     When a particular audio source is being played in the zone player 200, a

     picture, if there is any, associated with the audio source may be

     transmitted from the zone player 200 to the controller 240 for display. In

     one embodiment, the controller 240 is used to synchronize more than one

25   zone players by grouping the zone players in a group. In another




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     embodiment, the controller 240 is used to control the volume of each of

     the zone players in a zone group individually or together.


            The user interface for the controller 240 includes a screen 242

     (e.g., a LCD screen) and a set of functional buttons as follows: a "zones"

5    button 244, a "back" button 246, a "music" button 248, a scroll wheel 250,

     "ok" button 252, a set of transport control buttons 254, a mute button 262,

     a volume up/down button 264, a set of soft buttons 266 corresponding to

     the labels 268 displayed on the screen 242.


            The screen 242 displays various screen menus in response to a

10   user's selection. In one embodiment, the "zones" button 244 activates a

     zone management screen or "Zone Menu", which is described in more

     details below. The "back" button 246 may lead to different actions

     depending on the current screen. In one embodiment, the "back" button

     triggers the current screen display to go back to a previous one. In

15   another embodiment, the 'back" button negates the user's erroneous

     selection. The "music" button 248 activates a music menu, which allows

     the selection of an audio source (e.g., a song) to be added to a zone

     player's music queue for playback.


            The scroll wheel 250 is used for selecting an item within a list,

20   whenever a list is presented on the screen 242. When the items in the list

     are too many to be accommodated in one screen display, a scroll indicator

     such as a scroll bar or a scroll arrow is displayed beside the list. When the

     scroll indicator is displayed, a user may rotate the scroll wheel 250 to

     either choose a displayed item or display a hidden item in the list. The

25   "ok" button 252 is used to confirm the user selection on the screen 242.



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             There are three transport buttons 254, which are used to control

     the effect of the currently playing song. For example, the functions of the

     transport buttons may include play/pause and forward/rewind a song,

     move forward to a next song track, or move backward to a previous track.

5    According to one embodiment, pressing one of the volume control buttons

     such as the mute button 262 or the volume up/down button 264 activates

     a volume panel. In addition, there are three soft buttons 266 that can be

     activated in accordance with the labels 268 on the screen 242.     It can be

     understood that, in a multi-zone system, there may be multiple audio

10   sources being played respectively in more than one zone players. The

     music transport functions described herein shall apply selectively to one of

     the sources when a corresponding one of the zone players or zone groups

     is selected.


             FIG. 2C illustrates an internal functional block diagram of an

15   exemplary controller 270, which may correspond to the controller 240 of

     FIG. 2B. The screen 272 on the controller 270 may be a LCD screen. The

     screen 272 communicates with and is commanded by a screen driver 274

     that is controlled by a microcontroller (e.g., a processor) 276. The memory

     282 may be loaded with one or more application modules 284 that can be

20   executed by the microcontroller 276 with or without a user input via the

     user interface 278 to achieve desired tasks. In one embodiment, an

     application module is configured to facilitate grouping a number of

     selected zone players into a zone group and synchronizing the zone

     players for one audio source. In another embodiment, an application

25   module is configured to control together the audio volumes of the zone

     players in a zone group. In operation, when the microcontroller 276



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     executes one of the application modules 284, the screen driver 274

     generates control signals to drive the screen 272 to display an application

     specific user interface accordingly, more of which will be described below.


            The controller 270 includes a network interface 280 referred to as

5    a RF interface 280 that facilitates wireless communication with a zone

     player via a corresponding RF interface thereof.    In one embodiment, the

     commands such as volume control and audio playback synchronization

     are sent via the RF interfaces. In another embodiment, a saved zone

     group configuration is transmitted between a zone player and a controller

10   via the RF interfaces. The controller 270 may control one or more zone

     players, such as 102, 104 and 106 of FIG. 1. Nevertheless, there may be

     more than one controllers, each preferably in a zone (e.g., a room) and

     configured to control any one and all of the zone players.


            In one embodiment, a user creates a zone group including at least

15   two zone players from the controller 240 that sends signals or data to one

     of the zone players. As all the zone players are coupled on a network, the

     received signals in one zone players can cause other zone players in the

     group to be synchronized so that all the zone players in the group

     playback an identical audio source or a list of identical audio sources in a

20   timely synchronized manner. Similarly, when a user increases the audio

     volume of the group from the controller, the signals or data of increasing

     the audio volume for the group are sent to one of the zone players and

     causes other zone players in the group to be increased together in volume

     and in scale.




                                          10
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            According to one implementation, an application module is loaded

     in memory 282 for zone group management. When a predetermined key

     (e.g. the "zones" button 244) is activated on the controller 240, the

     application module is executed in the microcontroller 276. The input

 5   interface 278 coupled to and controlled by the microcontroller 276

     receives inputs from a user. A "Zone Menu" is then displayed on the

     screen 272. The user may start grouping zone players into a zone group

     by activating a "Link Zones" or "Add Zone" soft button, or de-grouping a

     zone group by activating an "Unlink Zones" or "Drop Zone" button. The

10   detail of the zone group manipulation will be further discussed below.


            As described above, the input interface 278 includes a number of

     function buttons as well as a screen graphical user interface. It should be

     pointed out that the controller 240 in FIG. 2B is not the only controlling

     device that may practice the present invention. Other devices that provide

15   the equivalent control functions (e.g., a computing device, a hand-held

     device) may also be configured to practice the present invention. In the

     above description, unless otherwise specifically described, it is clear that

     keys or buttons are generally referred to as either the physical buttons or

     soft buttons, enabling a user to enter a command or data.


20          One mechanism for 'joining' zone players together for music

     playback is to link a number of zone players together to form a group. To

     link a number of zone players together, a user may manually link each

     zone player or room one after the other. For example, there is a multi-

     zone system that includes the following zones.

25             -   Bathroom

               -   Bedroom


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               -   Den

               -   Dining Room

               -   Family Room

               -   Foyer


5           If the user wishes to link 5 of the 6 zone players using the current

     mechanism, he/she must start with a single zone and then manually link

     each zone to that zone. This mechanism may be sometimes quite

     consuming.

            According to one embodiment, a set of zones can be dynamically

10   linked together using one command. Using what is referred to as a zone

     scene or scene, zones can be configured in a particular scene (e.g.,

     morning, afternoon, or garden), where a predefined zone grouping and

     setting of attributes in for the grouping are determined.

            For instance, a "Morning" zone scene/configuration command

15   would link the Bedroom, Den and Dining Room together in one action.

     Without this single command, the user would need to manually and

     individually link each zone. FIG. 3 provides an illustration of one zone

     scene, where the left column shows the starting zone grouping - all zones

     are separate, the column on the right shows the effects of grouping the

20   zones to make a group of 3 zones.

            Expanding this idea further, the Zone Scene can be set to create

     multiple sets of linked zones. For example the "Morning Mode" scene

     would create 3 separate groups of zones, the downstairs zones would be

     linked together, the upstairs zones would be linked together in their own




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     group, and the outside zones (in this case the patio) would move into a

     group of its own.

            Optionally, a system may be supplied with a command that links all

     zones in one step. This may be a simple form of a zone scene. In one

5    embodiment that extends to more than just linking zones together. After

     linking the appropriate zones, a zone scene command could apply the

     following attributes:

            1. Set volumes levels in each zones (each zone can have a

                  different volume)

10          2. Mute/Unmute zones.

            3. Select and play specific music in the zones.

            4. Set the play mode of the music (Shuffle, Repeat, Shuffle-repeat)

            5. Set the music playback equalization of each zone (bass treble)

                  etc.


15          A further extension of this embodiment is to trigger a zone scene

     command as an alarm clock function. For instance the zone Scene is set

     to apply at 8:00am. It could link appropriate zones automatically, set

     specific music to play and then stop the music after a defined duration.


            Annexed hereto is an Appendix A providing examples to teach and

20   refer to various features, detailed designs, uses, advantages,

     configurations and characteristics in one embodiment of the present

     invention.


            Annexed hereto is also an Appendix B providing examples to teach

     and refer to various features, detailed designs, uses, advantages,




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     configurations and characteristics using clock in one embodiment of the

     present invention.


            One of the features in the present invention is to allow sets of

     related devices (controllers and operating components) to exist as a group

5    without interfering with other components that are potentially visible on the

     same wired or wireless network.


            The processes, sequences or steps and features discussed above

     and in the appendixes are related to each other and each is believed

     independently novel in the art. The disclosed processes and sequences

10   may be performed alone or in any combination to provide a novel and

     unobvious system or a portion of a system. It should be understood that

     the processes and sequences in combination yield an equally

     independently novel combination as well, even if combined in their

     broadest sense; i.e. with less than the specific manner in which each of

15   the processes or sequences has been reduced to practice in the attached

     appendix.


            The forgoing and attached are illustrative of various

     aspects/embodiments of the present invention, the disclosure of specific

     sequence/steps and the inclusion of specifics with regard to broader

20   methods and systems are not intended to limit the scope of the invention

     which finds itself in the various permutations of the features disclosed and

     described herein as conveyed to one of skill in the art.




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        100                                                     140




                                                                        142




         FIG.1110
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                                                   200
                                                    202
                            Network
                                lntertace
                               Wireless
                                Wired

                               Processor

                                                    206
                                Memory

                            Audio
                               Processing            210
                               Circuit

                            Digital
                                Signal               212
       FIG.
          2A               Processing
                                  Module

                             Audio
                                Amplifier            214
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                                                                                      240
                242                            244 246 248


  262                    Rincon


  264
                ~Now
                   Playing
                                                                                    Scroll
          vol
                                      ...
                               ,.,,,.,\:,· -:•:,:,','.'.'.'.'.]                     Wheel
                 image                                                               250




                                                                                    252




    FIG.
       28                266                   268
                                                                              254
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                                                                   270




                    276
   278
                                                                     282




                            RFIntertace
                         (Network
                              Intertace)
     FIG.
        2C
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                                            Zone
                                               Conftguratkm/Scene




                                                          FIG.
                                                             3
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                                                                     Appendix A

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Sonos UI Specification: Zone Scenes



1          Introduction

       The Zone Scene feature allows the user to arrange the zones into groups using one single
       command. However, the Zone Scene feature is much more flexible and powerful.

       Currently in the Sonos UI, zone groups are created by manually linking zones one at a time until
       the desired zone grouping is reached.

       For Example

       Start with Living Room

       ►   Link the Kitchen to the Living Room to make a group of (Living Room + Kitchen)
       ►   Then link the Den to the (Living Room+ Kitchen) to make a group of(Living Room+
           Kitchen+ Den)

       The Zone Scene feature would allow the user to create a group of (Living Room + Kitchen +
       Den) with one command.


1. 1       Setting a Zone Scene


1. 1. 1    Simple Scenes

       Simple scenes allow the user to set up a single zone group per scene.

       For example:
        "Morning Scene" would group Bedroom + Den + Dining Room, but would leave all other zones
       in the house untouched.




       Note: Zones do not need to be separated before the Scene is invoked.

1. 1.2     Advanced Scenes




                                                     2
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    User can defme multiple groups to be gathered at the same time.

    For example: "Evening Scene" should link the following zones
                -     Groupl
                o     Bedroom
                o     Den
                o     Dining Room

                -     Group2
                o     Garage
                o     Garden

                -     And finally, Bathroom, Family Room and Foyer should be separated from any
                      group if they were part of a group before the Zone Scene was invoked.




                    Note: Zones do not need to be separated before the Scene is invoked.




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1. 1.3    What happens to the Music that's already playing when a Zone Scene is
          started.

     If no music is playing in any Zone - then the zones will simply link in a group.

     If music is playing in one or more zones there are several possibilities (TBD)

     1. The Music Queue in the zone group that was formed by the Zone Scene will be empty. In
        other words - the music will stop in any room that is part of the Zone Scene. This is the
        simplest solution, but may lead to frustration.

     2.   The user gets to choose from which of the ;joining' Queues the new zone group should play.
                 This could be in the form of a dialog:

                                 What should the new Zone Group play?
                                                 liliij~~
                                                 Track 1
                                                 Track2
                                              Radio Station A

          Note that this method would only be useful (and possible) with simple Zone Scene grouping.
          With Advanced Zone Scene groupings, this dialog would become much too complicated.

     3.   In the case where only one of the zones in the new group was playing music, the new group
          should take the music (and Queue) of that zone.




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Sonos UI Specification: Zone Scenes



2          Invoking a Scene


        There are various user Interface methods for invoking a configuration on a Handheld Controller
        or Desktop Controller

2.1        Handheld Controller


2.1.1      Method 1: Include Scenes in the Zone menu




                                                     5
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Sonos UI Specification: Zone Scenes




2.1.2      Method 2: Zone Scenes as a soft button

        The Link/Drop Zone commands are placed under one softkey and the middle softkey now
        becomes "Scenes". Pressing the scene softkey will show the Scene menu where all the available
        scenes are shown.




        TBD: We could remove Pause All (and place it somewhere else. This would allow us to put Zone
        Scenes on the right soft button).




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Sonos UI Specification: Zone Scenes




2.1.3   Method 3. Zone Scenes as part of "Link Zones" Dialog.
                      ~~·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·c·.·.·.·.·.·.·.·.·.·.·c·c·c·c·c·c·c·c·c·es'C·.



                                                   1                                                                              111
                      l111111~:;:i:~;1;;!l!:]
                                   :i!:!~~:;;11:~1l;i;l1;!;~J1;:l:lllllllllllilililililililililiililil!l!!!!!!!!!!!!!!!!!!!!!!
                                                                             : : :!1!1!1!1!1!1!1!1!1!1!1!1!1!1lllllllllllllllll:11i:1:1:1:1:1:1:111111111




                                                                                                        7
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Sonos UI Specification: Zone Scenes



2.2     Desktop Controllers


2.2.1   Method 1: As part of 'Zones' application menu




2.2.2   Method 2: As part pf the Zones panel




        File   Zones   Play   Music   Help




                                                      8
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Sonos UI Specification: Zone Scenes



3        Scene Setup

3.1      Handheld Controller


      It is not expected that the Zone Scenes should be set up using the Handheld Controller

3.2      Desktop Controllers


      Zone Scene Setup is available from the Zones menu on the DCRs.




        ■
      "Set Up Zone Scenes ... " is available from the Zones menu.




                                                    9
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Sonos UI Specification: Zone Scenes




         Thefollowingzone scenesare available..

         Party Mode
         End Party Mode
         alt~:~,:s;!!:lp..•
                 --------,
                      Scene: Morning
                      BathRoom                                                       Delete       J
                      MasterBedroom
                      Living Room
                      Kitchen




                                                                I   Finish ······~   l   Cancel




                       Zone Scenes can be Add, Edited or Deleted
                       The tool tip shows an overview of the zones that make up a scene




                                                  10
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Sonos UI Specification: Zone Scenes




3.2.1   Simple Scenes




        vourzones                               zone scene

         :W Hallway              ! Add:=-:=-            Bedroom                  !   Volumes ...
         f) Kitchen
          Q Library              r;;R~~~~~···1    % Den
                                                        Dining Room
            Living Room                                 Family Room
            Master Bedroom                              Foyer
         \r Media Room                                  ~~lli
                                                        Garden
                                                        Guest Room




        Zones that are not added to the
        scene will not be affected.



                                                    [      OK      Jl   Cancel



                       The panel on the left shows the available zones in the household.
                       The panel on the right shows the Zones that will be grouped as part of this scene.
                       The Add/Remove buttons move zones between the panels.
                       Zones can be dragged between panels.
                       The Zones that are not part of this scene will remain unaffected by the scene.




                                                   11
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    Volumes




            Set the Volumes for the Zones in the Zone Sctne


            (0 Use the existing volume settings of the zone( s)
                    GaUnmute any Zones in the group that are muted
            .<'"s
            k-" Adjust the volumes




                      ¾ Den
                      <= Dining Room
                            Family Room   ,·······································]···········

                      ·} Foyer



                    [Z Unmute any Zones in the group that are muted




                        -      The 'Volumes ... ' button allows the user to affect the volumes of the zones when
                               a Zone Scene is invoked.
                        -      The Zones can be set to retain whatever volume that they currently have when
                               the Scene is invoked.
                        -      Additionally the user can decide of Volumes should be unmuted when the Scene
                               is invoked.
                        -      Alternatively, the user can define the Volume of each zone in the Zone Scene.


3.2.2      Simple Scene (each scene makes one zone group)


        Each Scene can consist of multiple groupings. In addition zones can be separated if they were part
        of a group before the scene was invoked.
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Sonos UI Specification: Zone Scenes




       vourzones                                          GroupThese zones

         ii Hallway                                       Group 1                       L.,!!,pdS)r?•Jr.J
            Kitchen                                          Bedroom
                                                                                        ( Del~e.Groupj
        k Library                                          % Den
            Living Room
            Master Bedroom
                                                             DiningRoom
                                                             FamilyRoom
                                                                                        L /v1oveUp ]
        'i/ Media Room                                    Group 2                       t.t0ove.Di:J'IVfl_.i
                                                            {    Foyer
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       1ones thffieirenot addedfo the .
       i::tiritiguration will not be atfected



                                                                r   OK     J [ Cancel
                   -     Left panel shows the available zones in a system
                   -     The upper right panel shows the zones that will be grouped as part of this
                         configuration.
                              ■   Multiple groups can be created with the "Add Group" button
                              ■   Groups can be deleted using the "Delete Group" button
                              ■   Zones can be moved between groups
                   -     The lower right panel shows the zones that will be actively separated when the
                         scene is invoked (if they were part of any before).
                   -     Zones can be moved from the left panel to wither of the right panels using the
                         "Add" buttons, or through drag and drop/
                   -     Likewise, zones can be moved from either of the right side panels to the left
                         panel using the "Remove" buttons, or through drag and drop.




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Sonos UI Specification: Zone Scenes



    Volumes




        Set the Volumes for the Zones in the Zone Sctne


        (0 Use the existing volume settings of the zone( s)
                GaUnmute any Zones in the group that are muted
        .<'"s
        k-" Adjust the volumes




                  ¾ Den
                  <= Dining Room
                     Family Room    ,·······································]···········

                  ·} Foyer



                [Z Unmute any Zones in the group that are muted




                          The 'Volumes ... ' button allows the user to affect the volumes of the zones when
                          a Zone Scene is invoked.
                          The Zones can be set to retain whatever volume that they currently have when
                          the Scene is invoked.
                          Additionally the user can decide of Volumes should be unmuted when the Scene
                          is invoked.
                          Alternatively, the user can define the Volume of each zone in the Zone Scene.




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3.3   Additional setup ideas


             Capture a Zone Scene from an existing setup in the Zone Menu. Right click on a
             current Zone group and have a menu item "Make this group a Scene".
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4        Alternative Linking Methods

4.1      Multiple Select in Link and Drop Zone panels


      This feature is an adaptation of the Link and Drop Zone feature.

      Currently, as discussed in the introduction of this document, the current Link and Drop Zones
      features allow the user to link and drop Zones one at a time. This feature would allow the user to
      link and drop multiple zones in one screen.

      Using this methodology, the action Link and Drop zones can be achieved on one screen. In
      addition, because of the flexibility of this UI, Music can easily be moved from one zone to
      another.




                   -   The list of zones in the screen above includes ALL the zones in the system,
                       including the Zones that are already grouped.



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                -   User can check Zones that will be part of a zone group, and uncheck those that
                    won't be part of a group
                -   Using this method it is possible to move music from one zone to another. For
                    example, to move the music from the Living Room to the Kitchen
                        ■   User is playing 'Radio l' in the Living Room only
                        ■   From the Zone Menu, press the Zone Linking soft button
                        ■   Check the Kitchen, uncheck the Living Room
                        ■   Hit the OK button
                        ■   Result - Radio 1 is now playing in the Kitchen and not the Living
                            Room (without interrupting the music).




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5        Related Ideas

5.1      Zone Scenes that play music

      In addition to the notion of Zone Scenes that contain information about Zone Groups and the
      Volumes of individual Zones in a group. It is also possible to extend the idea to enable specific
      music to be played when a particular Zone Scene is invoked:

      For instance.

      Wakeup Zone Scene should link Living Room and Bedroom, set their volumes and play
      "Wakeup Music" play list (or a Radio station)

5.2      Relationship to the Alarm Clock

      The Sonos Alarm Clock/Music Scheduler allows a user to setup a Sonos system to play music in
      certain zones at certain times of the day.

      In addition it is possible that an alarm clock can also invoke a Zone Scene.

      For example. In a system with 4 Zones: Bedroom, Bathroom, Dining Room, Kitchen.

      At the end of the day the user has all of the Zones linked into one group.

      He has an alarm clock that is set to play National Public Radio at 7am and the alarm should play
      in the Bedroom and Bathroom, but not the Dining Room and Kitchen.

      The Alarm is thus configured to invoke a Zone Scene that links the Bedroom and Bathroom into a
      group, but leaves the Dining Room and Kitchen out of the group.




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5.3      Compress Zones in the Zone Menu


      This concept is aimed at households that have more than a few ZonePlayers.

      Current Design.

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      Zone Groups are shown linked together in a gray box. This is a good design for household with
      fewer than, say, 8 Zones. With more Zones however, a lot of scrolling is required to navigate
      between zones.

      The design below shows how grouped zones are compressed so that they occupy a ingle item in
      the Zone Menu. The [+n] signifies the additional number zones that make up the group.




      The individual zones in a group WILL show in the Zone bar on the Now playing Screen and
      Music Browse, as well as the link and unlink screens.




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1       To Do Items


1.1.1   To Do



                -   Graphic Design for clock face - may need PixelMedia input
                -   Tone for backup buzzer to be designed
                -   Scenarios for backup buzzer




1.1.2   TBD items

                -   Should the low brightness clock face move around the screen as a screen saver
                    (repositioned every once in a while (not sliding around)
                -   Add play mode (shuffle/repeat)
                -   Default settings for a new alarm
                -   Can the DCR sleep timer count in the menu change with time, or does it need to
                    be fixed.
                -   Should time and date settings fields change if the user has 12/24 hour clock etc.
                -   Rhapsody and Current Queue as music choices for an alarm.
                -   DCR state when time is lost (due to power failure)




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2          Requirements

2.1        Need


        Regular requests from users to provide the following:

           -   Ability to schedule music to wake to.
           -   Ability to schedule music at other times. For example, "I want to hear music when I come
               home from work at 6pm"
           -   Ability to fall asleep playing music, and for the music to play for a defined period (Sleep
               Timer)
           -   Ability to replace their current alarm clock with a large clock view on the Controller.

2.2        General rules for the alarm


2.2.1      Zones

           -   A single zone can be assigned to an alarm. When the alarm sounds, it will sound in that
               zone + any zones are linked to the alarm zone at the time of the alarm

2.2.2      Volume ramp

           -   Alarms will ramp from Oto the zone's set volume level in 60 seconds (exact time TBD)

2.2.3      Backup Buzzer

      If, for any reason, the scheduled music won't play (empty playlist, no connection to a share, failed
      UPnP, no Internet connection for an Internet Radio station), a backup buzzer will sound. This
      buzzer will be a sound file that is stored in ZPs -not on a share (for obvious reasons).

        The buzzer sound will be designed for Sonos and will fit the Sonos brand




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3          UI Spec for Handheld CR

3.1    Clocks and Alarms Menu

       -    The Clocks and Alarms section of the UI can be found on the Music Menu above System
            Settings




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       -    The time in parenthesis after the "Show Clock" item should be updated with the current
            system time.
       -    The time in the parenthesis should be removed if the system has no time set (because the
            time was never set properly, or a connection to the Internet time has been lost and the ZP
            power- recycled)




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3.2         Show Clock Screen




                                                                                                                 Mon Oct 21, 2005




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                                 The clock is zone-group contextual.
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                                 Press OK on this screen returns the user to the Clock menu (same behavior as a
                                                                                                                                                                                    ·..........   :




                                 pop-up).
                          -      Press Back on this screen returns the user to the Clock menu (same behavior as a
                                 pop-up).
                                                          '~
                          -      The clock icon i;_~,,i
                                                     indicates that one or more alarms are set for this zone group.
                          -      Unlinking a zone, may affect the presence of the alarm icon.
                          -      The 'low brightness' softkey brings up a version of this screen shown below.


3.2.1       Low Brightness mode

                          -      When the user presses the "Low Brightness" soft button, the screen brightness
                                 will be reduced to 25%. The user setting in the CR settings will not be affected.
                          -      Pressing any button will return the screen to the user-set brightness.
                          -      When an alarm goes in that zone/group, the contrast will return the screen to the
                                 user-set brightness.




                                                                              5
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3.3     Alarm Plays

      Clock Screen


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      I'                                               ■~
                     Mon Oct 21! 2005




        -   The clock icon shows if there is at least one alarm in the ON state for one or more of the
            zones that the CR is currently viewing (in this case Master Bedroom, Kitchen, Dining
            Room).
        -   If no alarms are present, in the ON state, for the zone or zones that the CR is viewing, the
            icon will be removed.
        -   Note the case where an alarm is set to "Once" - when the alarm is complete (see duration
            and snooze rules below) the icon will be removed (as long as there are no further alarms
            set for zones in this group).




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    Alarm Plays


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                         [, 7:00                                                                                                              AM



    i                                                                                                                                                         -
    The clock icon changes to its "active state" (the sound waves).
    The snooze softkey appears.

    The Snooze and the active clock icon will be displayed:
       - For the duration of the Alarm, up to a maximum of 2 hours ( if the user has set the
           duration to 'no limit', the snooze and active clock will show for 2 hours only).
          AND as long as music is playing in that Zone Group. If the music is stopped, the snooze
          button and active state clock icon are cleared from the UI
           'Stopped music' can be achieved though:
          Play/pause button
           Clear Queue
          Music Queue ends (runs out of music)
          Technical reason for music stopping (lost connection etc.)

    The Snooze button and active clock icon can be passed around zones using link/unlink in the
    same way as the alarm duration.

    Snooze operation
       - Pressing the snooze button will cause the alarm to play again 9 minutes later (the actual
          Alarm settings are not changed).
           Pressing the snooze button again during the 'snoozing period' (the silent period), will
           offset the alarm by 9 minutes from that point.
           Multiple presses of the snooze button will not accumulate snooze time (9+9+9=27
          minutes snooze).
           During the 9 minute snooze period, a 'snoozing' icon will show on the screen
           During the 9 minute snooze period, the clock icon will continue to show its 'active clock'
           state.
           During the 9 minute snooze period, the Snooze softkey will continue to show.
           If the music is stopped (see rules above) - the snooze state will be cleared (removing the
           Snoozing icon and Snooze button).




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                            [ 7:00                                                                                                               AM

                            I.'tf Snoozing

    Other items

    If another alarm plays for a zone in this group - all the original alarm and snooze states are
    cleared.

    Low Brightness
    Same rules apply as described above




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3A          Sleep Timer




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     ••••••••                                                     •••••

                -   Sleep timer will have the following variables: Off, 15min, 30mins, 45mins, lhours, 2
                    hours.
                -   A sleep timer applies to all the current zones in the current group
                -   When the sleep timer stops (i.e. the time reaches Oseconds), it should revert to 'Of£'.
                -   At the end of the sleep time (0 seconds), the current Zone Group should be Paused.
                -   The time in parenthesis should show the count down.
                -   If the current zone group is already paused, no changes to the play head will be made.
                -   (the alarm timer is the same as the sleep time, described later in this document)

     Rules for Zone Group changes while the Sleep timer is active

                -   A Sleep timer is set for the current zone (or zone group) that the user is viewing on the
                    CR. The timer is applied to all the zones in that particular group.
                -   Any zone added to the zone group takes on the same timer.
                -   Any zone dropped from the group will have it's timer reset to Of£
                -   Any zone taken by another group will take the timer of the group it is joining (i.e. it
                    will lose it's original timer).
                -   Pausing the music has no effect on a sleep timer .
                -   Clearing the Queue has no effect on a sleep time .
                -   Altering the Queue (adding, moving, deleting tracks) has no effect on the sleep timer
                -   The user can change the timer settings while it is running (i.e. turn it off, or change the
                    sleep time).




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    Alarm length/Sleep timer icon on Now Playing Screen



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                -   The sleep timer icon is shown next to the Shuffle and Repeat icons
                -   The right edge of the snooze icon aligns with the right edge of the track
                    progress bar
                -   The separation between the icons is 5 clear pixels
                -   The blue Rhapsody Radio 'bubble' should be horizontally resized when the
                    snooze icon is present.
                -   The gap between the right edge of the blue bubble and the left edge of the
                    snooze icon should be 5 clear pixels.
                -   The snooze icon should site in the vertically in the middle of the blue bubble
                    (5 pixels above, 5 below).

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3.5      Alarms Overview




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      Note the absence of the View Queue and Queue Counter when we go one level deeper in the
      alarm UL This is to reduce any confusion that may occur between the Alarm music and the
      Current Queue of music.

      Play Alarm Now soft button




      User selects 'Play Alarm' from the pop-up. The alarm will activate.
                   - The Ul will stay on the same screen (but without the popup)
                   - TBD - this may change if alarms automatically trigger the clock view




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3.6      New Album and Editing an existing alarm



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                                                                                                                        Music Button
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                                                                                to Save?" dialog
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      New Alarm
                       Adds a new alarm with the default settings
                       The screen navigates to show the new alarm page.
                       The system can contain up to 32 alarms
                       If the limits of 32 alarms is reached, add alarm will trigger the following popup
                       message (the UI will not navigate to the ''New Alarm" page.

                            ■   You can't add any more alarms, please delete an alarm before you add a
                                new one.
                            ■   Press Ok to Continue.

                       The default settings for an alarm are described in the section below.

      Edit Alarm
      Clicking OK on an existing alarm will navigate the UI to that alarm's edit page.

      Save Alarm
      Pressing the Save button will save the alarm and navigate to the Alarms List screen
      No confirmation will be shown (Save is an explicit action that doesn't result in deleted
      information if pressed by mistake).
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      Navigating Away from the New/Edit Alarm page
      If an alarm has been edited, or the alarm is new and the following navigation buttons are pressed,
      a resultant confirmation box will be shown.

      Back button
      Zones button
      Music button




3.7      Alarm Settings/Variables




      Each alarm will have the following variables

                   -   Alarm On/Off
                   -   Time
                   -   Zone
                   -   Music
                   -   Frequency [once]
                   -   Alarm Length
                   -   Play Afode (TllD we may add shufj?e mode as an option)



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3.7.1    Alarm on/off




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               This allows the alarm to be turned on/off without losing the alarm settings.




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3.7.2        Alarm Time




                             -    The time set popup consists of three fields
                             --   TBD- should the 3 fields become 2 iJtbe user bas set the system to 24 hour
                                  clock?


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3. 7.3   Alarm Zone




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3.7.4   Alarm Music


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                        -         The Select Music UI is a limited form of the regular CR music browse
                        -         The user should not be able to drill down to the track level
                        -         On the level above the track level, if the user presses OK, they will see the
                                  confirmation dialog.
                        -         When the user press OK on the confirmation dialog, the UI should return to the
                                  main Alarm variables page (top left of above diagram). This transition is made
                                  without an animation.
                        --- Rhapsody Stations and Current Queue are TED items

    Relationship to the Now Playing Screen and Back Button.

    If the user presses the Music button while on the alarm screens, the UI will navigate to the Now
    Playing screen.

    If the user navigates to the Now Playing screen from screens 2, 3 or 4 (above), and subsequently
    press the Back button, the UI should navigate back to screen 1 (and not 2, 3, or 4). This is
    designed to avoid confusion between the Music choices for the alarm and music choices for
    general playback.


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3.7.5       Alarm Frequency




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3. 7.6   Alarm Length




                 -   The 'No Limit' option means that no alarm timer will be set
                 -   The alarm timer is the same as the sleep timer.
                 -   When an alarm with a timer (anything other than 'no limit') starts, the sleep
                     timer for the zone (or zone group) is triggered.
                 -   Users can override the alarm timer by setting the sleep timer.

     Zone linking/unlinking activities

            -   The alarm length applies to the zone group at the time the alarm is triggered (zone+
                any linked zones)
            -   Any zone later added to the group will take on the timer from this alarm.
            -   Any zone dropped from the group will no longer take part in the alarm length timer.
            -   Any zone from this group taken by another group will take the timer of the group it is
                joining (i.e. it will lose it's original timer).
            -   Pausing the music has no effect on the alarm length timer .
            -   Clearing the Queue has no effect on a sleep timer .
            -   Altering the Queue (adding, moving, deleting tracks) has no effect on the sleep timer




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      Alarm length/Sleep timer icon on Now Playing Screen

      See Section on Sleep Timer earlier in this document.




3. 7. 7   Play Alarm Now




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3.8            Setting the current date and time




3.8.1          Time Zone




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3.8.2   Adjust for Daylight Savings




3.8.3   Contact Sonos for Updates




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3.8.4


        ,,~~    Date



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                                       -         If the system is set to get the date and time from the Internet, the user should not
                                                 be able to manually adjust the date and time.
                                       -         In this case, a simple message is shown instead of the date or time editor.




3.8.5           Time


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                                       -         If the system is set to get the date and time from the Internet, the user should not
                                                 be able to manually adjust the date and time.
                                       -         In this case, a simple message is shown instead of the date or time editor.




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3.8.6          Date Format




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3.8. 7         Time Format




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3.9     Buzzer




                 -   Buzzer has it's own Now Playing screen
                 -   Play/Pause will work the same as regular music
                 -   The template for the Now Playing screen if the Line-In Source Now Playing.




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4        UI Spec for DCRs

4.1      PC Menu




           E_ile-        ~I~!   Music   Help




      Letter Underscore shortcuts

      Current underscore short cuts on this menu: N, P, L, D, Z

      Click and Alarms (C)
      Sleep Timer (S)




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4.2      Sleep Timer




          Current Timer for this zone or zone group: 42 mins

          Choose a Sleep Timer for the selected zone or zone
          group:




                                         f Cancel

                   Sleep timer will have the following variables: Off, 15min, 30mins, 45mins, lhours, 2
                   hours.
             -     A sleep timer applies to all the current zones in the current group
             -     When the sleep timer stops (i.e. the time reaches Oseconds), it should revert to 'Of£'.
             -     At the end of the sleep time (0 seconds), the current Zone Group should be Paused.
             -     The time in parenthesis should show the count down.
             -     If the current zone group is already paused, no changes to the play head will be made.
             -     (the alarm timer is the same as the sleep time, described later in this document)




      Rules for Zone Group changes while the Sleep timer is active

                   A Sleep timer is set for the current zone (or zone group) that the user is viewing on the
                   CR. The timer is applied to all the zones in that particular group.
                   Any zone added to the zone group takes on the same timer.
                   Any zone dropped from the group will have it's timer reset to Of£
                   Any zone taken by another group will take the timer of the group it is joining (i.e. it
                   will lose it's original timer).
                   Pausing the music has no effect on a sleep timer .
                   Clearing the Queue has no effect on a sleep time .
                   Altering the Queue (adding, moving, deleting tracks) has no effect on the sleep timer
                   The user can change the timer settings while it is running (i.e. turn it off, or change the
                   sleep time).




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    The Now Playing screen showing the Sleep Timer/ Alarm Timer




                -   The sleep timer icon is shown next to the Shuffle and Repeat icons
                -   The right edge of the snooze icon aligns with the right edge of the track
                    progress bar
                -   The separation between the icons is 6 clear pixels
                -   The blue Rhapsody Radio 'bubble' should be horizontally resized when the
                    snooze icon is present.
                -   The gap between the right edge of the blue bubble and the left edge of the
                    snooze icon should be 6 clear pixels.
                -   The snooze icon should site in the vertically in the middle of the blue bubble
                    (in actual fact it will be off-centre (lower) by one pixel).
                -   The Shuffle and Repeat icons will need to be lowered to align horizontally
                    with the snooze icon.
                -   TBD - can a tool tip rollover show the remaining time.




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4.3      Clock and Alarms




          Sonos system date and time
               Date:October 21, 2005                                                    [Date~nd Time...]
               lime: 8:15pm


          Alarms:




                                                      Alarm: On
                                                      lime: 7: 15am
                                                      Zone: Master Bedroom
                                                      Music: \f'.kikeup Playlist
                                                      Frequency: \/1.eekdays
                                                      Alarm Length: 45 mins




                                                                          [    Finish    ]   !   Cancel



      TB D -state ,vhen the time has been lost (due to povver failure for instance)

      Alarm List
                          Shows each alarm with a list of major attributes (but not all attributes)


      Tool Tips
      Tip box shows an overview of all the Alarm' s attributes

      Add Alarms
                          Alarms are named with standard names - no custom names for alarms.
                          The system limits the number of alarms to 32 alarms
                          If n alarms is exceeded, the following message will show:
                               ■   You can't add any more alarms, please delete an alarm before you add a
                                   new one [OK[

      Delete
                          Following message:
                               ■  Are you sure you wantto delete the alarm? [Yes] [Cancel]




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4A      Edit an Alarm




                   Alarm:   On


                    Time


                    Zone    Master Bedroom

                            The alarm will also play in zones that are linked to the
                            selected zone when the alarm goes off.

                   Music:   BBC Raclio Five Live


              Frequency:    Weekdays


            Alarm Length:   45mins




                                                      30
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4.4.1     Details of Settings


        Alarm
                       -     On
                       -     Off

        Time
                             Same as default Windows/Mac time setting field

        Zone
                       -    A single list of the zones in the system is presented.
                       -    The alarm will also sound in any rooms that are linked to the selected zone at the
                            time of the alarm.

        Music



           Select the music for this alarm.



           :f, Sonos Playlists

                .~~~~1:~"Tu,~-~
           ,:::::'·Internet Radio Favorites
                • ~~~~~~¼.~~~
                • ·SOMA Groove
                   Virgin Radio




                                              r   Cancel   J

                       -     TBD - this could also be a combo-box with sub menus.
                             THD - '\'Ve may add "Rhapsody Stations~'and "Current Queue~ to this list

        Frequency
                             ()nee
                       -     Weekdays
                       -     Weekends
                       -     Everyday

        Alarm Length
                  - No Limits
                     15 mins
                  - 30mins

                             1 hour

                                                           31
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                -    2 hours




                -    The 'No Limit' option means that no alarm timer will be set
                -    The alarm timer is the same as the sleep timer.
                -    When an alarm with a timer (anything other than 'no limit') starts, the sleep
                     timer for the zone (or zone group) is triggered.
                -    Users can override the alarm timer by setting the sleep timer.

    Zone linking/unlinking activities

               The alarm length applies to the zone group at the time the alarm is triggered (zone+
               any linked zones)
               Any zone later added to the group will take on the timer from this alarm.
               Any zone dropped from the group will no longer take part in the alarm length timer.
               Any zone from this group taken by another group will take the timer of the group it is
               joining (i.e. it will lose it's original timer).
               Pausing the music has no effect on the alarm length timer .
               Clearing the Queue has no effect on a sleep timer .
               Altering the Queue (adding, moving, deleting tracks) has no effect on the sleep timer

    The Now Playing screen showing the Sleep Timer/ Alarm Timer

    See Section for Sleep Timer earlier in this document.




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4.5       Setting the current date and time on the Desktop Controllers

      During the initial setup Wizard, if the DCR is creating a new system (i.e. not just joining an
      existing system) - the date and time from the PC will be captured and used for the Sonos clock.




      Time zone:


      Y.1
        Automatically
                    adjustthe dockFordaylightsavingschanges

      Date format:      Day Month Year


      Time format:




      () Set the date and time from the Internet



      ('2}Setthe date andtimemanually




                                                                               Cancel   J




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4.6      Setting alarm music directly from the Music Library

      This feature is TBD pending feedback from John B.




               -·--··--~~~
                  Rename Playlist
                  Delete Playlist


                                             Alarm (011, 7: 15am, Master Bedroo
                                             Alarm (011, 8:15am, Garage)
                                             Alarm (011, 8:35am, Garage)




      Should the user be able to add to a New alarm-in which case the edit alarm panel should then
      open.

4.7      Buzzer




                       Buzzer has it's own Now Playing screen
                       Play/Pause will work the same as regular music
                       The template for the Now Playing screen if the Line-In Source Now Playing.


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5        Date and Time formats

5.1      Date Formats

      Three date formats will be provided

         Date Month Year (DMY)
         Month Date Year (MDY)
         Year Month Date (YMD)

      Desktop Controllers

      Months are written in full

         (MDY) October 21, 2006 (date should be followed by comma)
         (DMY) 21 October 2006 (no commas)
         (YMD) 2006 October 21 (no commas)

      Handheld Controllers

      Months will be abbreviated to 3 or 4 letters.
      Days of the week (clock face only) will be abbreviated to 2 or 3 letters

      Setup screens and menus will show:

         (MDY) Oct 21, 2006
         (DMY) 21 Oct 2006
         (YMD) 2006 Oct21

      For the clock screen, use shortened versions of the day of the week

         (MDY) Mon, Oct 21, 2006
         (DMY) Mon, 21 Oct 2006
         (YMD) 2006 Oct 21, Mon

         Abbreviations for English are as follows:
         Mon, Tue, Wed, Thu, Fri, Sat, Sun
         Jan, Feb, Mar Apr, May, Jun, Jul, Aug, Sep, Oct, Nov, Dec

      Setup dialogs

         Setup dialogs that show separate fields for fields will not contain commas or colons

         For example, the following setup dialog does not contain a comma, even though the date is
         written-out with a comma (Oct 21, 2006)




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5.2        Time Formats


        Two time formats will be provided

           12 hour clock (am/pm)
           24 hour clock

      A colon(:) should be used to separate hours and minutes. Seconds are not used anywhere in the
      UI.

           12 hour
           HH:MM_am (where am, pm are localized)

           24 hour
           HH:MM

        Single digit times should not be expressed with a leading zero

           12 hour clock
           Use           6:17am
           Don't use      06: 17 am

           24 hour clock
           Use           6:17and0:12
           Don't Use      06: 17 and 00: 12




5.2.1      Date Range limits


        It will be possible to set the clock and alarms from 12.00am year 2000 to 11.59 2099.




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6        Special Cases




6.1      Lost ZonePlayers and Hidden ZonePlayers - HHCR


      No ZonePlayers in the system - UI reverts to the Zone menu with limited settings. Access to
      Clock and Alarms is not possible.

      Only Hidden ZonePlayers in the system - reverts to the Zone menu with limited settings. Access
      to the Clock and Alarms is not possible.

      If a zone assigned to an alarm becomes lost, or hidden




      Zone available (normal state)                 No Zone Available, or Zone is hidden.




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               If a zone becomes unavailable, or it becomes a hidden Extender, the Alarm zone menu
               item will show "No Zone Selected". The alarm will not sound. The Alarm should
               however remain in the 'On' state (in the case of a ZP that is temporarily unplugged).
               If the ZP becomes available again (Plugged back in, or brought out of extender mode),
               the Alarm zone will show the ZonePlayer name.
               If an alarm is renamed, the Alarm zone menu item will show the new name.




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6.2      Lost ZonePlayers and Hidden ZonePlayers - DCRs


      No ZonePlayers in the system or if all ZonePlayers become hidden

      Clocks and Alarms menu item will be grayed-out.

      However, if the Clocks and Alarms dialogs are already open:

                         The Alarms overview panel will remain open if no Zones are present, but all the
                         alarms in the table should be cleared.
                         Likewise the Add, Edit and Delete buttons will be grayed-out.
                         The date and time should also be cleared, and the "Date and Time" Settings
                         button should be grayed-out.
                         If the "Edit" alarms modal dialog/sheet is open, All selections should be grayed-
                         out, except 'cancel'.




          Sanos system date and time
              Date: October 21 , 2005                                                       ([lat~
                                                                                                and.Titne:::J
              Time: 8:15pm


          Alarms:
          1 ~~~1-~~~~~~~'¾'=~~~,~~'Th~~~1~,~
          ! ~(~~·~~~~~'&~¼.~~~~~~~~                                                         !
                                                                                           •• .       Add
                                                                                                                   I
          i   Alarm (On, 8:00am, Bedroom, Weekdays)
              Alarm (On, 6:00pm, Living Room, Weekends)
                                                                                            1•.
                                                                                           .•
                                                                                           :,
                                                                                              .
                                                                                                      Edit         .1
              Alarm (Off, 7:00pm Dining Room, Once)
              Alarm (Off, 8:00pm, Garage, Once)       ----------~
                                                                                           •!         Delete       I
                                                          Alarm: On
                                                          Time: 7: 15am
                                                          Zone: No zone selected
                                                          Music: \f'.kikeup Playlist
                                                          Frequency: ~ekdays
                                                          Alarm Length: 45 mins




                                                                             r    Finish          j   r   Cancel       J




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6.3           No Date or Time - HHCR

      Date and Time can be lost if:

                    -   The date and time are set manually and all the ZPs in a system lose power
                    -   Date and Time are set to Internet time, the Internet connection is broken and all
                        the ZonePlayers lost power.




      !trrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrr
                                 ...............................................
                                                      .




      rrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrrtittttt~tltiir
                                           rr
      •••••                                                     •••••




                        The date is not set




                        The time is not set




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    Nice to have, if user tries to view/set alarms while there is no time, we show a dialog box that
    informs the user (but doesn't prevent them from viewing and editing the alarms).




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    It is proposed that we only show 'acquiring' on the Date and Time settings page.

    The 'acquiring' message does not need to propagate to other screens of the UI.




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6A      No Date or Time - DCRs




        Time:zone:

        L~jAutomatically
                       adjustthe dockfor daylightsavingschanges

        Date format:


        Time format:




        () Set the date and time from the Internet



        (8Setthe date andtimemanually
             14    April    2006

             12:39 PM




                        The red text under the Internet date and time communicates that the Internet
                        connection to SonosTime is not available. At this stage the system will be either
                        counting time using its internal clock, or the time will be not set.




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                             Electronic Patent Application Fee Transmittal
Application Number:

Filing Date:




Title of Invention:                                        Controlling and manipulating groupings in a multi-zone music or media
                                                           system




First Named Inventor:                                      Robert A. Lambourne


Filer:                                                     Joe Zheng


Attorney Docket Number:                                    RIN-022P


Filed as Small Entity


Provisional Filing Fees

                                                                                                                 Sub-Total in
                         Description                             Fee Code        Quantity        Amount
                                                                                                                   USO($)

Basic Filing:


                Provisional Application filing fee                    2005            1             100                100


Pages:


Claims:


Miscellaneous-Fi Iing:


Petition:


Patent-Appeals-and-Interference:


Post-Al Iowance-and-Post-lssu ance:


Extension-of-Time:
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                                                                               Sub-Total in
                 Description                 Fee Code   Quantity    Amount
                                                                                 USO($)

Miscellaneous:


                                                  Total in USD ($)              100
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                                 Electronic Acknowledgement Receipt

                       EFSID:                         1198006


               Application Number:                    60825407


              Confirmation Number:                    1970




                                                      Controlling and manipulating groupings in a multi-zone music or media
                  Title of Invention:
                                                      system




              First Named Inventor:                   Robert A. Lambourne


                  Customer Number:                    26797


                        Filer:                        Joe Zheng


               Filer Authorized By:

            Attorney Docket Number:                   RIN-022P


                    Receipt Date:                     12-SEP-2006


                     Filing Date:

                    Time Stamp:                       23:58:04


                  Application Type:                   Provisional


        International Application Number:

Payment information:
Submitted with Payment                                yes

Payment was successfully received in RAM             $100
RAM confirmation Number                               722

Deposit Account                                       502436

The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
      Charge any Additional Fees required under 37 C.F.R. Section 1.16 and 1 .17

File Listing:
         Case 3:21-cv-07559-WHA             Document 66-1           Filed 06/15/21      Page 258 of 258
Document                                                                                           Multi
                  Document Description                   File Name            File Size(Bytes)               Pages
 Number                                                                                            Part


     1                  Specification               ProvisionalAsfiled.pdf           117135             no    14


Warnings:
Information:


     2                    Drawings                      Drawings.pdf                 94791              no     5


Warnings:
Information:


     3                  Specification                  AppendixA.pdf              450053                no    20


Warnings:
Information:


     4                  Specification                  AppendixB.pdf              979042                no    43


Warnings:
Information:


     5            Fee Worksheet (PTO-875)                fee-info.pdf                8123               no     2


Warnings:
Information:
                                               Total Files Size (in bytes):                   1649144


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New Agglications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see
37 CFR 1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date
shown on this Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Agglication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions
of 35 U.S.C. 371 and other applicable requirements a Form PCT/DO/EO/903 indicating acceptance of the
application as a national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt,
in due course.
